                 Case 20-11648-JTD                 Doc 524         Filed 09/01/20          Page 1 of 136




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


 In re:                                                           Chapter 11
                                           1
 AAC HOLDINGS, INC., et al.,                                      Case No. 20-11648

                     Debtors.                                     (Jointly Administered)


       AMENDED DISCLOSURE STATEMENT FOR THE AMENDED JOINT
    CHAPTER 11 PLAN OF AAC HOLDINGS, INC. AND ITS DEBTOR AFFILIATES

 A SOLICITATION OF VOTES IS BEING CONDUCTED TO OBTAIN SUFFICIENT ACCEPTANCES
 OF THE AMENDED JOINT CHAPTER 11 PLAN OF AAC HOLDINGS, INC. AND ITS DEBTOR
 AFFILIATES. THIS DISCLOSURE STATEMENT IS NOT AN OFFER TO SELL ANY SECURITIES
 AND IS NOT SOLICITING AN OFFER TO BUY ANY SECURITIES.

 GREENBERG TRAURIG, LLP

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 Dated: September 1, 2020                                         Counsel for the Debtors and Debtors in Possession




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, ar e:
Recovery First of Florida, LLC (3005); Fitrx, LLC (5410); Oxford Treatment Center, LLC (7853); Oxford Outpatient Center, LLC
(0237); Concorde Treatment Center, LLC (6483); New Jersey Addiction Treatment Center, LLC (7108); ABTTC, LLC (7601);
Laguna Treatment Hospital, LLC (0830); AAC Las Vegas Outpatient Center, LLC (5381); Greenhouse Treatm ent Center, LLC
(4402); AAC Dallas Outpatient Center, LLC (6827); Forterus Health Care Services, Inc. (4758); Solutions Treatment Center, LLC
(8175); San Diego Addiction Treatment Center, Inc. (1719); River Oaks Treatment Center, LLC (0640); Singer Island Recovery
Center LLC (3015); B&B Holdings Intl LLC (8549); The Academy Real Estate, LLC (9789); BHR Oxford Real Estate, LLC
(0023); Concorde Real Estate, LLC (7890); BHR Greenhouse Real Estate, LLC (4295); BHR Ringwood Real Estate, LLC (0565);
BHR Aliso Viejo Real Estate, LLC (2910); Behavioral Healthcare Realty, LLC (2055); Clinical Revenue Management Services,
LLC (8103); Recovery Brands, LLC (8920); Referral Solutions Group, LLC (7817); Taj Media LLC (7047); Sober Media Group,
LLC (4655); American Addiction Centers, Inc. (3320); Tower Hill Realty, Inc. (0039); Lincoln Catharine Realty Corporation
(5998); AdCare Rhode Island, Inc. (2188); Green Hill Realty Corporation (4951); AdCare Hospital of Worcester, Inc. (3042);
Diversified Healthcare Strategies, Inc. (3809); AdCare Criminal Justice Services, Inc. (1653); AdCare, Inc. (7005); Sagenex
Diagnostics Laboratory, LLC (7900); RI - Clinical Services, LLC (6291); Addiction Labs of America, LLC (1133); AAC
Healthcare Network, Inc. (0677); AAC Holdings, Inc. (614 2); San Diego Professional Group, P.C. (9334). Grand Prairie
Professional Group, P.A. (2102); Palm Beach Professional Group, Professional Corporation (7608); Pontchartrain Medical Group,
A Professional Corporation (1271); Oxford Professional Group, P.C. (8 234); and Las Vegas Professional Group - Calarco, P.C.
(5901). The location of the Debtors’ corporate headquarters is 200 Powell Place, Brentwood, TN 37027.




ACTIVE 52312155v1
               Case 20-11648-JTD             Doc 524       Filed 09/01/20         Page 2 of 136



                                                                                                           2
       IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT

     THE DEBTORS ARE PROVIDING THE INFORMATION IN THIS DISCLOSURE
STATEMENT TO HOLDERS OF CLAIMS OR INTERESTS FOR PURPOSES OF
SOLICITING VOTES TO ACCEPT OR REJECT THE JOINT CHAPTER 11 PLAN OF
AAC HOLDINGS, INC. AND ITS DEBTOR AFFILIATES PROPOSED BY THE
DEBTORS. NOTHING IN THIS DISCLOSURE STATEMENT MAY BE RELIED UPON
OR USED BY ANY PERSON OR ENTITY FOR ANY OTHER PURPOSE. BEFORE
DECIDING WHETHER TO VOTE FOR OR AGAINST THE PLAN, EACH HOLDER
ENTITLED TO VOTE SHOULD CAREFULLY CONSIDER ALL OF THE
INFORMATION IN THIS DISCLOSURE STATEMENT, INCLUDING THE RISK
FACTORS DESCRIBED IN ARTICLE VIII HEREIN.

     THE PLAN IS SUPPORTED BY THE DEBTORS AND THE CONSENTING
LENDERS WHO ARE PARTY TO THE RESTRUCTURING SUPPORT AGREEMENT,
AND HOLD MORE THAN 89% OF THE AGGREGATE PRINCIPAL AMOUNT OF THE
SENIOR LENDER CLAIMS AND IN EXCESS OF 60% OF THE AGGREGATE
PRINCIPAL AMOUNT OF THE JUNIOR LENDER CLAIMS. HOWEVER, THE
OFFICIAL COMMITTEE OF UNSECURED CREDITORS APPOINTED IN THE
DEBTORS’ CASES DOES NOT SUPPORT THE PLAN, WHICH IN ITS CURRENT
FORM PROVIDES NO RECOVERY TO CLASS 5 GENERAL UNSECURED CLAIMS.
THE COMMITTEE RECOMMENDS THAT CLASS 5 GENERAL UNSECURED
CREDITORS RETURN BALLOTS REJECTING THE PLAN.

     THE DEBTORS URGE EACH HOLDER OF A CLAIM OR INTEREST TO
CONSULT WITH ITS OWN ADVISORS WITH RESPECT TO ANY LEGAL,
FINANCIAL, SECURITIES, TAX, ACCOUNTING, BUSINESS OR OTHER ADVICE IN
REVIEWING THIS DISCLOSURE STATEMENT, THE PLAN, AND THE PROPOSED
TRANSACTIONS CONTEMPLATED THEREBY.             FURTHERMORE, THE
BANKRUPTCY COURT’S APPROVAL OF THE ADEQUACY OF THE INFORMATION
CONTAINED IN THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE THE
BANKRUPTCY COURT’S APPROVAL OF THE PLAN.

     THIS DISCLOSURE STATEMENT CONTAINS, AMONG OTHER THINGS,
SUMMARIES OF THE PLAN, CERTAIN STATUTORY PROVISIONS, AND CERTAIN
ANTICIPATED EVENTS IN THE CHAPTER 11 CASES. ALTHOUGH THE DEBTORS
BELIEVE THAT THESE SUMMARIES ARE FAIR AND ACCURATE, THESE
SUMMARIES ARE QUALIFIED IN THEIR ENTIRETY TO THE EXTENT THAT THEY
DO NOT SET FORTH THE ENTIRE TEXT OF SUCH DOCUMENTS OR STATUTORY
PROVISIONS OR EVERY DETAIL OF SUCH ANTICIPATED EVENTS. IN THE
EVENT OF ANY INCONSISTENCY OR DISCREPANCY BETWEEN A DESCRIPTION
IN THIS DISCLOSURE STATEMENT AND THE TERMS AND PROVISIONS OF THE
PLAN OR ANY OTHER DOCUMENTS INCORPORATED HEREIN BY REFERENCE,

2
 Capitalized terms used but not defined in this disclaimer shall have the meaning ascribed to them elsewhere in this
Disclosure Statement.



ACTIVE 52312155v1
              Case 20-11648-JTD   Doc 524   Filed 09/01/20   Page 3 of 136




THE PLAN OR SUCH OTHER DOCUMENTS WILL GOVERN FOR ALL PURPOSES.
FACTUAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS
BEEN PROVIDED BY THE DEBTORS’ MANAGEMENT EXCEPT WHERE
OTHERWISE SPECIFICALLY NOTED. THE DEBTORS DO NOT REPRESENT OR
WARRANT THAT THE INFORMATION CONTAINED HEREIN OR ATTACHED
HERETO IS WITHOUT ANY MATERIAL INACCURACY OR OMISSION.

     IN PREPARING THIS DISCLOSURE STATEMENT, THE DEBTORS RELIED
ON FINANCIAL DATA DERIVED FROM THE DEBTORS’ BOOKS AND RECORDS
AND ON VARIOUS ASSUMPTIONS REGARDING THE DEBTORS’ BUSINESSES.
WHILE THE DEBTORS BELIEVE THAT SUCH FINANCIAL INFORMATION FAIRLY
REFLECTS, IN ALL MATERIAL RESPECTS, THE FINANCIAL CONDITION OF THE
DEBTORS AS OF THE DATE HEREOF AND THAT THE ASSUMPTIONS REGARDING
FUTURE EVENTS REFLECT REASONABLE BUSINESS JUDGMENTS, NO
REPRESENTATIONS OR WARRANTIES ARE MADE AS TO THE ACCURACY OF
THE FINANCIAL INFORMATION CONTAINED HEREIN OR ASSUMPTIONS
REGARDING THE DEBTORS’ BUSINESSES AND THEIR FUTURE RESULTS AND
OPERATIONS. THE DEBTORS EXPRESSLY CAUTION READERS NOT TO PLACE
UNDUE RELIANCE ON ANY FORWARD-LOOKING STATEMENTS CONTAINED
HEREIN.

     THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND MAY NOT
BE CONSTRUED AS, AN ADMISSION OF FACT, LIABILITY, STIPULATION, OR
WAIVER. THE DEBTORS OR ANY OTHER AUTHORIZED PARTY MAY SEEK TO
INVESTIGATE, FILE, AND PROSECUTE CLAIMS AND MAY OBJECT TO CLAIMS
AFTER THE CONFIRMATION OR EFFECTIVE DATE OF THE PLAN
IRRESPECTIVE OF WHETHER THIS DISCLOSURE STATEMENT IDENTIFIES ANY
SUCH CLAIMS OR OBJECTIONS TO CLAIMS.

     THE DEBTORS HAVE NOT AUTHORIZED ANY PERSON OR ENTITY TO
GIVE ANY INFORMATION ABOUT OR CONCERNING THE PLAN OTHER THAN
THAT WHICH IS CONTAINED IN THIS DISCLOSURE STATEMENT. THE DEBTORS
HAVE NOT AUTHORIZED ANY REPRESENTATIONS CONCERNING THE
DEBTORS OR THE VALUE OF THEIR PROPERTY OTHER THAN AS SET FORTH IN
THIS DISCLOSURE STATEMENT.

     IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT AND THE
EFFECTIVE DATE OCCURS, ALL HOLDERS OF CLAIMS OR INTERESTS
(INCLUDING THOSE HOLDERS OF CLAIMS WHO DO NOT SUBMIT BALLOTS TO
ACCEPT OR REJECT THE PLAN OR WHO VOTE TO REJECT THE PLAN, OR
THOSE HOLDERS OF CLAIMS OR INTERESTS WHO ARE NOT ENTITLED TO
VOTE ON THE PLAN) WILL BE BOUND BY THE TERMS OF THE PLAN AND THE
TRANSACTIONS CONTEMPLATED THEREBY.

     THE CONFIRMATION AND EFFECTIVENESS OF THE PLAN ARE SUBJECT
TO CERTAIN MATERIAL CONDITIONS PRECEDENT DESCRIBED HEREIN AND
SET FORTH IN ARTICLE XI OF THE PLAN. THERE IS NO ASSURANCE THAT THE


ACTIVE 52312155v1
              Case 20-11648-JTD   Doc 524   Filed 09/01/20   Page 4 of 136




PLAN WILL BE CONFIRMED, OR IF CONFIRMED, THAT THE CONDITIONS
REQUIRED TO BE SATISFIED FOR THE PLAN TO GO EFFECTIVE WILL BE
SATISFIED (OR WAIVED).

     THE BANKRUPTCY COURT’S APPROVAL OF THIS DISCLOSURE
STATEMENT DOES NOT CONSTITUTE A GUARANTEE BY THE BANKRUPTCY
COURT OF THE ACCURACY OR COMPLETENESS OF THE INFORMATION
CONTAINED HEREIN OR AN ENDORSEMENT BY THE BANKRUPTCY COURT OF
THE MERITS OF THE PLAN.

     SUMMARIES OF THE PLAN AND THE OTHER STATEMENTS MADE IN THIS
DISCLOSURE STATEMENT ARE QUALIFIED IN THEIR ENTIRETY BY
REFERENCE TO THE PLAN.        THE SUMMARIES OF THE FINANCIAL
INFORMATION AND THE DOCUMENTS ANNEXED TO THIS DISCLOSURE
STATEMENT OR OTHERWISE INCORPORATED HEREIN BY REFERENCE ARE
QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THOSE DOCUMENTS. THE
STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE ONLY
AS OF THE DATE OF THIS DISCLOSURE STATEMENT, AND THERE IS NO
ASSURANCE THAT THE STATEMENTS CONTAINED HEREIN WILL BE CORRECT
AT ANY TIME AFTER SUCH DATE. EXCEPT AS OTHERWISE PROVIDED IN THE
PLAN OR IN ACCORDANCE WITH APPLICABLE LAW, THE DEBTORS ARE UNDER
NO DUTY TO UPDATE OR SUPPLEMENT THIS DISCLOSURE STATEMENT.

      THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS
INCLUDED FOR PURPOSES OF SOLICITING VOTES FOR, AND CONFIRMATION
OF, THE PLAN AND MAY NOT BE RELIED ON FOR ANY OTHER PURPOSE. IN THE
EVENT OF ANY INCONSISTENCY BETWEEN THE DISCLOSURE STATEMENT AND
THE PLAN, THE RELEVANT PROVISIONS OF THE PLAN WILL GOVERN.

      THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
WITH SECTION 1125 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE
3016(B) AND IS NOT NECESSARILY PREPARED IN ACCORDANCE WITH FEDERAL
OR STATE SECURITIES LAWS OR OTHER SIMILAR LAWS. THIS DISCLOSURE
STATEMENT HAS NOT BEEN APPROVED OR DISAPPROVED BY THE UNITED
STATES SECURITIES AND EXCHANGE COMMISSION (THE “SEC”) OR ANY
OTHER FEDERAL, STATE, LOCAL, OR FOREIGN REGULATORY AGENCY, NOR
HAS THE SEC OR ANY OTHER AGENCY PASSED UPON THE ACCURACY OR
ADEQUACY OF THE STATEMENTS CONTAINED IN THIS DISCLOSURE
STATEMENT. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL
OFFENSE.

     THE DEBTORS HAVE SOUGHT TO ENSURE THE ACCURACY OF THE
FINANCIAL INFORMATION PROVIDED IN THIS DISCLOSURE STATEMENT;
HOWEVER, THE FINANCIAL INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT OR INCORPORATED HEREIN BY REFERENCE HAS NOT BEEN, AND
WILL NOT BE, AUDITED OR REVIEWED BY THE DEBTORS’ INDEPENDENT
AUDITORS UNLESS EXPLICITLY PROVIDED OTHERWISE.


ACTIVE 52312155v1
              Case 20-11648-JTD   Doc 524   Filed 09/01/20   Page 5 of 136




     THE SECURITIES THAT MAY BE ISSUED ON OR AFTER THE EFFECTIVE
DATE WILL HAVE NOT BEEN REGISTERED UNDER THE SECURITIES AT OF 1933,
AS AMENDED (THE “SECURITIES ACT”), OR UNDER THE SECURITIES LAWS OF
ANY STATE (“BLUE SKY LAWS”) OR ANY OTHER JURISDICTION. THE PLAN AND
THIS DISCLOSURE STATEMENT HAVE NEITHER BEEN FILED WITH, NOR
APPROVED OR DISAPPROVED BY, THE SEC OR ANY STATE SECURITIES
COMMISSION. NEITHER THE SEC NOR ANY STATE SECURITIES COMMISSION
HAS PASSED UPON THE ACCURACY OR ADEQUACY OF THIS DISCLOSURE
STATEMENT OR THE MERITS OF THE PLAN. ANY REPRESENTATION TO THE
CONTRARY IS A CRIMINAL OFFENSE.

     THE DEBTORS ARE RELYING ON THE EXEMPTION FROM REGISTRATION
UNDER THE SECURITIES ACT AND EQUIVALENT STATE LAW REGISTRATION
REQUIREMENTS PROVIDED BY SECTION 1145(A)(1) OF THE BANKRUPTCY CODE
WITH RESPECT TO THE OFFERING AND ISSUANCE OF NEW SECURITIES
PURSUANT TO THE PLAN.

      THIS DISCLOSURE STATEMENT CONTAINS “FORWARD LOOKING
STATEMENTS” WITHIN THE MEANING OF UNITED STATES SECURITIES LAWS.
SUCH STATEMENTS CONSIST OF ANY STATEMENT OTHER THAN A
STATEMENT OF HISTORICAL FACT AND CAN BE IDENTIFIED BY THE USE OF
FORWARD LOOKING TERMINOLOGY SUCH AS “MAY,” “WILL,” “SHOULD,”
“EXPECT,” “ANTICIPATE,” “ESTIMATE,” “BELIEVE,” “DESIGNED,” “INTEND,”
“PLAN,” “GOAL,” OR “CONTINUE,” OR THE NEGATIVE THEREOF, OR OTHER
VARIATIONS THEREON OR COMPARABLE TERMINOLOGY.              YOU ARE
CAUTIONED THAT ALL FORWARD LOOKING STATEMENTS ARE NECESSARILY
SPECULATIVE AND THERE ARE RISKS AND UNCERTAINTIES THAT COULD
CAUSE ACTUAL EVENTS OR RESULTS TO DIFFER MATERIALLY FROM THOSE
REFERRED TO IN SUCH FORWARD LOOKING STATEMENTS, INCLUDING THE
DEBTORS’ ABILITY TO CONFIRM AND CONSUMMATE THE PLAN; THE
POTENTIAL THAT THE DEBTORS MAY NEED TO PURSUE AN ALTERNATIVE
TRANSACTION IF THE PLAN IS NOT CONFIRMED; THE DEBTORS’ ABILITY TO
REDUCE THEIR OVERALL FINANCIAL LEVERAGE; THE POTENTIAL ADVERSE
IMPACT OF THE CHAPTER 11 CASES ON THE DEBTORS’ OPERATIONS,
MANAGEMENT, AND EMPLOYEES; THE RISKS ASSOCIATED WITH OPERATING
THE DEBTORS’ BUSINESSES DURING THE CHAPTER 11 CASES; CUSTOMER
RESPONSES TO THE CHAPTER 11 CASES; THE DEBTORS’ INABILITY TO
DISCHARGE OR SETTLE CLAIMS DURING THE CHAPTER 11 CASES; GENERAL
ECONOMIC,    BUSINESS,   AND    MARKET     CONDITIONS;    CURRENCY
FLUCTUATIONS; INTEREST RATE FLUCTUATIONS; PRICE INCREASES;
EXPOSURE TO LITIGATION; A DECLINE IN THE DEBTORS’ MARKET SHARE DUE
TO COMPETITION OR PRICE PRESSURE BY CUSTOMERS; FINANCIAL
CONDITIONS OF THE DEBTORS’ CUSTOMERS; ADVERSE TAX CHANGES;
LIMITED ACCESS TO CAPITAL RESOURCES; CHANGES IN DOMESTIC LAWS
AND REGULATIONS; TRADE BALANCE; NATURAL DISASTERS; GEOPOLITICAL
INSTABILITY; THE EFFECTS OF GOVERNMENTAL REGULATION ON THE



ACTIVE 52312155v1
              Case 20-11648-JTD   Doc 524   Filed 09/01/20   Page 6 of 136




DEBTORS’ BUSINESSES; AND THOSE ADDITIONAL RISKS SET FORTH IN
ARTICLE VIII OF THIS DISCLOSURE STATEMENT ENTITLED “RISK FACTORS”.
       CONFIRMATION AND CONSUMMATION OF THE PLAN ARE SUBJECT TO
CERTAIN MATERIAL CONDITIONS PRECEDENT DESCRIBED IN ARTICLE XI OF
THE PLAN. THERE IS NO ASSURANCE THAT THE PLAN WILL BE CONFIRMED
OR, IF CONFIRMED, THAT SUCH MATERIAL CONDITIONS PRECEDENT WILL BE
SATISFIED OR WAIVED. YOU ARE ENCOURAGED TO READ THIS DISCLOSURE
STATEMENT IN ITS ENTIRETY, INCLUDING BUT NOT LIMITED TO THE PLAN
AND ARTICLE VIII OF THIS DISCLOSURE STATEMENT ENTITLED “RISK
FACTORS,” BEFORE SUBMITTING YOUR BALLOT TO VOTE TO ACCEPT OR
REJECT THE PLAN.




ACTIVE 52312155v1
               Case 20-11648-JTD                    Doc 524          Filed 09/01/20              Page 7 of 136




                                               TABLE OF CONTENTS
                                                                                                                                   Page

I.      INTRODUCTION..............................................................................................................1

II.     OVERVIEW OF PLAN TRANSACTIONS....................................................................1

III.    EXECUTIVE SUMMARY ...............................................................................................3
        A.        Chapter 11 Overview and this Disclosure Statement ..............................................3
        B.        Voting on the Plan ...................................................................................................3
        C.        Summary of Treatment of Claims and Interests and Description of
                  Recoveries under the Plan........................................................................................6
        D.        Confirmation Hearing ..............................................................................................7
        E.        Contact Information .................................................................................................8

IV.     THE DEBTORS’ CORPORATE HISTORY, STRUCTURE, AND
        BUSINESS OVERVIEW...................................................................................................8
        A.        AAC’s Corporate History, Assets and Operations ..................................................8
        B.        The Debtors’ Management Team ..........................................................................15
        C.        The Special Restructuring Committee ...................................................................15
        D.        The Debtors’ Prepetition Capital Structure............................................................16

V.      EVENTS LEADING TO THE CHAPTER 11 FILINGS.............................................20
        A.        Financial Difficulties .............................................................................................20
        B.        COVID-19..............................................................................................................22
        C.        The Restructuring Support Agreement and DIP Financing ...................................23

VI.     MATERIAL DEVELOPMENTS AND ANTICIPATED EVENTS OF THE
        CHAPTER 11 CASES .....................................................................................................24
        A.        Expected Timetable of the Chapter 11 Cases ........................................................24
        B.        First Day Relief......................................................................................................24
        C.        Other Procedural and Administrative Motions ......................................................25
        D.        Approval of the DIP Facility..................................................................................26
        E.        Schedules and Statements ......................................................................................26
        F.        Trading Orders .......................................................................................................26
        G.        Appointment of Creditors’ Committee ..................................................................27
        H.        Appointment of Patient Care Ombudsman ............................................................27
        I.        Bidding Procedures Motion ...................................................................................28
        J.        Claim Bar Dates.....................................................................................................30
        K.        Key Employee Retention Plan ...............................................................................31
        L.        341 Meeting ...........................................................................................................31
        M.        Litigation Matters...................................................................................................31
        N.        Valuation Analysis.................................................................................................34




ACTIVE 52312155v1
                 Case 20-11648-JTD                     Doc 524           Filed 09/01/20              Page 8 of 136




VII.      THE PLAN .......................................................................................................................34
          A.        Administrative Claims and Priority Tax Claims....................................................35
          B.        Classification and Treatment of Claims and Interests ...........................................38
          C.        Means for Implementation of the Plan...................................................................44
          D.        Treatment of Executory Contracts and Unexpired Leases ....................................54
          E.        Provisions Governing Distributions.......................................................................57
          F.        The Plan Administrator..........................................................................................61
          G.        Reserves Administered by the Plan Administrator ................................................64
          H.        Procedures for Resolving Contingent, Unliquidated, and Disputed Claims..........68
          I.        Settlement, Release, Injunction, and Related Provisions.......................................70
          J.        Conditions Precedent to Confirmation and the Effective Date..............................77

VIII. RISK FACTORS..............................................................................................................80
          A.        Bankruptcy Law Considerations............................................................................80
          B.        Risks Related to Recoveries under the Plan ..........................................................83
          C.        Risks Related to the Debtors’ and the Reorganized Debtors’ Businesses .............84
          D.        Risks Related to the Reorganized AAC Equity Interests or New Warrants. .........98

IX.       CONFIRMATION OF THE PLAN .............................................................................100
          A.        Requirements for Confirmation of the Plan.........................................................100
          B.        The Debtor Release, Third-Party Release, Exculpation, and Injunction
                    Provisions.............................................................................................................101
          C.        Best Interests of Creditors/Liquidation Analysis .................................................101
          D.        Feasibility.............................................................................................................102
          E.        Acceptance by Impaired Classes .........................................................................102
          F.        Confirmation Without Acceptance by All Impaired Classes...............................103

X.        CERTAIN SECURITIES LAW MATTERS ..............................................................104

XI.       CERTAIN UNITED STATES FEDERAL INCOME TAX
          CONSEQUENCES OF THE PLAN.............................................................................105
          A.        Introduction..........................................................................................................105
          B.        Certain U.S. Federal Income Tax Consequences to the Debtors and the
                    Reorganized Debtors............................................................................................107
          C.        Certain U.S. Federal Income Tax Consequences to Certain U.S. Holders of
                    Claims ..................................................................................................................111
          D.        Taxation of Reorganized Debtors ........................................................................121
          E.        Certain U.S. Federal Income Tax Consequences to Certain Non-U.S.
                    Holders of Claims ................................................................................................121
          F.        U.S. Information Reporting and Back-Up Withholding......................................125

XII.      RECOMMENDATION.................................................................................................126




ACTIVE 52312155v1
                 Case 20-11648-JTD             Doc 524   Filed 09/01/20   Page 9 of 136



                                                            3
                                                    EXHIBITS

EXHIBIT A          Plan

EXHIBIT B          Restructuring Support Agreement

EXHIBIT C          Corporate Organization Chart

EXHIBIT D          Disclosure Statement Order

EXHIBIT E          Liquidation Analysis

EXHIBIT F          Financial Projections




3
    Each Exhibit is incorporated herein by reference.



ACTIVE 52312155v1
              Case 20-11648-JTD            Doc 524       Filed 09/01/20        Page 10 of 136




I.      INTRODUCTION

        AAC Holdings, Inc., a Nevada corporation, along with certain of its affiliates and
subsidiaries (collectively, the “Debtors” or “AAC”) submit this disclosure statement
(this “Disclosure Statement”), pursuant to section 1125 of the Bankruptcy Code, to Holders of
Claims against and Interests in the Debtors in connection with the solicitation of votes for
acceptance of the Amended Joint Chapter 11 Plan of AAC Holdings, Inc. and its Debtor Affiliates
                                      4
(the “Plan”), dated September 1, 2020. A copy of the Plan is attached hereto as Exhibit A and
incorporated herein by reference. The Plan constitutes a separate chapter 11 plan for each of the
Debtors.
II.     OVERVIEW OF PLAN TRANSACTIONS

        The Plan contemplates the following alternative plan structures: (1) if, in accordance with
the Bidding Procedures, the Debtors receive a successful bid with respect to a sale of all or
substantially all of the Debtors’ assets that would satisfy in full, in Cash, all Allowed
Administrative Claims, Priority Claims, Other Secured Claims, DIP Lender Claims, S enior Lender
Claims and Junior Lender Claims (or such lesser amount of Junior Lender Claims as is acceptable
to the Requisite Consenting Lenders in their sole and absolute discretion), then such sale
transaction (the “Entire Company Asset Sale”) shall be consummated and implemented through
the Plan with creditors to receive the net proceeds from such sale transaction on the Effective Date
as set forth herein; or (2) alternatively, if the Debtors’ sales process does not result in a bid for all
or substantially all of the Debtors’ assets that is sufficient to satisfy in full, in Cash, all Allowed
Administrative Claims, Priority Claims, Other Secured Claims, DIP Lender Claims, Senior Lender
Claims and Junior Lender Claims (or such lesser amount of Junior Lender Claims as is acceptable
to the Requisite Consenting Lenders in their sole and absolute discretion), then a stand -alone
reorganization (the “Reorganization Transaction”) will be consummated and implemented as set
forth in the Plan with creditors receiving those distributions set forth herein. The Reorganization
Transaction may include a sale of less than all or substantially all of the Debtors’ assets, with such
net sale proceeds distributed as set forth in the Plan.

        As set forth in the Plan, both the Entire Company Asset Sale and Reorganization
Transaction preserve the going-concern value of the Debtors’ businesses, maximize recoveries
available to all constituents, provide for an equitable distribution to the Debtors’ stakeholders, and
protect the jobs of the Debtors’ employees. More, specifically, pursuant to the terms of the Plan,
the Entire Company Asset Sale or the Reorganization Transaction, as applicable, provide, among
other things:

       All Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed Other Secured
        Claims, and Allowed Other Priority Claims shall be paid in full in cash or receive such
        other treatment that renders such Claims Unimpaired.



4
 Capitalized terms used but not otherwise defined in this Disclosure Statement shall have the meaning ascribed to
such terms in the Plan. The summary of the Plan provided herein is qualified in its entirety by reference to the
Plan. In the case of any inconsistency between this Disclosure Statement and the Plan, the Plan will govern.


ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524       Filed 09/01/20   Page 11 of 136




       If there is an Entire Company Asset Sale, Allowed DIP Lender Claims and Allowed Senior
        Lender Claims shall be paid in full in cash from the proceeds of such sale. Remaining sale
        proceeds, together with any other Distributable Proceeds, shall be distributed to the Holders
        of Allowed Junior Lender Claims, up to the full amount of such claims. If the re are any
        remaining Distributable Proceeds after payment in full of the Allowed Junior Lender
        Claims, such Distributable Proceeds will be paid to the Holders of General Unsecured
        Claims.

       If there is a Reorganization Transaction, the following will occur:

        o       Each Holder of an Allowed DIP Lender Claim shall receive its Pro Rata share of
                Partial Asset Sale Proceeds, if any, up to the full amount of its Allowed DIP Lender
                Claim. To the extent there are any remaining amounts due and owing to the Holders
                of Allowed DIP Lender Claims, such Holders shall either (i) receive their respective
                Pro Rata share of (A) the Exit Term Loan Facility in the aggregate amount of the
                Converted DIP Facility Amount, (B) Cash equal to the Remaining DIP Facility
                Amount, and (C) the New Warrants, or (ii) be Paid in Full in Cash with the proceeds
                of an Acceptable Exit Facility.

        o       Each Holder of an Allowed Senior Lender Claim shall receive its Pro Rata share of
                any Partial Asset Sale Proceeds, if any, after all Allowed DIP Lender Claims have
                been Paid in Full. To the extent there are any remaining amounts due and owing to
                the Holders of Allowed Senior Lender Claims, such Holders shall either (i) receive
                their respective Pro Rata share of (A) the Exit Term Loan Facility in the aggregate
                amount of the Converted Senior Facility Amount and (B) the New Warrants, or (ii)
                be Paid in Full in Cash with the proceeds of an Acceptable Exit Facility.

        o       Each Holder of an Allowed Junior Lender Claim shall receive its Pro Rata share of
                any Partial Asset Sale Proceeds, if any, after all Allowed DIP Lender Claims and
                Allowed Senior Lender Claims have been Paid in Full. To the extent there are any
                remaining amounts due and owing to the Holders of Allowed Junior Lender Claims,
                such Holders shall receive their Pro Rata share of 100% of the Reorganized AAC
                Equity Interests, subject to dilution by the New Warrants and the Management
                Incentive Plan.

        o       Holders of General Unsecured Claims shall not receive a recovery or distribution.

       In either an Entire Company Asset Sale or Reorganization Transaction, Holders of Interests
        in AAC Holdings shall not receive a recovery or distribution on account of such Interests.

       The Debtors are the proponents of the Plan within the meaning of section 1129 of the
Bankruptcy Code, and the Plan constitutes a separate plan of reorganization for each of the
Debtors. ALL HOLDERS OF CLAIMS AND INTERESTS, TO THE EXTENT APPLICABLE,
ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN
THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.



                                                 2
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524        Filed 09/01/20   Page 12 of 136




III.    EXECUTIVE SUMMARY

        A.      Chapter 11 Overview and this Disclosure Statement

       Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. In
addition to permitting debtor rehabilitation, chapter 11 promotes equality of treatment for creditors
and similarly situated equity interest holders, subject to the priority of distributions prescribed by
the Bankruptcy Code.

       The commencement of a chapter 11 case creates an estate that comprises all of the legal
and equitable interests of the debtor as of the date the chapter 11 case is commenced. The
Bankruptcy Code provides that the debtor may continue to operate its business and remain in
possession of its property as a “debtor in possession.”

        Consummating a chapter 11 plan is the principal objective of a chapter 11 case. A
bankruptcy court’s confirmation of a plan binds the debtor, any person acquiring property under
the plan, any creditor or equity interest holder of the debtor, and any other entity as may be ordered
by the bankruptcy court. Subject to certain limited exceptions, the order issued by a bankruptcy
court confirming a plan provides for the treatment of the debtor’s liabilities in accordance with the
terms of the confirmed plan.

        The Debtors are seeking to obtain Bankruptcy Court approval of the Plan. Before soliciting
acceptances of the Plan, section 1125 of the Bankruptcy Code requires the Debtors to prepare a
disclosure statement containing adequate information of a kind, and in sufficient detail, to enable
a hypothetical reasonable investor to make an informed judgment regarding acceptance of the Plan
and to share such disclosure statement with all holders of claims or interests whose votes on the
Plan are being solicited. This Disclosure Statement is being submitted in accord ance with these
requirements.

        B.      Voting on the Plan

        This Disclosure Statement, which is accompanied by a Ballot or Ballots to be used for
voting on the Plan, is being distributed to the holders of Claims or Interests in those Classes that
are entitled to vote to accept or reject the Plan. The procedures and instructions for voting and
related deadlines are set forth in the exhibits annexed to the Disclosure Statement Order, which is
attached hereto as Exhibit D.

       The Disclosure Statement Order is incorporated herein by reference and should be read in
conjunction with this Disclosure Statement in formulating a decision to vote to accept or reject the
Plan.

      THE DISCUSSION OF THE SOLICITATION AND VOTING PROCESS SET FORTH
IN THIS DISCLOSURE STATEMENT IS ONLY A SUMMARY.

     PLEASE REFER TO THE DISCLOSURE STATEMENT ORDER ATTACHED
HERETO FOR A MORE COMPREHENSIVE DESCRIPTION OF THE SOLICITATION AND
VOTING PROCESS.

                                                  3
ACTIVE 52312155v1
             Case 20-11648-JTD            Doc 524        Filed 09/01/20     Page 13 of 136




                1.       Holders of Claims Entitled to Vote on the Plan

        The Plan constitutes a separate Plan proposed by each Debt or and the classifications set
forth below shall be deemed to apply to each Debtor. Each Class shall be deemed to constitute
separate Sub-Classes of Claims against and Interests in each of the Debtors, as applicable, and
each such Sub-Class shall vote as a single separate Class for, and the confirmation requirements
of section 1129 of the Bankruptcy Code must be satisfied separately with respect to, each of the
Debtors.

        Your ability to vote on, and your distribution under, the Plan, if any, depends on what type
of Claim or Interest you hold. Each category of Holders of Claims or Interests, as set forth in
Article III of the Plan pursuant to section 1122(a) of the Bankruptcy Code, is referred to as a
“Class.” Under the provisions of the Bankruptcy Code, not all holders of claims against or interests
in a debtor are entitled to vote on a chapter 11 plan. The table in section C of this Article III
provides a summary of the status and voting rights of each Class (and, therefore, of each holder
within such Class absent an objection to the holder’s Claim or Interest) under the Plan.

         As shown in the table, the Debtors are soliciting votes to accept or reject the Plan only from
holders of Claims in Classes 3, 4 and 5 (collectively, the “ Voting Classes”). The Debtors are not
soliciting votes from holders of Claims or Interests in Classes 1, 2, 6, 7, 8 or 9 because such Classes
are deemed to accept or reject the Plan.

                2.       Third Party “Opt-Out” Provisions of Ballots

        As provided in the Solicitation and Voting Procedures, certain Holders of Claims in the
Voting Classes may opt out of the Third Party Release set forth in Article X.F of the Plan. In the
event that you are a Holder of such a Claim and receive a notice that includes an “opt -out”
provision, you may wish to review the Plan and seek legal advice concerning the effects of the
Third Party Release on your Claim. As to Holders of Claims in Class 5, under the terms of the
Plan, if Class 5 is deemed to reject the Plan pursuant to section 1126(g) of the Bankruptcy Code,
such Holders will not be “Releasing Parties” on account of such Class 5 Claims. However, if Class
5 is not deemed to reject the Plan, each Holder of a Class 5 Claim shall be deemed to have consented to
the Third Party Release, unless such Holder (a) votes to reject the Plan and completes the Opt-Out Form
so it is received by the Voting/Opt-Out Deadline, or (b) if such Holder chooses not to vote on the Plan, such
Holder completes the rest of the Ballot and completes the Opt -Out Form, so it is received by the Voting/Opt-
Out Deadline.

                3.       Voting Record Date

         The Voting Record Date is August 26, 2020. The Voting Record Date is the date on which
it will be determined which holders of Claims or Interests in the Voting Classes are entitled to vote
to accept or reject the Plan and whether Claims or Interests have been properly assigned or
transferred under Bankruptcy Rule 3001(e) such that an assignee or transferee, as applicable, can
vote to accept or reject the Plan as the holder of a Claim or Interest.




                                                     4
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524      Filed 09/01/20      Page 14 of 136




                4.     Ballots Not Counted

         No ballot will be counted toward Confirmation if, among other things: (1) it is illegible or
contains insufficient information to permit the identification of the Holder of the Claim; (2) it was
transmitted by means other than as specifically set forth in the ballots; (3) it was cast by an entity
that is not entitled to vote on the Plan; (4) it was cast for a Claim listed in the Debtors’ schedules
as contingent, unliquidated, or disputed for which the applicable Bar Date has passed an d no proof
of claim was timely filed; (5) it was cast for a Claim that is subject to an objection pending as of
the Voting Record Date (unless temporarily allowed in accordance with the Disclosure Statement
Order); (6) it was sent to the Debtors, the Debtors’ agents/representatives (other than the Notice
and Claims Agent) or the Debtors’ financial or legal advisors instead of the Notice and Claims
Agent; (7) it is unsigned; or (8) it is not clearly marked to either accept or reject the Plan or it is
marked both to accept and reject the Plan. Please refer to the Disclosure Statement Order for
additional requirements with respect to voting to accept or reject the Plan.

                5.     Claims Voting/Opt-Out Deadline

                 THE CLAIMS VOTING/OPT-OUT DEADLINE IS
            OCTOBER 1, 2020 AT 4:00 P.M. (PREVAILING EASTERN TIME).

    ANY BALLOT RECEIVED AFTER THE VOTING DEADLINE OR THAT IS
OTHERWISE NOT IN COMPLIANCE WITH THE DISCLOSURE STATEMENT
ORDER WILL NOT BE COUNTED.

                6.     Voting Instructions

        Detailed instructions regarding how to vote on the Plan are contained on the Ballots
distributed to Holders of Claims that are entitled to vote on the Plan. For your vote to be counted,
your ballot must be properly completed, executed, and delivered as di rected, so that your ballot
including your vote is actually received by the Debtors’ notice and claims agent, Donlin, Recano
& Company, Inc. (the “Notice and Claims Agent”) by the Voting Deadline.

       To vote, complete, sign, and date your ballot and return it promptly to one of the below
addresses:

            If sent by first-class mail                  If sent by hand delivery or overnight
                                                                         mail:
       Donlin, Recano & Company, Inc.
        Re: AAC Holdings, Inc., et al.                     Donlin, Recano & Company, Inc.
               P.O. Box 199043                              Re: AAC Holdings, Inc., et al
            Blythebourne Station                                   6201 15th Avenue
             Brooklyn, NY 11219                                  Brooklyn, NY 11219

                 PLEASE SELECT JUST ONE OPTION TO VOTE.
   EITHER RETURN A PROPERLY EXECUTED PAPER BALLOT WITH YOUR VOTE
                                   OR
       VOTE VIA ELECTRONIC MAIL TO DRCVotes@DONLINRECANO.COM
                                    5
ACTIVE 52312155v1
                   Case 20-11648-JTD              Doc 524          Filed 09/01/20      Page 15 of 136




             Holders    of    Claims who cast a ballot via electronic   mail   to
     DRCVotes@DONLINRECANO.COM with “AAC BALLOTS” in the subject line should NOT
     also submit a paper Ballot.

          FOR ANY BALLOT CAST VIA ELECTRONIC MAIL, A FORMAT OF THE
     ATTACHMENT MUST BE FOUND IN THE COMMON WORKPLACE AND INDUSTRY
     STANDARD FORMAT (I.E., INDUSTRY-STANDARD PDF FILE) AND THE RECEIVED
     DATE AND TIME IN THE NOTICE AND CLAIMS AGENT’S INBOX WILL BE USED AS A
     TIMESTAMP FOR RECEIPT.

            IF YOU HAVE ANY QUESTIONS ABOUT THE SOLICITATION OR VOTING
     PROCESS, PLEASE CONTACT THE NOTICE AND CLAIMS AGENT TOLL FREE AT
     (877) 476-4387 OR VIA ELECTRONIC MAIL TO AACINFO@DONLINRECANO.COM.

              C.      Summary of Treatment of Claims and Interests and Description of Recoveries
                      under the Plan

             The following table provides a summary of the anticipated recovery5 to holders of Claims
     or Interests under the Plan. Any estimates of Claims or Interests in this Disclosure Statement may
     vary from the final amounts allowed by the Bankruptcy Court. Your ability to receive distributions
     under the Plan depends upon the ability of the Debtors to obtain Confirmation and meet the
     conditions necessary to consummate the Plan.

          THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
     ESTIMATES ONLY AND THEREFORE ARE SUBJECT TO CHANGE. FOR A
     COMPLETE DESCRIPTION OF THE DEBTORS’ CLASSIFICATION AND
     TREATMENT OF CLAIMS AND INTERESTS, REFERENCE SHOULD BE MADE TO
     THE ENTIRE PLAN.

                                                                                Projected Amount
                                               Plan              Voting            of Allowed                Projected Plan
Class          Claims/Interests              Treatment           Rights          Claims/Interests              Recovery
                                                               Deemed to
 1          Other Priority Claims          Unimpaired                                $3,400,000                    100%
                                                               Accept
                                                               Deemed to
 2          Other Secured Claims           Unimpaired                                 $417,000                     100%
                                                               Accept
                                                               Entitled to
 3          Senior Lender Claims           Impaired                               $55,698,866.826                  100%
                                                               Vote




     5
       The recoveries set forth below may change based upon changes in the amount of Claims that are Allowed, as well
     as other factors related to the Debtors’ business operations and general economic conditions.
     6
       The projected amount of Senior Lender Claims does not reflect postpetition interest, which shall be allowed pursuant
     to the Plan under section 506(b) of the Bankruptcy Code.
                                                               6
     ACTIVE 52312155v1
                    Case 20-11648-JTD              Doc 524          Filed 09/01/20       Page 16 of 136




                                                                                 Projected Amount
                                               Plan               Voting            of Allowed                Projected Plan
Class           Claims/Interests             Treatment            Rights          Claims/Interests              Recovery
                                                                Entitled to
 4          Junior Lender Claims            Impaired                              $450,593,283.627                   [●]8
                                                                Vote
                                                                                                             0% in the case of
                                                                                                             a Reorganization
                                                                                                             Transaction; 0%,
            General Unsecured                                   Entitled to
 5                                          Impaired                                 $35,800,0009            or possibly more,
            Claims                                              Vote
                                                                                                             in the case of an
                                                                                                             Entire Company
                                                                                                                  Sale.10
                                                                Not
                                            Unimpaired /
 6          Intercompany Claims                                 Entitled to                N/A                       N/A
                                            Impaired11
                                                                Vote
                                                                Deemed to
 7          Subordinated Claims             Impaired                                   Unknown                        0%
                                                                Reject
                                                                Not
                                            Unimpaired/
 8          Intercompany Interests                              Entitled to            Unknown                       N/A
                                            Impaired12
                                                                Vote
            Interests in AAC                                    Deemed to
 9                                          Impaired                                   Unknown                        0%
            Holdings                                            Reject

              D.      Confirmation Hearing

            The Bankruptcy Court has scheduled the Confirmation Hearing for October 14, 2020 at
     10:00 a.m. prevailing Eastern Time. The Confirmation Hearing may be adjourned from time to
     time without further notice.

             Objections to Confirmation must be filed and served on the Debtors, and certain other
     parties, by no later than October 1, 2020 at 4:00 p.m. prevailing Eastern Time in accordance


     7
        The projected amount of the Junior Lender Claims does not reflect postpetition interest, which shall allowed pursuant
     to the Plan to the extent that the Junior Lender Claims are oversecured under section 506(b) of the Bankruptcy Code.
     8
        As discussed in further detail below, the Debtors are presently engaged in a sale and marketing process in accordance
     with the Bidding Procedures. To ensure that the integrity of the sale and marketing process is preserved and value is
     maximized, the Debtors are not disclosing the expected recoveries for Junior Lender Claims at this time. The Debtors
     will file, as part of the Plan Supplement, the expected recoveries to creditors under the Plan.
     9
       This amount does not include any contingent, unliquidated and/or disputed litigation claims set forth in the Debtors’
     schedules of assets and liabilities.
     10
         In the event of an Entire Company Asset Sale, the Debtors will include with the Plan Supplement additional
     disclosure setting forth the projected recovery to Holders of Class 5 General Unsecured Claims if the projected
     recovery is greater than 0%.
     11
        See Article III.B.6 of the Plan 6 for scenarios in which Holders of Intercompany Claims may be Unimpaired and
     those in which they may be Impaired.
     12
        See Article III.B.8 of the Plan for scenarios in which Holders of Intercompany Interests may be Unimpaired and
     those in which they may be Impaired.
                                                                7
     ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524        Filed 09/01/20   Page 17 of 136




with the notice of the Confirmation Hearing that accompanies this Disclosure Statement and the
Disclosure Statement Order attached hereto as Exhibit D and incorporated herein by reference.

        The confirmation of a plan of reorganization by a bankruptcy court binds the debtor, any
issuer of securities under a plan of reorganization, any person acquiring property under a plan of
reorganization, any creditor or equity interest holder of a debtor, and any other person or entity as
may be ordered by the bankruptcy court in accordance with the applicable provisions of the
Bankruptcy Code. Subject to certain limited exceptions, the order issued by the bankruptcy court
confirming a plan of reorganization discharges a debtor from any debt that arose before
confirmation of such plan of reorganization and provides for the treat ment of such debt in
accordance with the terms of the confirmed plan of reorganization.

        E.      Contact Information

       If you have any questions regarding this Disclosure Statement or the Plan, please contact
the Debtors’ Notice and Claims Agent, Donlin, Recano & Company, Inc., via one of the following
methods:

By regular mail at:                             By hand delivery or overnight mail at:
Donlin, Recano & Company, Inc.                  Donlin, Recano & Company, Inc.
Re: AAC Holdings, Inc., et al.                  Re: AAC Holdings, Inc., et al.
P.O. Box 199043                                 6201 15th Avenue
Blythebourne Station                            Brooklyn, NY 11219
Brooklyn, NY 11219

By telephone at: (877) 476-4387                 By facsimile at: (212) 481-1416
By electronic mail at:
aacinfo@DonlinRecano.com

       Copies of the Plan, this Disclosure Statement, and any other publicly filed documents in
the Chapter 11 Cases are available upon written request to the Notice and Claims Agent at the
addresses above or by downloading the exhibits and documents from the web site of the Notice and
Claims Agent at https://www.donlinrecano.com/Clients/aac/index (free of charge).

IV.     THE DEBTORS’ CORPORATE HISTORY, STRUCTURE, AND BUSINESS
        OVERVIEW

        A.      AAC’s Corporate History, Assets and Operations

        A leading provider of inpatient and outpatient substance abuse treatment services, AAC
treats adults struggling with drug addiction, alcohol addiction, and co -occurring mental/behavioral
health issues. In connection with its treatment services, AAC performs clinical diagnostic
laboratory services and provides physician services to its clients. AAC has developed the company
and the American Addictions Centers national brand through substantial investment in its clinical
expertise, facilities, professional staff, and national sales and marketing program.


                                                 8
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524        Filed 09/01/20   Page 18 of 136




        Clinical Expertise and Services. AAC maintains a research-based, disciplined treatment
plan for all clients with schedules designed to engage the client in an enriched recovery experience.
Its curriculum, which is peer reviewed and research-based, has been recognized as one of its
program strengths by the Commission on Accreditation of Rehabilitation Facilities and the Joint
Commission on the Accreditation of Healthcare Organizations, leaders in the promotion and
accreditation of quality, value, and optimal outcomes of service. In addition, AAC offers a variety
of forms of therapy types, settings, and related services that the National Institute on Drug Abuse
has recognized as effective. AAC offers the following types of therapy, including but not limited
to: motivational interviewing, cognitive behavioral therapy, rational emotive behavior therapy,
dialectical behavioral therapy, solution-focused therapy, eye movement desensitization and
reprocessing, and systematic family intervention. Its variety of therapy settings includes
individual, group, and family therapies, recovery-oriented challenge therapies, expressive
therapies (with a focus on music and art), equine and trauma therapies.

        AAC also provides Medicated-Assisted Treatment (“MAT”), which is the use of FDA-
approved medications, in combination with counseling and behavioral therapies, to provide a
“whole-patient” approach to the treatment of substance use disorders. AAC believes that it is
particularly effective for treating certain conditions such as opioid use disorder and alcohol use
disorder. MAT is an important and integral treatment modality that AAC deploys when
appropriate based upon individual patient needs.

       As detailed below, AAC offers a full spectrum of treatment services to clients, based upon
individual needs as assessed through comprehensive evaluations at admission and reevaluated
throughout their participation in the program:

         a. Detoxification (“detox”). Detoxification is usually conducted at an inpatient facility
            for clients with physical or psychological dependence. Detoxification services are
            designed to clear toxins out of the body so that the body can safely adjust and heal
            itself after being dependent upon a substance. Clients are medically monitored 24
            hours per day, seven days per week by experienced medical professionals who work
            to alleviate withdrawal symptoms through medication, as appropriate. AAC provides
            detoxification services for several substances including but not limited to alcohol,
            sedatives, and opiates.

         b. Residential Treatment. Residential care is a structured treatment approach designed
            to prepare clients to return to the general community with a sober lifestyle, increased
            functionality, and improved overall wellness. Treatment is provided on a 24 hours per
            day, seven days per week basis, and services generally include a minimum of two
            individual therapy sessions per week, regular group therapy, family therapy, didactic
            and psycho-educational groups, exercise (if cleared by medical staff), case
            management and recreational activities. Medical and psychiatric care is available to
            all clients, as needed, through AAC’s contracted professional physician groups.

         c. Partial Hospitalization. Partial hospitalization is a structured program providing care
            a minimum of 20 hours per week. This program is designed for clients who are stable
            enough physically and psychologically to participate in everyday activities but who
            still require a degree of medical monitoring. Services include a minimum of weekly
                                                 9
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524      Filed 09/01/20      Page 19 of 136




             individual therapy, regular group therapy, family education and therapy, didactic and
             psycho-educational groups, exercise (if cleared by medical staff), case management
             and off-site recovery meetings and activities. Medical and psychiatric care is available
             to all clients, as needed, through AAC’s contracted professional physician groups.

         d. Intensive Outpatient Services. Less intensive than the aforementioned levels of care,
            intensive outpatient services are comprised of a structured program providing care
            three days per week for three hours per day at a minimum. Designed as a “step down”
            from partial hospitalization, this program reinforces progress and assists in the
            attainment of sobriety, reduction of detrimental behaviors and improved overall
            wellness of clients while they integrate and interact in the community. Services
            include weekly individual therapy, group therapy, family education and therapy,
            didactic and psycho-educational groups, case management, off-site recovery meetings
            and activities, and intensive transitional and aftercare planning.

         e. Outpatient Services. Traditional outpatient services are delivered in regularly
            scheduled sessions, usually less than nine hours per week. Outpatient services include
            professionally directed screening, assessment, therapy, and other services designed to
            support successful transition to the community and long-term recovery. These
            services are tailored to a person’s specific needs and stage of recovery and may involve
            many modalities, including motivational enhancement, family therapy, educational
            groups, occupational and recreational therapy, psychotherapy, and pharmacotherapy.

         f. Ancillary Services. In addition to inpatient and outpatient treatment services, AAC
            provides medical monitoring for adherence to addiction treatment as well as clinical
            diagnostic laboratory services. AAC also provides physician services to its clients
            through its contracted professional physician groups. It believes toxicological
            monitoring of clients is an important component of substance abuse treatment. Clients
            are evaluated for illicit substances upon admission and thereafter on a random basis
            and as otherwise determined to be medically necessary by the treating physician. AAC
            conducts laboratory testing for its facilities using quantitative liquid chromatography
            time-of-flight mass spectrometry technology at its laboratory located in Brentwood,
            Tennessee.

         g. Sober Living Facilities. AAC provides sober living arrangements that serve as an
            interim environment for clients transitioning from inpatient treatment centers to lower
            levels of care and eventually back to their former living arrangements. Sober living
            facilities enable AAC to utilize existing beds for clients requiring higher levels of care,
            while still providing housing for clients completing outpatient treatment programs.
            AAC provides sober living arrangements to clients through AAC’s owned and leased
            properties in Texas, Nevada, Mississippi, and Florida. AAC plans to continue using
            sober living facilities as a complement to its outpatient services.

        Facilities. As of the Petition Date, and as set forth in greater detail in the table below,
AAC operates a total of 26 facilities in eight states focused on delivering effective clinical care
and treatment solutions across 1,360 inpatient and sober living beds located in California, Florida,
Massachusetts, Mississippi, Nevada, New Jersey, Rhode Island, and Texas.
                                                  10
ACTIVE 52312155v1
                 Case 20-11648-JTD                 Doc 524          Filed 09/01/20              Page 20 of 136




       The following table presents information about AAC’s network of substance abuse
treatment facilities, including current facilities and facilities under development as of May 2020:

                     Facility Name                           State                         13                  Property
                                                                                   Beds
                 14
 Residential
 AdCare Rhode Island              RI                                                  59                     Owned
 AdCare Substance Abuse Hospital  MA                                                 114                     Owned
 Desert Hope Treatment Center     NV                                                 148                     Owned
 Greenhouse Treatment Center      TX                                                 130                     Owned
 Laguna Treatment Hospital        CA                                                  93                     Owned
 Oxford Treatment Center          MS                                                 124                     Owned
 Recovery First Treatment Center  FL                                                  56                   Owned/Leased
 River Oaks Treatment Center      FL                                                 162                     Owned
 Sunrise House Treatment Center   NJ                                                 110                     Owned
 Total Residential Beds                                                              996
 Sober Living
 Resolutions Arlington            TX                                                 157                        Leased
 Resolutions Las Vegas            NV                                                 159                        Leased
 Resolutions Oxford               MS                                                  48                        Owned
 Total Sober Living Beds                                                             364
  TOTAL RESIDENTIAL & SOBER LIVING BEDS                                             1,360

                     Facility Name                           State               Locations                     Property
                15
 Outpatient
 AdCare Outpatient Centers                                  MA/RI                     10                   Owned/Leased
 Desert Hope Outpatient Center                               NV                        1                     Leased
 Greenhouse Outpatient                                       TX                        1                     Leased
 Oxford Outpatient Center                                    MS                        1                     Owned
 Sunrise House Outpatient                                    NJ                        1                     Owned
 TOTAL OUTPATIENT FACILITIES                                                          14

        Professional Staff. As of the Petition Date, AAC has approximately 2,000 employees.
AAC’s highly trained clinical staff deploys research-based treatment programs with structured
curricula for detoxification, inpatient treatment, partial hospitalization, and intensive outpatient
care.

      AAC employs a variety of staff related to providing client care, including clinicians, case
managers, social workers, therapists, medical technicians, housekeepers, cooks and drivers, among


13
   Bed capacity reflected in the table represents total available beds. Actual capacity utilized depends on current staffing levels at
each facility and may not equal total bed capacity at any given time.

14
   Inpatient facilities generally have the ability to provide detox, residential, partial hospitalization, and intensive outpati ent
services.

15
     Outpatient facilities generally have the ability to provide partial hospitalization and intensive outpatient services.

                                                                 11
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524     Filed 09/01/20     Page 21 of 136




others. AAC also employs a professional sales force and staffs a centralized admissions center.
AAC’s corporate staff includes accounting, billing and finance professionals, corporate
compliance, marketing and human resource personnel, IT staff, and senior management.

        A majority of the employees at the Sunrise House Treatment Center in New Jersey are part
of a labor union. On June 14, 2017, Sunrise House Treatment Center entered into a three-year
collective bargaining agreement with the union that has been extended until September 11, 2020.
None of AAC’s other employees are represented by a labor union or covered by a collective
bargaining agreement.

         The Professional Entities (defined below) engage physicians and mid-level service
providers to provide professional services to AAC’s clients through professional services
agreements with each treatment facility. Under the professional services agreements, the
Professional Entities also provide a physician to serve as medical director for the applicable
facility.

        Sales and Marketing. AAC uses a multi-faceted approach to reach potential clients
suffering from the disease of addiction and co-occurring psychiatric disorders. This multi-pronged
approach includes, among other things, national marketing, multi-media marketing, and
recommendations by alumni. AAC deploys and manages a national marketing force, a group of
approximately 100 representatives nationwide that focuses primarily on developing relationships
with hospitals, other treatment facilities, psychiatrists, therapists, social workers, employers,
unions, alumni and employee assistance programs. Its sales representatives educate these various
constituents about the disease of addiction and the variety of treatment services that the company
provides.

         In addition, AAC advertises through various media to obtain new clients as well as to
develop a national brand. AAC operates a broad portfolio of internet assets that service millions
of website visits each month. Through comprehensive online directories of treatment providers,
treatment provider reviews, user content that discusses the disease of addiction, treatment a nd
recovery, as well as discussion forums and professional communities, AAC’s addiction -related
websites serve families and individuals who are struggling with addiction and seeking treatment
options. Additionally, AAC continues to pursue advertising oppo rtunities in television
commercials, radio spots, newspaper articles, medical journals, and other print media that promote
its facilities and have the intent to build its integrated, national brand.

       Incorporation of AAC Holdings, Inc. and Operations. Debtor AAC Holdings, Inc.
(“AAC Holdings”) was incorporated as a Nevada corporation on February 12, 2014 for the purpose
of acquiring the common stock of Debtor American Addiction Centers, Inc. (“AAC, Inc.”) and to
engage in certain reorganization transactions in connection with the initial public offering of AAC
Holdings’ common stock, which was completed in October 2014. AAC, Inc. was founded by
Michael Cartwright and incorporated as a Nevada corporation on February 27, 2007.

       In December 2014, AAC made its first acquisition as a public company, acquiring Recovery
First Inc., a Florida-based substance abuse and rehab services company. In 2015, AAC acquired
several sites in California, Mississippi, New Jersey, and Rhode Island, as well as two digital
marketing firms focused on publishing online content on substance abuse. By 2018, AAC was

                                                12
ACTIVE 52312155v1
               Case 20-11648-JTD             Doc 524       Filed 09/01/20         Page 22 of 136




operating 12 residential treatment centers and 18 outpatient facilities, and reported a revenue of
almost $296 million.

        In 2018, AAC acquired AdCare, Inc. (“AdCare”), a 114-bed hospital in Worcester,
Massachusetts that also operates five outpatient centers in Massachusetts and a 59-bed
residential treatment center and two outpatient centers in Rhode Island. AdCare participates in
both Medicare and Medicaid, and the acquisition, therefore, significantly increased AAC’s overall
participation in governmental payor programs. AdCare was purchased for total consideration of
$85.1 million (the “AdCare Acquisition”), subject to certain agreed-to adjustments including a
promissory note in the aggregate principal amount of approximately $9.6 million (the “ AdCare
Note”).16

        The corporate organizational structure of the Debtors is depicted on the chart attached
hereto as Exhibit C. AAC Holdings is managed by existing management and a board of directors
(the “Board”) consisting of seven directors, including five independent directors. AAC Holdings
is a holding company for AAC, Inc. and AAC Healthcare Network, Inc. (“ AAC Healthcare”).
AAC, Inc. and AAC Healthcare own all of the operating subsidiaries.

         AAC, Inc. owns the following subsidiaries:

          a.   AAC Dallas Outpatient Center, LLC d/b/a Greenhouse Outpatient Center;
          b.   AAC Las Vegas Outpatient Center, LLC d/b/a Desert Hope Outpatient Center;
          c.   ABTTC, LLC;
          d.   B&B Holdings Intl LLC;
          e.   Behavioral Healthcare Realty, LLC;
          f.   BHR Aliso Viejo Real Estate, LLC d/b/a Resolutions San Diego;
          g.   BHR Greenhouse Real Estate, LLC d/b/a Resolutions Arlington;
          h.   BHR Oxford Real Estate, LLC d/b/a Resolutions Oxford;
          i.   BHR Ringwood Real Estate, LLC d/b/a Resolutions Franklin;
          j.   Clinical Revenue Management Services, LLC;
          k.   Concord Real Estate, LLC d/b/a Resolutions Las Vegas;
          l.   Concorde Treatment Center, LLC d/b/a Desert Hope Center;
          m.   FitRX, LLC;
          n.   Forterus Health Care Services, Inc.;
          o.   Greenhouse Treatment Center, LLC d/b/a The Greenhouse;
          p.   Laguna Treatment Hospital, LLC;
          q.   New Jersey Addiction Treatment Center, LLC d/b/a Sunrise House;
          r.   Oxford Outpatient Center, LLC;
          s.   Oxford Treatment Center, LLC;
          t.   Recovery Brands, LLC;


16
  The purchase price was comprised of (i) approximately $66.8 million in cash, excluding expenses and other
adjustments, (ii) approximately $5.4 million in shares of AAC Holdings’ common stock (or 562,051 shares at $9.68
per share), (iii) the AdCare Note, and (iv) contingent consideration valued at $500,000 initially recorded in accrued
and other current liabilities. AAC acquired $2.7 million of cash on hand at AdCare, which was returned to the seller
within 60 days of the acquisition as required by the Purchase Agreement.

                                                         13
ACTIVE 52312155v1
               Case 20-11648-JTD             Doc 524        Filed 09/01/20        Page 23 of 136




          u. Recovery First of Florida, LLC d/b/a Recovery First d/b/a Recovery First Fort
              Lauderdale East;
          v. Referral Solutions Group, LLC;
          w. River Oaks Treatment Center, LLC;
          x. San Diego Addiction Treatment Center, Inc.;
          y. Singer Island Recovery Center LLC;
          z. Sober Media Group, LLC;
          aa. Solutions Treatment Center, LLC d/b/a Solutions Recovery;
          bb. Taj Media, LLC d/b/a RankLab Interactive; and
          cc. The Academy Real Estate, LLC.

         AAC Healthcare owns the following subsidiaries, including AdCare:

          a.   AdCare Criminal Justice Services, Inc.;
          b.   AdCare Hospital of Worcester, Inc.;
          c.   AdCare, Inc.;
          d.   AdCare Rhode Island, Inc.;
          e.   Addiction Labs of America, LLC;
          f.   Diversified Healthcare Strategies, Inc.;
          g.   Green Hill Realty Corporation;
          h.   Lincoln Catharine Realty Corporation;
          i.   RI – Clinical Services, LLC;
          j.   Sagenex Diagnostics Laboratory, LLC; and
          k.   Tower Hill Realty, Inc.

        Six affiliates of AAC are professional associations or professional corporations under
applicable state law (collectively, the “Professional Entities”).17 During the years 2014 through
2016, the Professional Entities each entered into separate agreements with AAC (collectively, the
“Agreements”). The Agreements state that AAC will provide management, administrative, and
consulting services to the Professional Entities’ medical practices and various systems designed to
support the medical practices but strictly preserve the practice of medicine to the Professional
Entities.

        AAC has a centralized corporate office located in Brentwood, Tennessee that houses its
accounting, billing and collections, corporate compliance, information technology, legal and
centralized marketing offices, as well as its call center and admissions center.

        The admissions center, open 24 hours per day, seven days per week, focuses on enrolling
clients. As part of its role, the admissions center team conducts benefits verification, handles initial
communication with insurance companies, completes client intake screenings, consults with

17
    The Professional Entities are as follows: Grand Prairie Professional Group, P.A.; Las Vegas Professional Group -
Calarco, P.C.; Oxford Professional Group, P.C.; Palm Beach Professional Group, Professional Corporation;
Pontchartrain Medical Group, A Professional Corporation; and San Diego Professional Group, P.C. These
Professional Entities are also loan parties and guarantors un der the prepetition loan documents, and each are debtors
in these Chapter 11 Cases. Brentwood Professional Group, P.C. is also an affiliate of AAC and a professional entity,
but it is not a loan party, guarantor or debtor in the Chapter 11 Cases.

                                                         14
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20     Page 24 of 136




AAC’s clinicians where necessary regarding a potential patient’s specific medical or psychological
condition, begins the pre-certification process for treatment authorization, helps each client choose
a proper treatment facility for his or her clinical and financial needs, and assists clients with
arrangements and logistics.

        The Debtors also have a clinical laboratory facility in Brentwood, Tennessee that performs
high complexity testing, COVID-19 testing, quantitative drug testing, and other laboratory
services. The laboratory holds a certificate of accreditation from the Clinical Laboratory
Improvement Amendments of 1988 certifying it for complex testing, and the laboratory is
therefore required to meet more stringent requirements than laboratories performing less complex
testing. The facility is regularly subject to survey and inspection to assess compliance with
program standards. In addition, the laboratory is also accredited by the College of American
Pathologists.

        B.      The Debtors’ Management Team

        AAC Holdings is managed by existing management and the Board.

       Michael Cartwright co-founded the Debtors in 2012 and currently serves as Chairman of
the Board. With over 20 years of experience, he is a noted behavioral health expert, author and
entrepreneur whose treatment philosophy is based on his expertise and involvement in 15 federally
funded research studies on dual diagnosis and addiction.

        Chief Executive Officer Andrew McWilliams joined the company as Chief Accounting
Officer in August 2014. From October 1998 through August 2014, Mr. McWilliams worked as
an auditor with Ernst & Young LLP, a national public accounting firm. During his tenure with
Ernst & Young, Mr. McWilliams served multiple healthcare clients and also gained experience
across a variety of corporate transactions, including public offerings of securities and mergers and
acquisitions.

       Karen Abbott, Chief Legal Officer & Chief Compliance Officer, brings a wealth of
experience to her position, having been in healthcare for the majority of her career. Most recently,
Karen was Sr. Vice President, Senior Counsel and Chief Compliance Officer at Diversicare Health
Services. Prior to that, she was the Chief Administrative Lawyer, Vice President, Associate
General Counsel & Assistant Corporate Secretary with IASIS Healthcare Corporation (now
Steward Health Systems, LLC) where she held progressive legal positions in the company
beginning in 1999.

        C.      The Special Restructuring Committee

       Prior to the Petition Date, on January 11, 2020, the Board approved the charter of the
Special Restructuring Committee (the “Special Restructuring Committee”). The Special
Restructuring Committee is comprised of Lucius E. Burch and two independent directors, T.
Michael Logan and Scott Vogel (collectively, the “Special Restructuring Committee Members”).
The Special Restructuring Committee’s duties and responsibilities include (i) negotiating with the
Debtors’ creditors, (ii) examining and informing the Board regarding the sale or disposition of the
Debtors’ assets, (iii) effectuating the restructuring of the Debtors, (iv) coordinating with the
management of the Debtors to effectuate said restructuring, (v) directing and working with the
                                                15
ACTIVE 52312155v1
              Case 20-11648-JTD              Doc 524        Filed 09/01/20        Page 25 of 136




Debtors’ professionals, and (vi) performing such other duties as may be assigned by the Board to
the Special Restructuring Committee from time to time.

        On July 18, 2020, the Debtors filed an application to retain Cleary Gottlieb Steen &
Hamilton LLP (“Cleary Gottlieb”) as counsel to the Special Restructuring Committee
[Docket No. 166]. On August 5, 2020, the Bankruptcy Court entered an order authorizing the
retention of Cleary Gottlieb [Docket No. 372].

         D.       The Debtors’ Prepetition Capital Structure

       As of the Petition Date, the Debtors had prepetition secured indebtedness in the aggregate
principal amount in excess of $363.6 million, plus accrued and unpaid interest and fees, consisting
of two credit facilities (together, the “Prepetition Credit Facilities”) as described further herein.
        The Prepetition Junior Lien Facility. Pursuant to that certain Credit Agreement, dated as
of June 30, 2017 (as amended, supplemented, restated or otherwise modified from time to time
prior to, and as in effect on, the Petition Date, the “Prepetition Junior Lien Credit Agreement”, and
together with all other agreements, documents, instruments and certificates executed or delivered
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in connection therewith, that certain Prepetition Intercreditor Agreement and that certain
Forbearance Agreement dated as of October 30, 2019 (as amended, supplemented or otherwise
modified from time to time) among the Junior Lien Loan Parties (as defined below), the lenders
constituting Required Lenders under the Prepetition Junior Lien Credit Agreement party thereto
and the Junior Agent, collectively, the “Junior Lien Loan Documents”) by and among AAC
Holdings, as borrower (the “Junior Lien Borrower”), each of the Debtors party thereto, as
guarantors (the “Junior Lien Guarantors”, and together with the Junior Lien Borrower, the “Junior
                       19
Lien Loan Parties”), the lenders party thereto (collectively, the “Junior Lenders”), and Ankura
(as successor by assignment to Credit Suisse AG), as administrative agent (in such capacity, the
“Junior Administrative Agent”) and collateral agent (in such capacity, the “Junior Collateral
Agent”, and together with the Junior Administrative Agent, collectively, the “Junior Agent”), the
Junior Lenders provided a credit facility (the “Prepetition Junior Lien Facility”) to the Junior Lien
Borrower.
        The Debtors, as the Junior Lien Loan Parties, granted to the Junior Agent, for the benefit
of itself and the Junior Lenders, liens, mortgages and security interests (collectively, the
“Prepetition Junior Facility Liens”) in all “Collateral” as defined in the Prepetition Junior Lien
Credit Agreement (collectively, the “Prepetition Junior Lien Collateral”).



18
   The relative rights and remedies of the Prepetition Secured Parties and the relative priority of their respective
security interests in any shared or common Prepetition Collateral are governed by that certain Intercreditor Agreement
dated as of March 8, 2019 (as amended, supplemented or otherwise modified from time to time) by and among the
Debtors, the Senior Lien Agent and the Junior Lien Agent (the “Prepetition Intercreditor Agreement”).

19
   The following Debtors are not Junior Lien Guarantors and are therefor e not Junior Lien Loan Parties: ABTTC,
LLC; AdCare Criminal Justice Services, Inc.; B&B Holdings Intl LLC; Clinical Revenue Management Services, LLC;
Diversified Healthcare Strategies, Inc.; FitRX, LLC; Singer Island Recovery Center LLC; and Taj Media LLC.

                                                         16
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524     Filed 09/01/20      Page 26 of 136




       The Prepetition Junior Lien Facility initially provided for (a) a term loan (the “Junior Lien
Term Loan”) in the aggregate principal amount of $210 million with a stated maturity of June 30,
2023, and (b) a revolving line of credit (the “Junior Lien Revolver”) in the aggregate principal
amount of $40 million with a stated maturity of June 30, 2022. The Prepeti tion Junior Lien Facility
also provided for standby letters of credit in an aggregate undrawn amount not to exceed $7.0
million. The Junior Lien Term Loan required scheduled quarterly principal repayments in an
amount equal to $1.7 million for September 30, 2017 through June 30, 2019 and $3.4 million for
September 30, 2019 through March 31, 2023, with the remaining principal balance of the Junior
Lien Term Loan due on the maturity date of June 30, 2023. The Junior Lien Term Loan was fully
drawn on June 30, 2017.
       The Prepetition Junior Lien Facility also included an incremental facility providing for
additional term loans in an aggregate principal amount of up to $25 million and additional
revolving commitments in an aggregate principal amount of up to $15 million (the “Incremental
Revolver”).
        The proceeds of the Junior Lien Term Loan were used by the Debtors to (a) prepay all
existing indebtedness under (i) the Debtors’ 2015 senior secured credit facility with Bank of
America, N.A, then outstanding in the aggregate approximate amount of at least $140 million and
(ii) two subordinated financing facilities with affiliates of Deerfield Management Company in the
aggregate approximate amount of $50 million (the “2015 Subordinated Debt”), (b) to pay
transaction costs associated with the foregoing, and (c) for general corporate purposes. The
proceeds of the Junior Lien Revolver drawn at closing were used to pay the consent fee of
approximately $3 million due in connection with calling the 2015 Subordinated Debt, to pay
transaction costs associated with the foregoing, and for general corporate purposes.
       In addition, in conjunction with AAC Holdings’ acquisition of AdCare, (a) on September
25, 2017, the Junior Lien Loan Parties incurred the Incremental Revolver thereby increasing the
Junior Lien Revolver from $40 million to $55 million, and (b) on March 1, 2018, the Junior Lien
Loan Parties secured a $65 million incremental term loan commitment under the Prepetition Junior
Lien Facility.
        As of the Petition Date, the Debtors were indebted to the Junior Lenders under the
Prepetition Junior Lien Facility in the aggregate principal amount of $316,612,692.97, plus
accrued but unpaid interest, plus any other amounts incurred or accrued but unpaid prior to the
Petition Date in accordance with the Junior Lien Loan Documents, including, without limitation,
principal, accrued and unpaid interest (including at the default rate), premiums, make wholes, any
reimbursement obligations (contingent or otherwise), any fees, expenses and di sbursements
(including, without limitation, attorneys’ fees, financial advisors’ fees, related expenses and
disbursements of the Junior Lenders and the Junior Agent), indemnification obligations, any other
charges, amounts and costs of whatever nature owing, whether or not contingent, whenever arising,
accrued, accruing, due, owing or chargeable in respect thereof, in each case, to the extent provided
in the Junior Lien Loan Documents (collectively, the “Prepetition Junior Lien Obligations”).
        The Prepetition Senior Lien Facility. Pursuant to that certain Credit Agreement dated as
of March 8, 2019 (as amended, supplemented, restated or otherwise modified from time to time
prior to, and as in effect on, the Petition Date, the “ Prepetition Senior Lien Credit Agreement”,
and together with all other agreements, documents, instruments and certificates executed or
                                                17
ACTIVE 52312155v1
             Case 20-11648-JTD            Doc 524       Filed 09/01/20       Page 27 of 136




delivered in connection therewith, including that certain Prepetition Intercreditor Agreement and
that certain Forbearance Agreement dated as of October 30, 2019 (as amended, supplemented or
otherwise modified from time to time) among the Senior Lien Loan Parties (as defined below), the
lenders constituting Required Lenders under the Prepetition Senior Lien Credit Agreement party
thereto and the Senior Agent, collectively, the “Senior Lien Loan Documents”, and together with
the Junior Lien Loan Documents, the “Prepetition Loan Documents”) by and among AAC
Holdings, as borrower (the “Senior Lien Borrower”), the guarantors party thereto (the “Senior Lien
Guarantors”, and together with the Senior Lien Borrower, the “Senior Lien Loan Parties”, and
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together with the Junior Lien Loan Parties, the “Prepetition Loan Parties”), the lenders party
thereto (collectively, the “Senior Lenders”, and together with the Junior Lenders, the “Prepetition
Lenders”) and Ankura (as successor by assignment to Credit Suisse AG), as administrative agent
(in such capacity, the “Senior Administrative Agent”) and collateral agent (in such capacity, the
“Senior Collateral Agent”, and together with the Senior Administrative Agent, collectively, the
“Senior Agent”, and together with the Junior Agent, the “Prepetition Agents”, and collectively
with the Prepetition Lenders, the “Prepetition Secured Parties”), the Senior Lenders provided a
credit facility (the “Prepetition Senior Lien Facility”) to the Senior Lien Borrower. The Prepetition
Senior Lien Facility initially provided for a term loan in the principal amount of $30 million and
matured on its original term on April 15, 2020.
        The Debtors, as the Senior Lien Loan Parties, granted to the Senior Agent, for the benefit
of itself and the Senior Lenders, properly perfected continuing liens, mortgages and security
interests (collectively, the “Prepetition Senior Facility Liens”) in all “Collateral” as defined in the
Prepetition Senior Lien Credit Agreement (collectively, the “Prepetition Senior Lien Collateral”,
and together with the Prepetition Junior Lien Collateral, the “Prepetition Collateral”).
        Contemporaneously with the Senior Lien Loan Parties’ entry into the Prepetition Senior
Lien Facility, on March 8, 2019, the Junior Lien Loan Parties entered into that certain Amendment
and Waiver No. 1 to Credit Agreement with the Required Lenders under the Prepetition Junior
Lien Credit Agreement and the Junior Agent, which amended the Prepetition Junior Lien Facility
to, among other things, (a) increase the interest rate on the Junior Lien Term Loans, (b) increase
the commitment fee for the undrawn portion of the Junior Lien Revolver, (c) provide that, upon
repayment of all indebtedness under the Prepetition Senior Lien Facility, the Prepetition Loan
Parties must use proceeds from the sale or disposition of certain Prepetition Collateral to prepay
outstanding Junior Lien Obligations, including payment of certain prepayment premiums, and (d)
revise certain financial covenants, including a maximum senior secured coverage ratio and
budgeting and reporting covenants, to mirror those contained in the Prepetition Senior Credit
Facility.
        Incremental Funding Under the Prepetition Senior Lien Facility and Entry into
Forbearance. On October 30, 2019, the Debtors entered into amendments to each of the
Prepetition Credit Facilities, which (a) provided for additional term loans under the Prepetition
Senior Lien Facility from certain Senior Lenders in the aggregate amount of $5 million and
(b) amended the Prepetition Junior Lien Facility to allow for such additional funding capacity

20
  The following Debtors are not Senior Lien Guarantors and are therefore not Senior Lien Loan Parties: ABTTC,
LLC; AdCare Criminal Justice Services, Inc.; B&B Holdings Intl LLC; Clinical Revenue Management Services, LLC;
Diversified Healthcare Strategies, Inc.; FitRX, LLC; Singer Island Recovery Center LLC; and Taj Media LLC.

                                                     18
ACTIVE 52312155v1
                 Case 20-11648-JTD             Doc 524       Filed 09/01/20       Page 28 of 136




under the Prepetition Senior Lien Facility. In connection with the October 30, 2019 amendments
and incremental funding under the Prepetition Senior Lien Facility, the Prepetition Loan Parties
entered into forbearance agreements (together, the “Forbearance Agreements”) with the
Prepetition Agents and the requisite lenders under each of the Prepetition Credit Facilities
(collectively, the “Forbearing Lenders”), pursuant to which the Forbearing Lenders agreed, among
other things, to forbear from exercising their remedies under the Prepetition Credit Facilities that
would have otherwise been available due to existing events of default through March 31, 2020.
        On January 9, 2020, the Forbearing Lenders delivered to the Debtors a notice of the
termination of the forbearance periods under the Forbearance Agreements (the “Forbearance
Periods”) due to, among other things, the occurrence of certain events of default under the
Prepetition Credit Facilities and termination events under the Forbearance Agreements.
        On January 24, 2020, the Debtors entered into further amendments to each of the
Prepetition Credit Facilities, which (a) provided for additional term loans under the Prepetition
Senior Lien Facility from certain Senior Lenders in an aggregate principal amount equal to $12
million, $10 million of which was funded at closing of such amendments, and $2 million of which
was funded on February 26, 2020 and (b) amended the Prepetition Junior Lien Facility to allow
for such additional funding under the Prepetition Senior Lien Facility. Accordingly, as of the
Petition Date, the Debtors were indebted to the Senior Lenders under the Prepetition Senior Lien
Facility in the aggregate principal amount of $47,000,000, plus accrued but unpaid interest, plus
any other amounts incurred or accrued but unpaid prior to the Petition Date in accordance with the
Senior Lien Loan Documents, including, without limitation, principal, accrued and unpaid interest
(including at the default rate), premiums, make wholes, any reimbursement obligations (contingent
or otherwise), any fees, expenses and disbursements (including, without limitation, attorneys’ fees,
financial advisors’ fees, related expenses and disbursements of the Senior Lenders and the Senior
Agent), indemnification obligations, any other charges, amounts and costs of whatever nature
owing, whether or not contingent, whenever arising, accrued, accruing, due, owing or chargeable
in respect thereof, in each case, to the extent provided in the Senior Lien Loan Documents
(collectively, the “Prepetition Senior Lien Obligations”, and together with the Prepetition Junior
Lien Obligations, the “Prepetition Obligations”).
        In connection with the January 2020 amendments to the Prepetition Credit Facilities and
incremental funding under the Prepetition Senior Lien Facility, the Debtors and the Forbearing
Lenders entered into amendments to each of the Forbearance Agreements pursuant to which the
Forbearing Lenders agreed, among other things, to forbear from exercising their remedies under
the Prepetition Credit Facilities that would have otherwise been available due to existing events of
default through March 31, 2020. On March 31, 2020, the Forbearance Agreements terminated in
accordance with their terms. In June 2020, prior to the Petition Date, the Prepetition Lenders gave
notice of acceleration of the Prepetition Obligations.
        Financing Lease Obligation. On August 9, 2017, AAC closed on a sale-leaseback
transaction with MedEquities Realty Operating Partnership, LP, a subsidiary of MedEquities
                                   21
Realty Trust, Inc. (“MedEquities”), for $25.0 million (the “2017 Sale-Leaseback”), in which
MedEquities purchased from subsidiaries of AAC two drug and alcohol rehabilitation outpatient
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     On May 17, 2019, Omega Healthcare Investors, Inc. acquired of all of the outstanding shares of MedEquities.

                                                          19
ACTIVE 52312155v1
             Case 20-11648-JTD           Doc 524    Filed 09/01/20      Page 29 of 136




facilities and two sober living facilities: the Desert Hope Facility and Resolutions Las Vegas, each
located in Las Vegas, Nevada, and the Greenhouse Facility and Resolutions Arlington, each
located in Arlington, Texas (collectively, the “Sale-Leaseback Facilities”).
         Simultaneously with the sale of the Sale-Leaseback Facilities, AAC, through its
subsidiaries and MedEquities, entered into an operating lease, dated August 9, 2017, pursuant to
which AAC would continue to operate the Sale-Leaseback Facilities. The operating lease provides
for a 15-year term for each facility with two separate renewal terms of five years each if AAC
chooses to exercise its right to extend the lease term. The initial annual m inimum rent payable
from AAC to MedEquities is $2.2 million due in equal monthly installments of $0.2 million. On
the first, second and third anniversary of the lease date, the annual rent will increase 1.5% from
the annual rent in effect for the immediately preceding year. On the fourth anniversary of the lease
date and thereafter during the lease term, the annual rent will increase to the amount equal to the
CPI Factor (as defined in the lease) multiplied by the annual rent in effect for the immediately
preceding year; provided, however, that the adjusted annual rent increase will always be between
1.5% and 3.0%.
       Capital Lease Obligations. AAC has capital leases with third party leasing companies for
vehicles, copiers, and equipment. The capital leases have maturity dates in July 2021 and January
2024. The total obligations under the capital leases as of March 31, 2020 were approximately
$485,281, of which $138,015 was included in the current portion of long-term debt.
        Subordinated Note. On March 1, 2018, in conjunction with the AdCare Acquisition, AAC
issued the AdCare Note to the seller in the original principal amount of $9.6 million, with a stated
maturity of September 29, 2023 and with a fixed interest rate per annum equal to 5.0%,
compounded annually. Payments of principal and interest pursuant to the AdCare Note
commenced on April 30, 2018. The obligations under the AdCare Note are not guaranteed by any
of the other Debtors.
V.      EVENTS LEADING TO THE CHAPTER 11 FILINGS

        A.      Financial Difficulties

         Beginning in the fourth quarter of 2018 and continuing into the first quarter of 2019, AAC
took steps to consolidate and divest certain of its markets, reduce corporate staff and administrative
expenses, and increase operational efficiency. On December 1, 2018, it ceased operations at its
36-bed sober-living center and outpatient center in San Diego, California, consolidating its
operations with its Laguna Treatment Hospital. During the fourth quarter of 2018, AAC also
announced that it was seeking strategic alternatives for its Louisiana operations, which it
subsequently sold pursuant to a Membership Interest Purchase Agreement with an effective date
of January 28, 2019 among AAC, Inc., Avenues Recovery Center of Louisiana, LLC, and certain
affiliates of such parties.

        While AAC has had ongoing financial difficulties, 2019 was a particularly difficult year.
Specifically, changes in liquidity had a material adverse effect on AAC’s assets, business, cash
flow, financial condition, prospects, and the results of operations despite AAC implementing cost-
savings initiatives, targeting to sell the company’s real estate, exploring potential recapitalization,
and obtaining additional financing.
                                                   20
ACTIVE 52312155v1
             Case 20-11648-JTD           Doc 524      Filed 09/01/20      Page 30 of 136




        In February 2019, AAC instituted actions to reduce bed count and staff ing in its Las Vegas,
Nevada market by consolidating its Solutions Recovery treatment operations into those of its
Desert Hope operations. Earlier in 2018, AAC consolidated its Clinical Services of Rhode Island
outpatient centers into AdCare’s Rhode Island outpatient operations. It also consolidated
diagnostic test operations, moving laboratory operations in Louisiana to Tennessee. During the
fourth quarter of 2018 and the first quarter of 2019, AAC also conducted reductions in force at its
corporate headquarters in Brentwood, Tennessee and at certain of its facilities. These expense
savings initiatives completed in the second half of 2018 and into the 1st quarter of 2019 reduced
operating expenses by over $30 million annually, but were not enough to sig nificantly improve
liquidity.

        To fund acquisition development and operational strategies, AAC entered into the
Prepetition Senior Lien Facility. AAC has historically relied on debt financing to partially fund
its acquisitions, de novo projects, facility expansions, and operations. AAC’s level of indebtedness
has made it more difficult for AAC to satisfy its obligations with respect to its indebtedness,
resulting in defaults on, and acceleration of, such indebtedness. In addition, ded icating a
substantial portion of its cash flows from operations to debt service obligations has reduced the
availability of such cash flows to fund working capital, capital expenditures, and other general
corporate requirements and to carry out other aspects of its business.

        To continue operations and be able to discharge its liabilities and commitments in the
normal course of business, AAC decided it must do some or all of the following: (i) improve
operating results by increasing census while maintaining efficiency regarding operating expenses
through the cost savings initiatives implemented in late 2018 and early 2019; (ii) execute strategic
alternatives related to its real-estate portfolio which could include further sale leasebacks of
individual facilities or larger portions of the real estate portfolio; (iii) sell additional non -core or
non-essential assets; and/or (iv) obtain additional financing.

        Prior to the Petition Date, AAC explored several of these alternatives, including engaging
Cantor Fitzgerald & Co. (“CF&CO”) as investment banker to assist with potential strategic
corporate transactions involving the company’s real estate and other assets, as well as potential
recapitalization. A more detailed description of the marketing and sale process led by CF&CO is
set forth in Article VI.I of this Disclosure Statement. While CF&CO explored options to improve
the balance sheet, particularly through monetizing the value of AAC’s real estate portfolio and
evaluating assets for a recapitalization, its efforts did not result in a transaction prior to the Petition
Date.

        AAC is currently unable to pay all of its debts that matured, including t he Prepetition Senior
Lien Facility in the aggregate principal amount of $47,000,000, and the Forbearance Agreements
have expired. As a result, the Prepetition Loan Obligations are immediately due and payable.
AAC’s current level of cash on hand, internally generated cash flows, and borrowings under its
credit facilities are not sufficient to fund its working capital needs, debt service and repayment
obligations, and capital expenditures, especially without anticipated proceeds from sale-leaseback
transactions and limited access to debt and capital markets due to its leverage capacity, existing
debt agreements, credit ratings, and general market conditions.

                                                    21
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 31 of 136




        B.      COVID-19

        Beginning in late March and early April of 2020, AAC faced challenges due to the
Coronavirus Disease 2019 pandemic (“COVID-19”). AAC experienced a decline in inpatient
admissions and outpatient visits as a result of the virus and the measures undertaken to combat the
virus, including mandatory stay-at-home orders, restrictions on travel, supply chain disruptions,
and preventive measures to ensure that facilities remain coronavirus-free. These measures have
had and will continue to have an adverse impact on the Debtors. While cash on hand became more
limited and access to credit became more restricted, AAC’s costs rose during this difficult
economic time. AAC expended significant time and resources in ens uring that its facilities
remained open and had sufficient staff and personal protective equipment to keep their patients
and staff safe during the pandemic.

        After carefully and deliberately evaluating the economic needs of its operations, AAC filed
a borrower application under the Paycheck Protection Program (“PPP”), established by section
1102 of the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”). On May 2,
2020, AAC received funds in the amount of $10 million from Bank of America , N.A. AAC
believes it has used these funds in strict compliance with PPP and CARES Act requirements and
regulations prior to the filing of these Chapter 11 Cases. AAC intends to submit a loan forgiveness
application for the full principal amount of the loan guaranteed under the PPP. Despite this
financial assistance, AAC continued to experience financial distress related to COVID-19 and
liquidity issues. In May, admissions started to improve, but had not yet returned to pre-COVID-
19 levels. Notwithstanding these challenges, the ongoing pandemic has presented AAC with
opportunities related to conducting COVID-19 testing at its clinical laboratory facility for patients,
staff and third parties and the expansion of outpatient services through the use of t elemedicine
offerings.

        Despite the financial and operational disruptions caused by the COVID -19 crisis, AAC
remains open and committed to individuals struggling with addiction, while enforcing safety and
prevention as a top priority in regards to COVID-19. AAC is strictly following recommendations
from the U.S. Centers for Disease Control and Prevention (“CDC”) and the World Health
Organization (“WHO”) and taking as many proactive actions as possible to protect current and
future patients and staff. In late February, AAC’s executive team began meeting almost daily to
address the emerging concerns surrounding COVID-19. In early March, corporate management
and local facility management developed and implemented a comprehensive plan focusing on key
areas of concern and creating the Health Protection Committee (“HPC”).

        HPCs have been established at each facility to ensure hygiene and safety measures are
consistently in place and followed. Working with the Chief Executive Officer, the Chief Medical
Officer, the Chief Compliance Officer, the Vice President of Human Capital and the Chief of Staff,
the HPC at each facility ensures a coordinated company response to any concerns and establishes
protective protocols in the event that the health of patients or employe es may have been
compromised as a result of COVID-19. The HPC works directly and daily with the Chief Medical
Officer to implement and enforce the most up-to-date procedures as the coronavirus information
evolves. AAC is maintaining its already stringent daily cleaning and disinfecting processes along
with regularly scheduled deep cleanings and closely monitoring the health of patients and staff.
As a condition to admission, all incoming patients must be tested for COVID-19 and quarantined
                                                 22
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 32 of 136




from the facility population, which restricts bed availability. AAC is constantly following and
updating procedures and policies as necessary in line with guidance from the CDC and the WHO,
as well as federal and state authorities. AAC remains committed to supporting its patients and
their families who suffer from and are directly impacted by the disease of addiction during this
unprecedented global health crisis.

         AAC has remained open during the pandemic to assist in saving the lives of some of the
most vulnerable people in need of care at a time when anxiety, depression, social isolation and
uncertainty exasperates their disease of addiction. James Carroll, the Director of the White House
Office of National Drug Control Policy, recognized in a letter to healthcare professionals that
treatment of substance use disorders, or “SUDs”, is an “essential medical service” and “[d]uring
these uncertain times, it is important that the Debtors not lose sight of the very vulnerable
population suffering from SUDs.” His letter emphasized that these crucial services must remain
available during the pandemic and that personal protective equipment is needed for those caring
for these patients. Accordingly, during the COVID-19 crisis, AAC continues to focus on providing
critical treatment services for a disease that claims thousands of lives every year while making
every effort to keep patients and employees safe and protected with preventative measures. AAC
believes that addiction care must be reinforced, instead of postponed, to avoid complications of
both substance use disorders and COVID-19 and to prevent the transmission of the coronavirus.

        C.      The Restructuring Support Agreement and DIP Financing

        Prior to commencing these Chapter 11 Cases, the Debtors entered into the Restructuring
Support Agreement with Prepetition Lenders holding in excess of 89% in aggregate principal
amount of the loans outstanding under Prepetition Senior Lien Facility and 60% of loans
outstanding under the Prepetition Junior Lien Facility (collectively, the “ Initial Consenting
Lenders”). The Restructuring Support Agreement and the plan term sheet attached thereto set
forth the material terms for a consensual restructuring, including (a) a post -petition continuation
of the pre-petition marketing process for the sale of the Debtors’ assets, (b) certain case milestones
that must be satisfied, including seeking and obtaining approval of the DIP Facility (described
below), seeking and obtaining approval of bidding procedures, filing a pre-negotiated plan of
reorganization and disclosure statement in connection therewith, and obtaining approval of the
disclosure statement and order confirming the Plan, (c) proposed treatment for holders of claims
and interests, and (d) mutual releases and exculpation by and among the parties thereto.

        In addition, certain Prepetition Lenders signed a commitment letter pursuant to which they
agreed to provide debtor in possession financing in an aggregate amount of up to $62.5 million
(the “DIP Facility”), including up to $25.5 million on an interim basis, subject to the terms thereof.
The transactions contemplated by the Restructuring Support Agreement, including the DIP Facility
more fully described herein, are designed to allow the Debtors to emerge from these cases as a
viable enterprise going forward.
       The Debtors filed the Chapter 11 Cases to restructure their businesses, enhance liquidity,
and bolster their long-term growth prospects and operating performance. The Plan represents the
successful culmination of months of restructuring efforts and numerous compromises and gives
the Debtors the best opportunity to withstand current adverse market conditions, generate


                                                 23
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524      Filed 09/01/20     Page 33 of 136




sufficient liquidity to fund their operations, and maximize value for the benefit of their
stakeholders.
VI.     MATERIAL DEVELOPMENTS AND ANTICIPATED EVENTS OF THE
        CHAPTER 11 CASES

        A.      Expected Timetable of the Chapter 11 Cases

      The Debtors expect the Chapter 11 Cases to proceed quickly. The Restructuring Support
Agreement and the DIP Facility include the following milestones:

               file the Disclosure Statement, the motion for approval of the Disclosure Statement,
                the form of ballots, and the Solicitation procedures, and the Plan with the
                Bankruptcy Court as soon as reasonably practicable after the Petition Date (but in
                no event later than thirty-five (35) calendar days after the Petition Date or July 25,
                2020);

               obtain entry of the Final DIP Order by the Bankruptcy Court as soon as reasonably
                practicable after the Petition Date (but in no event later than thirty-five (35)
                calendar days after the Petition Date or July 25, 2020);

               obtain entry of the Bidding Procedures Order by the Bankruptcy Court as soon as
                reasonably practicable after the Petition Date (but in no event later than forty (40)
                calendar days after the Petition Date or July 30, 2020);

               obtain entry of the Disclosure Statement Order by the Bankruptcy Court as soon as
                reasonably practicable after the Petition Date (but in no event later than August 31,
                2020);

               obtain entry of the Confirmation Order by the Bankruptcy Court as soon as
                reasonably practicable after the Petition Date (but in no event later than October
                14, 2020); and

               cause the Effective Date to occur as soon as reasonably practicable after the Petition
                Date (but in no event later than October 29, 2020 (the “Outside Date”).

        No assurances can be made, however, that the Bankruptcy Court will enter various orders
on the timetable contemplated by these milestones.

        B.      First Day Relief

        On the Petition Date, along with their voluntary petitions for relief under chapter 11 of the
Bankruptcy Code (the “Petitions”), the Debtors filed several motions (the “First Day Motions”)
designed to facilitate the administration of the Chapter 11 Cases and minimize disruption to the
Debtors’ operations, by, among other things, easing the strain on the Debtors’ relationships with
employees, vendors, and customers following the commencement of the Chapter 11 Cases. A
brief description of each of the First Day Motions and the evidence in support thereof is set forth
in the Declaration of J. Jette Campbell, Chief Restructuring Officer, in Support of Chapter 11
                                                  24
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524      Filed 09/01/20      Page 34 of 136




Petitions and First Day Pleadings and the Supplemental Declaration of J. Jette Campbell, Chief
Restructuring Officer, in Support of Chapter 11 Petitions and First Day Pleadings (collectively,
the “First Day Declaration”), both of which are incorporated herein by reference [Docket Nos. 3
and 44]. The relief granted as part of the First Day Motions included:

            Joint administration of the Chapter 11 Cases;

            Retention of Donlin, Recano & Company as the claims and noticing agent;

            Waiver of the requirement to file an equity security holders list, authorization to file a
             consolidated list of creditors and consolidated top 30 list of creditors and authorization
             to redact certain personally identifiable information from such lists;

            Approval of procedures to maintain and protect confidential client information;

            Authorization to continue using bank accounts, the Debtors’ cash management system
             and business forms;

            Authorization to pay certain prepetition employee payroll, salary and benefits;

            Authorization to maintain, administer and modify the client refund program and the
             Brand Promise Program;

            An order prohibiting utility providers from altering, refusing or discontinuing services
             and deeming such utility providers adequately protected;

            Authorization to maintain and continue paying for insurance; and

            Authorization to pay certain taxes and regulatory fees.
        Certain of the First Day Motions were granted on an interim basis on June 23, 2020 and
subsequently on a final basis on July 15, 2020. The First Day Motions, the First Day Declaration,
and all orders for relief granted in the Chapter 11 Cases, can be viewed free of charge at :
https://www.donlinrecano.com/Clients/aac/Index.
        C.      Other Procedural and Administrative Motions

       The Debtors also filed several other motions after the Petition Date to further facilitate the
smooth and efficient administration of the Chapter 11 Cases and reduce the administrative burdens
associated therewith, including:
        Ordinary Course Professionals Motion. On June 25, 2020, the Debtors filed the Motion
of Debtors for Entry of an Order Authorizing the Retention and Compensation of Certain
Professionals Utilized in the Ordinary Course of Business [Docket No. 77] (the “OCP Motion”).
The OCP Motion seeks to establish procedures for the retention and compensation of certain
professionals utilized by the Debtors in the ordinary course operation of their businesses. On July
15, 2020, the Bankruptcy Court entered an order granting the OCP Motion [Docket No. 158].
        Retention Applications. On June 25, 2020, the Debtors filed a number of applications
seeking to retain certain professionals postpetition pursuant to sections 327 and 328 of the
                                                  25
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524      Filed 09/01/20      Page 35 of 136




Bankruptcy Code, including Greenberg Traurig, LLP, as legal counsel; CF&CO as investment
banker; Donlin, Recano & Company, Inc., as administrator advisor; Chipman Brow Cicero &
Cole, LLP, as conflicts counsel; and Carl Marks Advisory Group LLC , as Chief Restructuring
Officer (collectively, the “Retention Applications”). On July 15, 2020, the Bankruptcy Court
approved each of the Retention Applications. The foregoing professionals are, in part, responsible
for the administration of the Chapter 11 Cases. The postpetition compensation of all of the
Debtors’ professionals retained pursuant to sections 327 and 328 of the Bankruptcy Code is subject
to the approval of the Bankruptcy Court.
         On July 31, 2020, the Debtors filed an application seeking to retain Deloitte Tax LLP as
a tax services provider [Docket No. 355], and on August 27, 2020, the Bankruptcy Court entered
an order approving the application [Docket No. 454].
        D.      Approval of the DIP Facility

        Based on the Debtors’ need for debtor in possession financing and their conclusion that the
DIP Facility represents the best terms available, on the Petition Date, the Debtors filed a motion
seeking authorization to enter into the DIP Facility on an interim and final basis (the “DIP Facility
Motion”). On June 23, 2020, the Bankruptcy Court entered an order approving the DIP Facility
Motion on an interim basis [Docket No. 65] (the “Interim DIP Order”), and on July 15, 2020, the
Bankruptcy Court entered an order approving the DIP Facility Motion on a final basis [Docket No.
159] (the “Final DIP Order”).

        Under the terms of the DIP Facility Loan A greement, the $62.5 million DIP Facility is
available in multiple draws. Upon the Bankruptcy Court’s entry of the Interim DIP Order, the
Debtors were able to access $22.5 million under the DIP Facility. Upon the Bankruptcy Court’s
entry of the Final DIP Order, the Debtors had authority to access the entire $62.5 million DIP
Facility subject to a number of conditions precedent.

        E.      Schedules and Statements

        On June 25, 2020, the Debtors filed a motion seeking entry of an order that would extend
the deadline to file their schedules of assets and liabilities, schedules of executory contracts, and
unexpired leases, and statements (collectively, the “Schedules and Statements”) [Docket No. 76].
On July 15, 2020, the Bankruptcy Court extended the deadline for the Debtors to file the Schedules
and Statements to August 3, 2020 [Docket No. 155]. The Debtors filed their Schedules and
Statements with the Bankruptcy Court on July 27, 2020 and July 28, 2020. If you would like to
view     the     Schedules      and     Statements,     you       may     do    so    by     visi ting:
https://www.donlinrecano.com/Clients/aac/Index.

        F.      Trading Orders

        The Debtors net operating loss (“NOL”) carryforwards and certain other tax attributes are
valuable assets of its estates because a corporation can carry forward NOLs to offset future income
or tax, thereby reducing its tax liability in future periods. The Debtors estimate that they have
incurred consolidated NOLs of approximately $87 million as of the Petition Date and are expecting
that the consolidated NOLs will increase to approximately $190 million as of December 31, 2020.
The Debtors believe that, even after taking account any cancellation of debt impact of the Plan on
                                                  26
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 36 of 136




the Debtors, the NOL carryforwards and other tax attributes may result in significant future tax
savings, which would enhance the Debtors’ cash position and significantly contribute to its
successful reorganization.

        The ability of the Debtors to use their NOL carryforwards and other tax attributes is subject
to certain statutory limitations. In particular, section 382 (in conjunction with section 383) of the
Internal Revenue Code limits a corporation’s ability to use its NOLs and certain other tax attributes
after the corporation undergoes a specified change of ownership. However, even to the extent an
ownership change of the Debtors is expected to occur upon implementation of the Plan, the
limitations imposed by section 382 of the Internal Revenue Code upon a change of ownership
pursuant to a confirmed plan are significantly more relaxed than those otherwise applicable,
particularly under section 382(l)(5) of the Internal Revenue Code, if the plan involves the retention
or receipt of at least half of the stock of the reorganized debtor by its stockholders or qua lified
creditors.

        Accordingly, in order to protect the value of its NOL carryforwards and other tax attributes,
the Debtors filed a motion requesting an order of the Bankruptcy Court granting authorization to
protect and preserve valuable NOLs in excess of the “section 382 limitation,” as defined in 26
U.S.C. § 382(a) by establishing notice and waiting periods to govern transfers of equity interests
in AAC (the “Trading Motion”) [Docket No. 15]. On June 23, 2020, the Bankruptcy Court granted
the Trading Motion on an interim basis [Docket No. 60], and on July 15, 2020, the Bankruptcy
Court granted the Trading Motion on a final basis [Docket No. 150].

        G.      Appointment of Creditors’ Committee

        On July 2, 2020 , the U.S. Trustee appointed the Creditors’ Committee [Docket No. 96]. The
Creditors’ Committee is currently composed of the following members: Collect RX LLC;
Beckman Coulter, Inc.; and Willie Meadows. On August 20, 2020, the Bankruptcy Court
authorized the retention of Cole Schotz P.C. as legal counsel to the Creditors’ Committee [Docket
No. 425]. On August 20, 2020, the Bankruptcy approved the Creditors’ Committee’s application
to retain and employ Province, Inc. as its financial advisor [Docket No. 425].
        H.      Appointment of Patient Care Ombudsman

        On July 10, 2020, the Bankruptcy Court entered an order directing the appointment of a
patient care ombudsman (“PCO”) [Docket No. 119]. On July 14, 2020, the U.S. Trustee filed a
notice appointing David N. Crapo as the PCO [Docket No. 123].

        Since his appointment, the PCO has filed a series of applications seeking court
authorization to retain and employ certain professionals to help fulfill his duties as PCO [Docket
Nos. 383, 415, and 416]. On August 28, 2020, the Court authorized the employment of Susan N.
Goodman to inspect the Debtors’ residential treatment centers in Nevada and California on behalf
of the PCO [Docket No. 469]. On that same day, the Court also authorized the employment of
Gibbons P.C. as counsel for the PCO [Docket No. 468]. On September 2, 2020, the Court will
hold a hearing on the PCO’s last remaining employment application, which seeks to employ Marie
Kraemmer, LMHC to inspect the Debtors’ residential treatment facilities in Florida on behalf of
the PCO [Docket No. 416].

                                                 27
ACTIVE 52312155v1
              Case 20-11648-JTD              Doc 524       Filed 09/01/20        Page 37 of 136




       On August 13, 2020, the Bankruptcy Court approved a stipulation between the Debtors and
the PCO that allows the PCO to have limited access to confidential patient information [Docket
No. 396]. The limited access allows the PCO to fulfill his duties under section 333 of the
Bankruptcy Code and ensure that the patients for certain Debtors continue to receive quality patient
care during the bankruptcy proceedings.

         I.       Bidding Procedures Motion

        On July 3, 2020, the Debtors filed a motion seeking, among other things, court approval of
their Bidding Procedures (the “Bidding Procedures Motion”). On July 23, 2020, the Bankruptcy
Court entered an order [Docket No. 188] approving the Bidding Procedures Motion, including the
Bidding Procedures.
                                                                    22
                  1.       Overview of Bidding Procedures

        As noted herein and in the Bidding Procedures Motion, prior to the Petition Date, the
Debtors and the Initial Consenting Lenders entered into the Restructuring Support Agreement.
The Restructuring Support Agreement includes, among other things, a plan term sheet that sets
forth the principal terms of the Plan, pursuant to which the Debtors’ secured lenders will receive a
combination of cash, new debt instruments and/or equity in the reorganized Debtors, among other
things, in exchange for their secured claims (or, the Reorganization Transaction), subject to a
bidding process for higher or otherwise better bids. At the same time that the Debtors are seeking
confirmation of the Plan, the Debtors are to continue marketing their assets and business for higher
or otherwise better bids than the Reorganization Transaction and if one or more higher or otherwise
better bids are received and an auction occurs, the winning bid at that auction will be effectuated
pursuant to the Plan.

        Bids may take the form of a bid to purchase substantially all of the Debtors’ assets or a bid
for only certain of the Debtors’ assets, in each case to be effectuated through the Plan. Bids also
may take the form of a plan sponsorship proposal whereby the plan sponsor receives the newly
issued equity in the reorganized Debtors and the secured creditors receive a distribution of equity
or debt consideration in addition to cash (a “Plan Sponsorship Proposal”). The Plan, as filed,
contains a toggle feature that will provide for the sale of substantially all of the Debtors’ assets (or,
an Entire Company Asset Sale) or alternatively, the distribution of newly issued debt and equity
to the prepetition lenders (of, the Reorganization Transaction). A Partial Sale(s) may occur in
either instance. If the winning bid at the auction conducted pursuant to the Bid ding Procedures
Motion is a Plan Sponsorship Proposal, the Debtors will file an amended chapter 11 plan to
incorporate such Plan Sponsorship Proposal upon the conclusion of such auction.

       The Bidding Procedures are the mechanism by which the Debtors will market their assets
and subject the Plan to a market test in an effort to ensure that the value of their estates is
maximized in these chapter 11 cases (the “Chapter 11 Cases”). The Bidding Procedures provide
ample time for potential bidders to conduct the necessary due diligence and submit bids, and they
22
   This summary of the Bidding Procedures is qualified in its entiret y by the actual terms of the Bid Procedures. To
the extent that there is any conflict between this summary and the Bidding Procedures, the latter shall control.
Capitalized terms not otherwise defined herein shall have the meanings set forth in the Bidding Procedures.

                                                         28
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 38 of 136




are flexible in allowing bidders to submit various forms of bids. If bids are received for an Entire
Company Asset Sale or a Plan Sponsorship Proposal that do not pay the Senior Lender Claims and
the Junior Lender Claims in cash in full, the Debtors must obtain the consent of the Requisite
Consenting Lenders to proceed with such bids instead of the Reorganization Transaction.
Likewise, if a bid for a Partial Asset Sale is received, the Debtors must obtain the consent of the
Requisite Consenting Lenders to proceed with such Partial Asset Sale.

                2.     Prepetition Marketing Process

         Prior to the Petition Date, CF&CO was retained as the Debtors’ investment banker to
explore financing and strategic alternatives for the Debtors, including a sale of all or part of the
Debtors’ business, third-party equity and financing alternatives, a “standalone” restructuring of the
Debtors’ balance sheet, and various permutations of the foregoing. The Debtors considered both
in- and out-of-court alternatives. As part of this process, CF&CO developed a list of parties whom
they believed may be interested in, and whom the Debtors reasonably believed would have the
financial resources to consummate, an Entire Company Asset Sale or a Partial Asset Sale, which
list included both strategic investors and financial investors.

        In January 2019, CF&CO commenced the process of finding new financing for the
Debtors. It discussed the opportunity with a total of thirteen (13) healthcare debt investors. As
part of this process, thirteen (13) confidentiality agreements were executed, thirteen (13) investor
packages were distributed, nine (9) management calls were held, and five (5) term sheets were
received. This process did not result in a transaction.

        In March 2019, CF&CO commenced a new process focused on strategic alternatives.
CF&CO discussed the opportunity with a total of fifty-two (52) parties, including thirty-nine (39)
private equity sponsors and thirteen (13) strategic buyers. As a result of this process, thirty-three
(33) confidentiality agreements were executed, fifteen (15) bidders received confidential
information presentations and virtual dataroom access, eighteen (18) management calls and/or
meetings were held, and fourteen (14) follow-up diligence calls were conducted with CF&CO and
management. There were four (4) subsequent indications of interest received -- three (3)
indications of interest were for real estate sales and/or sale-leasebacks and one (1) indication of
interest was for a financial restructuring. This process did not result in a transaction.

        As part of the most recent marketing process commenced in March 2020, CF&CO
contacted fifty-five (55) parties with respect to a possible Transaction, including thirteen (13)
potential strategic buyers and forty-two (42) sponsors. Of the fifty-five (55) potential bidders with
whom the Debtors and CF&CO have had contact, fourteen (14) have executed confidentiality
agreements and were provided access to a virtual data room containing confidential information
regarding the Debtors, their business, and their assets. Three (3) potential bidders submitted
proposals, but no final agreements were reached with these bidders.

       CF&CO is continuing this marketing process for a possible Transaction and is in the
process of reaching out to those persons previously contacted regarding a possible Transaction in
addition to others who maybe be interested in a possible Transaction.



                                                 29
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524     Filed 09/01/20      Page 39 of 136




                3.     Key Dates and Deadlines

        The key dates and deadlines in the Bidding Procedures are as follows:

         Deadline                                     Description

         August 14, 2020 at 5:00 p.m.                 Deadline for potential Bidders to submit
         (Eastern time)                               non-binding indications of interest
         September 11, 2020 at 5:00 p.m.              (1) Bid Deadline
         (Eastern time)                               (2) Deadline for Debtors to designate one
                                                      or more non-competing Bidders as a
                                                      “stalking horse bidder” and grant certain
                                                      bid protections to the stalking horse bidder
         September 16, 2020                           Deadline for the Consenting Lenders to
                                                      elect whether to proceed with one or more
                                                      Qualified Bid(s) or with the Plan
         September 18, 2020                           Deadline for holders of DIP Facility
                                                      Claims, Senior Lender Claims and Junior
                                                      Lender Claims to make a Bid that is in the
                                                      form of a credit bid
         September 19, 2020                           Deadline for Debtors to designate
                                                      Qualified Bidders and Baseline Bid(s)
         September 21, 2020 at 10:00 a.m.             (1) Auction (if any)
         (Eastern time)                               (2) Deadline for Debtors to return Deposits
                                                      of Bidders who are not Qualified Bidders
         September 22, 2020                           Deadline for Debtors to file notice of
                                                      Winning Bidder(s) and Backup Bidder(s)
         September 24, 2020                           Deadline for the Debtors to file the
                                                      Sale Process Documents of the Winning
                                                      Bidder(s) with the Plan supplement

        J.      Claim Bar Dates

       On July 10, 2020, the Debtors filed a motion seeking to set deadlines for filing proofs of
claim [Docket No. 120]. On July 23, 2020, the Bankruptcy Court entered an order approving the
motion [Docket No. 189] and set the following bar dates:

        General Bar Date: August 26, 2020 at 5:00 p.m. (prevailing Eastern Time). The General
Bar Date is the last date for persons or entities, other than governmental units , to file Proofs of
Claim against the Debtors on account of claims (as defined in section 101(5) of the Bankruptcy
Code) arising, or deemed to have arisen, prior to the Petition Date, including, for the avoidance of
doubt, claims arising under section 503(b)(9) of the Bankruptcy Code.

      Government Bar Date: December 17, 2020 at 5:00 p.m. (prevailing Eastern Time). The
Government Bar Date is the last date for governmental units, as defined in section 101(27) of the
Bankruptcy Code, to file Proofs of Claim against the Debtors on account of claims arising, or
deemed to have arisen, prior to the Petition Date.
                                                30
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 40 of 136




        K.      Key Employee Retention Plan

        On July 21, 2020, the Debtors filed under seal a motion seeking court approval to
implement a key employee retention plan (the “KERP”) [Docket No. 175]. Under the KERP, the
Debtors identified certain individuals critical to the Debtors’ operations (the “KERP Participants”).
To ensure that the Debtors retain the KERP Participants during the Chapter 11 Cases, each KERP
Participant has the opportunity to receive a payment contingent on the Plan going effective. The
aggregate payments under the KERP equal $1,239,130.80. The KERP Participants are non-
insiders and non-senior management employees and will receive varying percentages of the
$1,239,130.80 based on (a) the degree to which the KERP Participant is critical to maintaining the
Debtors’ successful operations and pursuing the Debtors’ restructuring process, (b) the risk that
such KERP Participant would voluntarily leave the Debtors or be recruited by a competitor of the
Debtors, (c) the difficulty of replacing the KERP Participant, and (d) the KERP Participant’s
possession of irreplaceable proprietary knowledge. A hearing to consider the KERP is scheduled
for August 31, 2020.

        L.     341 Meeting

       On July 28, 2020, the U.S. Trustee conducted a telephonic meeting of creditors (the “341
Meeting”) at which the U.S. Trustee and creditors had the opportunity to question the Debtors
under oath concerning the Debtors’ acts, conduct, property, and the administration of the Chapter
11 Cases. The 341 Meeting was continued to, and concluded on, August 12, 2020.

        M.      Litigation Matters

       In the ordinary course of business, the Debtors are parties to certain lawsuits, legal
proceedings, collection proceedings, and claims arising out of their business operations. The
Debtors cannot predict with certainty the outcome of these lawsuits, legal proceedings, and claims.

        With certain exceptions, the filing of the Chapter 11 Cases operates as a stay with respect
to the commencement or continuation of litigation against the Debtors that was or could have been
commenced before the commencement of the Chapter 11 Cases. In addition, the Debtors’ liability
with respect to litigation stayed by the commencement of the Chapter 11 Cases generally is subject
to treatment under the plan, release, and discharge upon the Effective Date of the Plan, with certain
exceptions.

                1.     Prepetition Litigation and Related Matters

        Personal Injury Claims. To date, approximately thirty-six personal injury claims are
pending against the Debtors. The Debtors believe these claims, including related defense costs,
are covered by insurance, which insurance generally has a $150,000 per claim self-insured
retention (“SIR”) amount.

        Reyna Litigation. Prior to the Petition Date, Ana Reyna, Brandi Reyna, Brandon Reyna,
and the Estate of Shaun Reyna (collectively, the “Reyna Plaintiffs”) each filed a civil action against
certain Debtors and certain Affiliates in the California Superior Court for the County of Riverside
for alleged wrongful death claims of the Reyna Plaintiff’s husband/father Shun Reyna while under
the care of the Debtors. Shortly after, the cases were consolidated into one case styled Ana Reyna
                                                  31
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 41 of 136




et al. v. ABTTC, Inc., d/b/a Better Tomorrow Treatment Center, et al., (the “Reyna Litigation”). In
January of 2020, the parties settled the Reyna Litigation.

         RSG Litigation. On June 30, 2017, Jeffrey Smith, Abhilash Patel, and certain of their
affiliates (the “RSG Plaintiffs”) filed a lawsuit in the Superior Court of the State of California in
Los Angeles County against certain Debtors and certain of the Debtors’ current and former officers
(collectively, the “RSG Defendants”) styled Jeffrey Smith, Abhilash Patel, et al. v. American
Addiction Centers, Inc., et al. (the “RSG Litigation”). The RSG Plaintiffs are former owners of
Referral Solutions Group, LLC (“RSG”) and Taj Media, LLC, which were acquired by the Debto rs
in July 2015. The RSG Plaintiffs generally alleged that, in connection with the Debtors’
acquisition, the RSG Defendants violated California securities laws and further allege intentional
misrepresentation, common law fraud, equitable fraud, promissory estoppel, civil conspiracy to
conceal an investigation and civil conspiracy to conceal profitability. On November 21, 2018, the
Debtors entered into a settlement (the “RSG Settlement”) with the RSG Plaintiffs providing, in
part, that the Debtors pay the RSG Plaintiffs an aggregate amount of $8 million. In addition, in
connection with the RSG Settlement, the Debtors agreed to release one of RSG’s former officers
and directors, Jerrod N. Menz (“Menz”), from his agreement to contribute 300,000 shares as part
of a settlement reached in connection with a previously settled securities class action lawsuit and,
in exchange for such agreement, Menz released his claim for indemnification arising out of the
RSG Litigation.

        SEC Matter. In March 2018, the Debtors provided general accounting, finance and
governance documentation in response to a subpoena received from the U.S. Securities and
Exchange Commission (the “SEC”). Following this initial document request, the SEC requested
additional information pertaining to the Debtors’ accounting for partial payments from insurance
companies, where the Debtors are continuing to pursue additional collections for the estimated
balance. Beginning in the third quarter of 2018, the audit committee of the Debtors (the “ Audit
Committee”) initiated a review of the Debtors’ accounting for these partial payments. In
connection with this review, the Audit Committee determined that the Debtors’ change in estimate
of the collectability of accounts receivable relating to partial paym ents was appropriate. The
SEC’s investigation remains ongoing, and the Debtors continue to fully cooperate on this matter,
including providing the SEC with information regarding the restatements of historical financial
reports contained in the Debtors’ most recent Annual Report. The SEC’s investigation is neither
an allegation of wrongdoing nor a finding that any violation of law has occurred. At this time, the
Debtors cannot predict the final outcome of this matter or what impact it might have on the
Debtors’ consolidated financial position, results of operations or cash flows.

        Shareholder Litigation. On May 16, 2019, an alleged shareholder (“Caudle”) filed a
purported class action in the United States District Court for the Middle District of Tennessee
against certain Debtors and certain of their current and former officers (the “Caudle Defendants”)
styled Caudle v. AAC Holdings, Inc., et al. (the “Caudle Litigation”). On November 4, 2019,
Caudle filed an amended complaint on behalf of a putative class of shareholders who purchased
equity interests in AAC between March 8, 2017 and April 15, 2019. Caudle generally alleges that
the Caudle Defendants violated Sections 10(b) and/or 20(a) of the Securities Exchange Act of 1934
and Rule 10b-5 promulgated thereunder by making allegedly misleading statements relating to the
Debtors’ marketing practices and with respect to financial statements reported by the Debtors for

                                                 32
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 42 of 136




periods between 2016 and 2018, which statements were restated in the Debtors’ Annual Report on
Form 10-K for the year ended December 31, 2018.

        In the Caudle Litigation, Lead Plaintiff Indiana Public Retirement System alleges that
AAC, Cartwright, McWilliams, and Manz violated Sections 10(b) and 20(a) of the Securities
Exchange Act of 1934 by engaging in a fraudulent scheme and by materially misle ading AAC’s
investors. Lead Plaintiff alleges that AAC, Cartwright, McWilliams, and Manz misled investors
by touting AAC’s “best-in-class sales and marketing engine” and its “marketing knowledge and
infrastructure” giving it a “significant competitive advantage,” when in fact it was engaged in a
deceptive patient recruiting scheme that ultimately decimated its business when AAC was barred
from advertising on Google, denied renewed membership in a prominent addiction treatment
professional society, and forced to defend its conduct before Congress. Lead Plaintiff alleges that
AAC, Cartwright, McWilliams, and Manz also misled investors by fraudulently inflating AAC’s
financial results, failing to timely reserve for or write off impaired receivables, causing i t to
overstate net income and understate net losses by tens of millions of dollars. Lead Plaintiff alleges
that the truth began to be revealed on November 6, 2018, when defendants disclosed that AAC
had missed its revenue and earnings targets and lowered guidance for the rest of fiscal 2018, due
to defendants’ inability to continue their marketing and accounting schemes. Then, on April 15,
2019, AAC filed its annual report on Form 10-K for fiscal 2018, revealing AAC was restating its
historical financial statements and had missed its already-lowered 4Q18 guidance. Lead Plaintiff
further alleges that AAC’s stock price collapsed more than 86% from its Class Period high, causing
investors tens of millions of dollars in losses, amid an exodus of senior execut ives and directors.
The Debtors and the defendants in the Caudle Litigation deny and are vigorously contesting the
Lead Plaintiff’s allegations for, among other reasons, those set forth in the defendants’ motion to
dismiss on file in the Caudle Litigation, which motion is currently pending.

        In two related matters, on August 16, 2019 and September 23, 2019, alleged shareholders
filed derivative actions on behalf of AAC in the United States District Court in the Middle District
of Tennessee, styled Cooper v. Cartwright, et al. and Pedernera v. Cartwright, et al., against
certain of the Debtors’ current and certain former members of their board of directors and senior
executive team, alleging that these individuals breached their fiduciary duties and engaged i n
mismanagement. The two cases have been consolidated and the consolidated action is stayed
pending a decision on the defendants’ pending motion to dismiss filed in the Caudle Litigation.
Similar to the Caudle Litigation, these shareholders allege that the Debtors’ directors and officers
made material misstatements in the Debtors’ financial reporting regarding the collectability of the
Debtors’ accounts receivable in order to inflate AAC’s share price. These shareholders also allege
that, while AAC’s share price was inflated, certain of the Debtors’ directors and officers sold
shares in AAC that they held in their individual capacities for at least $5 million. The Debtors and
the defendants in these two related matters deny and are vigorously contesting the allegations
stated above.

        Given the uncertainty of litigation and the preliminary stage of these cases, the Debtors
cannot estimate the reasonably possible loss or range of loss that may result from these actions.
The Debtors believe that the allegations are without merit. If the Plan is confirmed, the Debtors
and their creditors and shareholders will forever release any Claims and Causes of Action
(including any derivative claims brought on the Debtors’ behalf) against, among other non-Debtor
Released Parties, the Debtors’ current and former directors and officers who are defendants in
                                                 33
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 43 of 136




these shareholder litigation matters. These releases are fully described in Article X of the Plan. A
creditor may opt out of the Third-Party Release by voting to reject the Plan, or abstaining from
voting, and checking the appropriate box on its ballot by the October 1, 2020 voting deadline.

        The Committee asserts that it has not received satisfactory evidence that the company
undertook a fulsome and independent investigation into the merits of the allegations set forth in
the shareholder litigation as described above. The Committee further asserts that the allegations in
such shareholder litigation, if true, would give rise to potentially valuable claims and, potentially,
a source of recovery for Holders of Class 5 General Unsecured Claims. The Committee has served
discovery on the Debtors regarding the such shareholder litigation, and the Debtors will respond
to that discovery

        N.     Valuation Analysis

        As described above, the Debtors are presently engaged in a sale and marketing process in
accordance with the Bidding Procedures. The Debtors believe that the sale and marketing process
is the best method to value the business because it allows the market to determine the value. The
sale and marketing process is a comprehensive and arm’s length process with the goal of
identifying counterparties for a potential transaction. Accordingly, to ensure that the integrity of
the sale and marketing process is preserved and value is maximized, the expected recoveries for
Junior Lender Claims are not, at this time, being disclosed herein, and the Debtors are not filing a
valuation analysis. See 11 U.S.C. § 1125(b) (“The court may approve a disclosure statement
without a valuation of the debtor or an appraisal of the debtor’s assets.”); see also In re Keisler,
No. 08-34321, 2009 WL 1851413, at *5 (Bankr. E.D. Tenn. June 29, 2009) (“[V]aluation is not a
necessary component in the determination of whether a disclosure statement contains adequate
information.); In re Weiss-Wolf, Inc., 59 B.R. 653, 654 (Bankr. S.D.N.Y. 1986). Courts have
approved disclosure statements that conducted a valuation analysis through a comprehensive
market process. See e.g., In re GCX Limited, et al., Case No. 19-12031 (CSS) (Bankr. D. Del.
Dec. 4, 2019) [Docket No. 203]; In re Ditech Holding Corp., et al., Case No. 19-10412 (JLG)
(Bankr. S.D.N.Y. May 10, 2019) [Docket No. 544]; In re LBI Media, Inc., Case No. 18-12655
(CSS) (Bankr. D. Del. Jan. 22, 2019) [Docket No. 360]; In re Gastar Exploration Inc., Case No.
18-36057 (MI) (Bankr. S.D. Tex. Dec. 21, 2018) [Docket No. 282].

          The Debtors will file, with the Plan Supplement, the expected recoveries to creditors
under the Plan including the Junior Lender Claims. Further, if necessary, the Debtors will also
file, as part of the Plan Supplement, a valuation analysis.

VII.    THE PLAN

     THIS ARTICLE VII OF THIS DISCLOSURE STATEMENT IS INTENDED ONLY
TO PROVIDE A SUMMARY OF THE KEY TERMS, STRUCTURE, CLASSIFICATION,
TREATMENT, AND IMPLEMENTATION OF THE PLAN, AND IS QUALIFIED IN ITS
ENTIRETY BY REFERENCE TO THE ENTIRE PLAN AND EXHIBITS TO THE PLAN.
ALTHOUGH THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT
INCLUDE SUMMARIES OF THE PROVISIONS CONTAINED IN THE PLAN AND IN
DOCUMENTS REFERRED TO THEREIN, THIS DISCLOSURE STATEMENT DOES
NOT PURPORT TO BE A PRECISE OR COMPLETE STATEMENT OF ALL RELATED

                                                 34
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524    Filed 09/01/20    Page 44 of 136




TERMS AND PROVISIONS, AND SHOULD NOT BE RELIED ON FOR A
COMPREHENSIVE DISCUSSION OF THE PLAN. INSTEAD, REFERENCE IS MADE
TO THE PLAN AND ALL SUCH DOCUMENTS FOR THE FULL AND COMPLETE
STATEMENTS OF SUCH TERMS AND PROVISIONS. THE PLAN ITSELF
(INCLUDING ATTACHMENTS) AND THE PLAN SUPPLEMENT WILL CONTROL
THE TREATMENT OF HOLDERS OF CLAIMS AND INTERESTS UNDER THE PLAN.
TO THE EXTENT THERE ARE ANY INCONSISTENCIES BETWEEN THIS SECTION
V AND THE PLAN (INCLUDING ANY ATTACHMENTS TO THE PLAN) AND THE
PLAN SUPPLEMENT, THE PLAN AND PLAN SUPPLEMENT, AS APPLICABLE,
SHALL GOVERN.

        A.      Administrative Claims and Priority Tax Claims

                1.        Administrative Claims and Priority Tax Claims

         Except with respect to Administrative Claims that are Professional Fee Claims or DIP
Lender Claims, and except to the extent that an Administrative Claim has already been paid during
the Chapter 11 Cases or a Holder of an Allowed Administrative Claim and the applicable Debtor(s)
agree to less favorable treatment, each Holder of an Allowed Administrative Claim shall be paid
in full in Cash the unpaid portion of its Allowed Administrative Claim on the latest of: (a) the
Effective Date if such Administrative Claim is Allowed as of the Effective Date; (b) the date such
Administrative Claim is Allowed or as soon as reasonably practicable thereafter; and (c) the date
such Allowed Administrative Claim becomes due and payable, or as soon thereafter as is
reasonably practicable; provided that Allowed Administrative Claims that arise in the ordinary
course of the Debtors’ businesses shall be paid in the ordinary course of business in accordance
with the terms and subject to the conditions of any agreements and/or arrangements governing,
instruments evidencing, or other documents relating to such transactions (and no requests for
payment of such Administrative Claims must be Filed or served).

        Except as otherwise provided in Article II.A of the Plan and except with respect to
Administrative Claims that are Professional Fee Claims, requests for payment of Allowed
Administrative Claims must be Filed and served on the Post-Effective Date Debtors pursuant to
the procedures specified in the Confirmation Order and the notice of entry of the Confirmation
Order no later than the Administrative Claims Bar Date. Holders of Administrative Claims that
are required to, but do not, File and serve a request for payment of such Administrative Claims by
such date shall be forever barred, estopped, and enjoined from asserting such Administrative
Claims against the Debtors or their property and such Administrative Claims shall be deemed
discharged as of the Effective Date. Objections to such requests, if any, must be Filed and served
on the Post-Effective Date Debtors and the requesting party by the Claims Objection Bar Date.

                2.        Professional Compensation

                     i.         Final Fee Applications and Payment of Professional Fee
                                Claims

         All final requests for payment of Professional Fee Claims incurred during the period from
the Petition Date through the Confirmation Date shall be Filed no later than 45 days after the

                                                 35
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524     Filed 09/01/20      Page 45 of 136




Effective Date, provided, however, that nothing in the Plan alters the ability of an Ordinary Course
Professional to be paid, or the authority of the Debtors or Post -Effective Date Debtors to pay
Ordinary Course Professionals, pursuant to the terms of the OCP Order, and such Ordinary Course
Professionals shall not be required to file requests for payment of Professional Fee Claims unless
such requests are required under the OCP Order. All such final requests will be subject to approval
by the Bankruptcy Court after notice and a hearing in accordance with the procedures established
by the Bankruptcy Code, Bankruptcy Rules, and prior orders of the Bankruptcy Court, including
the Interim Compensation Order, and once approved by the Bankruptcy Court, shall be promptly
paid from the Professional Fee Escrow Account up to the full Allowed amount. To the extent that
funds held in the Professional Fee Escrow Account are insufficient to satisfy the amount of
Professional Fee Claims owing to the Professionals, such Professionals shall have an Allowed
Administrative Claim for any such deficiency, and the Post-Effective Date Debtors shall pay the
full unpaid amount of such Allowed Administrative Claim in Cash.

                     ii.      Professional Fee Escrow Account

        On the Effective Date, the Debtors or Post-Effective Date Debtors shall establish and fund
the Professional Fee Escrow Account with Cash equal to the Professional Fee Reserve Amount.
The Professional Fee Escrow Account shall be maintained in trust solely for the Allowed
Professional Fee Claims. Such funds shall not be considered property of the Estates. The amount
of Professional Fee Claims owing to the Professionals shall be paid in Cash to such Professionals
by the Post-Effective Date Debtors as soon as reasonably practicable after such Professional Fee
Claims are Allowed. When all Allowed amounts owing to the Professionals have been paid in full,
any amount remaining in the Professional Fee Escrow Account shall promptly be returned to the
Post-Effective Date Debtors without any further action or order of the Bankruptcy Court. If the
Professional Fee Escrow Account is insufficient to fund the full Allowed amounts of Professional
Fee Claims, the remaining unpaid Allowed Professional Fee Claims will be paid by the Post -
Effective Date Debtors.

                    iii.      Professional Fee Reserve Amount

        Professionals shall estimate their unpaid Professional Fee Claims, and shall deliver their
reasonable best estimate to the Debtors and the DIP Agent no later than five (5) days before the
Effective Date; provided, that such estimate shall not be deemed to limit the amount of th e fees
and expenses that are the subject of the Professional’s final request for payment of Professional
Fee Claims. If a Professional does not provide an estimate, the Debtors or Post -Effective Date
Debtors may estimate the unpaid and unbilled fees and expenses of such Professional.

                    iv.       Post-Effective Date Fees and Expenses

        Upon the Effective Date, the Post-Effective Date Debtors may employ and pay any
Professional in the ordinary course of business without any further notice to or action, order, or
approval of the Bankruptcy Court, and any requirement of such professionals to comply with
section 327 through 331 of the Bankruptcy Code in seeking retention or compensation for services
rendered on or after such date shall terminate.



                                                36
ACTIVE 52312155v1
               Case 20-11648-JTD       Doc 524      Filed 09/01/20     Page 46 of 136




                 3.     DIP Lender Claims

         As of the Effective Date, the DIP Lender Claims shall be Allowed and deemed to be
Allowed Claims in the full amount outstanding on the Effective Date under the DIP Credit
Agreement, the DIP Orders, and the other DIP Documents, including principal, interest, fees,
prepayment premiums and expenses and other amounts constituting obligations under the DIP
Credit Agreement. Except to the extent that a Holder of an Allowed DIP Lender Claim agrees, in
its sole and absolute discretion, to a less favorable treatment, the DIP Lender Claims and all Liens
securing such DIP Lender Claims shall be satisfied in full as follows:

        (i)      in the case of an Entire Company Asset Sale, the DIP Lender Claims will be Paid
                 in Full in Cash on the Effective Date from the Distributable Proceeds; or

        (ii)     in the case of a Reorganization Transaction, each Holder of an Allowed DIP Lender
                 Claim shall receive on the Effective Date its Pro Rata share of Partial Asset Sale
                 Proceeds, if any, up to the full amount of its Allowed DIP Lender Claim and, to the
                 extent there are any remaining amounts due and owing to the Holders of Allowed
                 DIP Lender Claims, such Holders shall:

                 a. be Paid in Full in Cash on the Effective Date from the Acceptable Exit Facility
                    to the extent there are sufficient proceeds or availability under th e Acceptable
                    Exit Facility; or

                 b. receive on the Effective Date their respective Pro Rata share of (A) the Exit
                    Term Loan Facility in the aggregate amount of the Converted DIP Facility
                    Amount, (B) Cash equal to the Remaining DIP Facility Amount, and (C) the
                    New Warrants DIP Lender Allocation.

        Subject to the Allowed DIP Lender Claims being Paid in Full or otherwise satisfied as
contemplated by Article II.C of the Plan, and all obligations under the DIP Credit Agreement being
satisfied, on the Effective Date, all Liens and security interests granted to secure such obligations
(other than those granted in connection with the payoff arrangements and cash collateralization of
such obligations) shall be automatically terminated and of no further force and effect without any
further notice to or action, order, or approval of the Bankruptcy Court or any other Entity.

                 4.     Priority Tax Claims

        Pursuant to section 1129(a)(9)(C) of the Bankruptcy Code, unless otherwise agreed by the
Holder of an Allowed Priority Tax Claim and the applicable Debtor or Post-Effective Date Debtor,
each Holder of an Allowed Priority Tax Claim will receive, at the option of the applicable Debtor
or Post-Effective Date Debtor, in full satisfaction of its Allowed Priority Tax Claim that is due and
payable on or before the Effective Date, either (i) Cash equal to the amount of such Allowed
Priority Tax Claim on the Effective Date or (ii) otherwise treated in accordance with the terms set
forth in section 1129(a)(9)(C) of the Bankruptcy Code. For the avo idance of doubt, Holders of
Allowed Priority Tax Claims will receive interest on such Allowed Priority Tax Claims after the
Effective Date in accordance with sections 511 and 1129(a)(9)(C) of the Bankruptcy Code.


                                                  37
ACTIVE 52312155v1
                Case 20-11648-JTD                Doc 524        Filed 09/01/20           Page 47 of 136




                   5.        Statutory Fees

        All fees due and payable pursuant to section 1930 of Title 28 of the United States Code
before the Effective Date shall be paid by the Debtors. On and after the Effective Date, the Post -
Effective Date Debtors shall pay any and all such fees when due and payable, and shall File with
the Bankruptcy Court quarterly reports in a form reasonably acceptable to the U.S. Trustee. Each
Post-Effective Date Debtor shall remain obligated to pay quarterly fees to the U.S. Trustee until
the earliest of the applicable Debtor’s Chapter 11 Case being closed, dismissed, or converted to a
case under chapter 7 of the Bankruptcy Code.

          B.       Classification and Treatment of Claims and Interests

                   1.        Summary of Classification

        The Plan constitutes a separate Plan proposed by each Debtor and the classifications set
forth in Classes 1 through 9 shall be deemed to apply to each Debtor. Each Class shall be deemed
to constitute separate Sub-Classes of Claims against and Interests in each of the Debtors, as
applicable, and each such Sub-Class shall vote as a single separate Class for, and the confirmation
requirements of section 1129 of the Bankruptcy Code must be satisfied separately with respect to,
each of the Debtors. All Claims and Interests are classified in the Classes set forth below in
accordance with section 1122 and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest is
classified in a particular Class only to the extent that the Claim or Interest qualifies within the
description of that Class and is classified in other Classes to the extent that any portion of the Claim
or Interest qualifies within the description of such other Classes. A Claim or an Interest is classified
in a particular Class for the purpose of receiving distributions under the Plan only to the extent that
such Claim or Interest is an Allowed Claim or Interest in that Class and has not been paid, released,
or otherwise satisfied prior to the Effective Date.

        The classification of Claims and Interests against each Debtor (as applicable) pursuant to
the Plan is as follows:

     Class               Claims and Interests                      Status                      Voting Rights
      1         Other Priority Claims                          Unimpaired          Deemed to Accept

      2         Other Secured Claims                           Unimpaired          Deemed to Accept

      3         Senior Lender Claims                           Impaired            Entitled to Vote

      4         Junior Lender Claims                           Impaired            Entitled to Vote

      5         General Unsecured Claims                       Impaired            Entitled to Vote
                                                               Unimpaired /
      6         Intercompany Claims                                                Not Entitled to Vote
                                                               Impaired23
      7         Subordinated Claims                            Impaired            Deemed to Reject


23   See Article III.B.6 of the Plan for scenarios in which Holders of Intercompany Claims may be Unimpaired and those in which
     they may be Impaired.

                                                             38
ACTIVE 52312155v1
               Case 20-11648-JTD                Doc 524        Filed 09/01/20          Page 48 of 136




     Class              Claims and Interests                     Status                       Voting Rights
                                                              Unimpaired/
      8        Intercompany Interests                                            Not Entitled to Vote
                                                              Impaired24
      9        Interests in AAC Holdings                      Impaired           Deemed to Reject

                   2.           Treatment of Claims and Interests

        Subject to Article VI of the Plan, each Holder of an Allowed Claim or Allowed Interest, as
applicable, shall receive under the Plan the treatment described below in full and final satisfaction,
compromise, settlement, release, and discharge of, and in exchange for, such Holder’s Allowed
Claim or Allowed Interest, except to the extent different treatment is agreed to by the Debtors and
the Holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated,
the Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment
on the later of the Effective Date and the date such Holder’s Claim or Interest becomes an Allowed
Claim or Allowed Interest or as soon as reasonably practicable thereafter.

                           i.         Class 1 – Other Priority Claims

          Classification: Class 1 consists of Other Priority Claims.

        Treatment: In full and final satisfaction of each Allowed Other Priority Claim, except to
the extent that a Holder of an Allowed Other Priority Claim agrees to a less favorable treatment,
each Holder thereof will receive payment in full in Cash or other treatment rendering such Claim
Unimpaired.

       Voting: Class 1 is Unimpaired. Holders of Class 1 Claims are conclusively presumed to
have accepted the Plan under section 1126(f) of the Bankruptcy Code, and are not entitled to vote
to accept or reject the Plan.

                          ii.         Class 2 – Other Secured Claims

          Classification: Class 2 consists of Other Secured Claims.

        Treatment: In full and final satisfaction of each Allowed Other Secured Claim, except to
the extent that a Holder of an Allowed Other Secured Claim agrees to less favorable treatment,
each Holder thereof will receive at the option of the Debtors (with the consent of the Requisite
Consenting Lenders): (a) payment in full in Cash, payable on the later of the Effective Date and
the date that is ten (10) Business Days after the date on which such Other Secured Claim becomes
an allowed Other Secured Claim, in each case, or as soon as reasonably practicable thereafter; (b)
delivery of the collateral securing any such Claim and payment of any interest required under
section 506(b) of the Bankruptcy Code; (c) Reinstatement of such Claim; or (d) such other
treatment rendering such Claim Unimpaired.



24   See Article III.B.8 of the Plan for scenarios in which Holders of Intercompany Interests ma y be Unimpaired and those in
     which they may be Impaired.

                                                             39
ACTIVE 52312155v1
               Case 20-11648-JTD       Doc 524      Filed 09/01/20      Page 49 of 136




        Voting: Class 2 is Unimpaired. Holders of Class 2 Claims are conclusively presumed to
have accepted the Plan under section 1126(f) of the Bankruptcy Code, and are not entitled to vote
to accept or reject the Plan.

                     iii.       Class 3 – Senior Lender Claims

        Classification: Class 3 consists of all Senior Lender Claims.

       Allowance: The Senior Lender Claims shall be Allowed, in the aggregate, in the Senior
Lender Claims Allowed Amount

        Treatment: In full and final satisfaction, compromise, settlement, release, and discharge of
its Claim (unless the applicable Holder agrees to a less favorable treatment), each Holder of an
Allowed Senior Lender Claim shall receive either:

        (i)      in the case of an Entire Company Asset Sale, Cash on the Effective Date from
                 Distributable Proceeds in the full amount of its Allowed Senior Lender Claim on
                 the Effective Date (which, for the avoidance of doubt, shall not include adequate
                 protection payments, including interest payments, under the terms of the DIP
                 Order); or

        (ii)     in the case of a Reorganization Transaction, each Holder of an Allowed Senior
                 Lender Claim shall receive on the Effective Date (x) Cash in the amount of the
                 Senior Lender Unpaid Postpetition Interest Amount and (y) its Pro Rata share of
                 any Partial Asset Sale Proceeds, if any, after all Allowed DIP Lender Claims have
                 been Paid in Full and, to the extent there are any remaining amounts due and owing
                 to the Holders of Allowed Senior Lender Claims, such Holders shall:

                           A.   be Paid in Full in Cash (which, for the avoidance of doubt, shall not
                                include adequate protection payments, including interest payments,
                                already paid under the terms of the DIP Order) on the Effective Date
                                with the proceeds of an Acceptable Exit Facility to the extent there
                                are sufficient proceeds or availability under the Acceptable Exit
                                Facility; or

                           B.   receive on the Effective Date their respective Pro Rata share of (A)
                                the Exit Term Loan Facility in the aggregate amount of the
                                Converted Senior Facility Amount and (B) the New Warrants Senior
                                Lender Allocation.

       Voting: Class 3 is Impaired. Holders of Allowed Class 3 Claims are entitled to vote to
accept or reject the Plan.

                     iv.        Class 4 – Junior Lender Secured Claims

        Classification: Class 4 consists of all Junior Lender Secured Claims.



                                                 40
ACTIVE 52312155v1
               Case 20-11648-JTD        Doc 524     Filed 09/01/20     Page 50 of 136




       Allowance: The Junior Lender Secured Claims shall be Allowed, in the aggregate, in the
Junior Lender Secured Claim Allowed Amount.

        Treatment: In full and final satisfaction, compromise, settlement, release, and discharge of
its Claim (unless the applicable Holder agrees to a less favorable treatment), each Holder of an
Allowed Junior Lender Secured Claim shall receive either:

        (i)      in the case of an Entire Company Asset Sale, its Pro Rata share of the Distributable
                 Proceeds pursuant to the Waterfall Recovery, up to the full amount of its Allowed
                 Junior Lender Secured Claim; or

        (ii)     in the case of a Reorganization Transaction, each Holder of an Allowed Junior
                 Lender Secured Claim shall receive on the Effective Date its Pro Rata share of any
                 Partial Asset Sale Proceeds, if any, after all Allowed DIP Lender Claims and
                 Allowed Senior Lender Claims have been Paid in Full, and, to the extent there are
                 any remaining amounts due and owing to the Holders of Allowed Ju nior Lender
                 Secured Claims, such Holders shall receive their Pro Rata share of 100% of the
                 Reorganized AAC Equity Interests, subject to dilution by the New Warrants and
                 the Management Incentive Plan.

       Voting: Class 4 is Impaired. Holders of Allowed Class 4 Claims are entitled to vote to
accept or reject the Plan.

                      v.        Class 5 – General Unsecured Claims

        Classification: Class 5 consists of all General Unsecured Claims.

        Treatment: In full and final satisfaction, compromise, settlement, release, and discharge of
each General Unsecured Claim, each Holder of an Allowed General Unsecured Claim shall receive
(unless the applicable Holder agrees to a less favorable treatment):

        (i)      in the case of an Entire Company Asset Sale, its Pro Rata share of the Distributable
                 Proceeds pursuant to the Waterfall Recovery, if any; or

        (ii)     in the case of a Reorganization Transaction, no recovery or distribution.

        Voting: For voting purposes, Class 5 is Impaired, and Holders of Allowed Class 5 Claims
are entitled to vote to accept or reject the Plan.

                      vi.       Class 6 – Intercompany Claims

        Classification: Class 6 consists of all Intercompany Claims.

        Treatment: In full and final satisfaction of each Allowed Intercompany Claim, each
Allowed Intercompany Claim will either be (i) treated consistent with the transactions
contemplated by the Entire Company Asset Sale or Partial Asset Sale, if applicable or (ii) in the
case of a Reorganization Transaction, (A) Reinstated as of the Effective Date for tax purposes or
(B) cancelled, in which case no distribution shall be made on account of such Allowed

                                                  41
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 51 of 136




Intercompany Claim, in each case as determined by the Debtors with the consent of the Requisite
Consenting Lenders.

       Voting: Holders of Class 6 Claims are conclusively presumed to have accepted the Plan
pursuant to section 1126(f) or deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Holders of Class 6 Claims are not entitled to vote to accept or reject the Plan.

                    vii.       Class 7 – Subordinated Claims

        Classification: Class 7 consists of all Subordinated Claims.

        Treatment: Subordinated Claims will be cancelled, released, and extinguished as of the
Effective Date, and will be of no further force or effect, and each Holder of a Subordinated Claim
will not receive any distribution on account of such Subordinated Claim.

        Voting: Class 7 is Impaired. Holders of Class 7 Claims are deemed to have rejected the
Plan under section 1126(g) of the Bankruptcy Code and are not entitled to vote to accept or reject
the Plan.

                    viii.      Class 8 – Intercompany Interests

        Classification: Class 8 consists of all Intercompany Interests.

        Treatment: In full and final satisfaction of each Allowed Intercompany Interest, each
Intercompany Interest shall either be (i) treated consistent with the transactions contemplated by
the Entire Company Asset Sale or Partial Asset Sale, if applicable or (ii) in the case of a
Reorganization Transaction, as determined by the Debtors, with the consent of the Requisite
Consenting Lenders, as of the Effective Date, (A) Reinstated or (B) cancelled, in which case no
distribution shall be made on account of such Intercompany Interests.

       Voting: Holders of Class 8 Interests are conclusively presumed to have accepted the Plan
pursuant to section 1126(f) or deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Holders of Class 8 Interests are not entitled to vote to accept or reject the Plan.

                     ix.       Class 9 – Interests in AAC Holdings

        Classification: Class 9 consists of all Interests in AAC Holdings.

        Treatment: Each Allowed Interest in AAC Holdings shall be cancelled, released, and
extinguished, and will be of no further force or effect and no Holder of Interests in AAC Holdings
shall be entitled to any recovery or distribution under the Plan on account of such Interests.

         Voting: Class 9 is Impaired. Holders of Class 9 Interests are deemed to have rejected the
Plan pursuant to section 1126(g) of the Bankruptcy Code and are not entitled to vote to accept or
reject the Plan.




                                                 42
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 52 of 136




                3.     Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the
                       Bankruptcy Code

        Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of the
Confirmation Hearing by acceptance of the Plan by at least one Impaired Class of Claims. The
Debtors shall seek confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code
with respect to any rejecting Class(es) of Claims and Interests. The Debtors reserve the right to
modify the Plan in accordance with Article XII thereof to the extent, if any, that confirmation of
the Plan pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by
modifying the treatment applicable to a Class of Claims to render such Class of Claims Unimpaired
to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

                4.     Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or
Allowed Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court as of the
date of the Confirmation Hearing shall be deemed eliminated from the Plan for purposes of voting
to accept or reject the Plan and for purposes of determining acceptance or rejection of the Plan by
such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

                5.     Voting Classes; Presumed Acceptance by Non-Voting Classes

       If a Class of Claims or Interests is eligible to vote and no Holder of Claims or Interests, as
applicable, in such Class votes to accept or reject the Plan, the Plan shall be presumed accepted by
such Class.

                6.     Intercompany Interests and Intercompany Claims

        Under a Reorganization Transaction, Holders of Intercompany Interests or Intercompany
Claims may retain their respective Interests or Claims not on account of such Interests or Claims,
as applicable, but rather for the purposes of administrative convenience, for the ultimate benefit of
the Holders of Reorganized AAC Equity Interests, and in exchange f or the Debtors’ and
Reorganized Debtors’ agreement under the Plan to make certain distributions to the Holders of
Allowed Claims.

                7.     Subordinated Claims and Interests

        The allowance, classification, and treatment of all Allowed Claims and Allowed Interests
and their respective distributions and treatments under the Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal, and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or otherwise.
Pursuant to section 510 of the Bankruptcy Code, the Debtors or Reorganized Debtors, as
applicable, reserve the right to re-classify any Allowed Claim or Interest in accordance with any
contractual, legal, or equitable subordination relating thereto.



                                                 43
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524     Filed 09/01/20      Page 53 of 136




        C.      Means for Implementation of the Plan

                1.         Means for Implementation Applicable to an Entire Company Asset
                           Sale or a Reorganization Transaction

     The following provisions shall apply whether the Plan is implemented through an Entire
Company Asset Sale or a Reorganization Transaction.

                      i.         Implementation of Plan Transaction Generally

        On the Effective Date, or as soon as reasonably practicable thereafter, the Post-Effective
Date Debtors shall take all actions, not inconsistent with the Restructuring Support Agreement, as
may be necessary or appropriate to effectuate the restructuring transactions contemplated by the
Plan, including, without limitation: (a) the execution and delivery of any appropriate agreements
or other documents of merger, consolidation, restructuring, conversion, disposition, transfer,
dissolution, or liquidation containing terms that are consistent with the terms of the Plan, and that
satisfy the requirements of applicable law and any other terms to which the applicable Persons
may agree; (b) the execution and delivery of appropriate instruments of transfer, assignment,
assumption, or delegation of any asset, property, right, liability, debt, or obligation on terms
consistent with the terms of the Plan and having other terms for which the applicable parties agree;
(c) the filing of appropriate certificates or articles of incorporation, reincorporation, merger,
consolidation, conversion, or dissolution pursuant to applicable state law; (d) such other
transactions that are required to effectuate the Plan; (e) all transactions necessary to provide for
the purchase of some or all of the assets of, or Interests in, any of the Debtors which purchase may
be structured as a taxable transaction for United States federal income tax purposes; and (f) all
other actions that the applicable Persons determine to be necessary or appropriate, including
making filings or recordings that may be required by applicable law.

                     ii.         Cancellation of Notes, Instruments, Certificates, and Other
                                 Documents

        On the Effective Date, except as otherwise specifically provided for in the Plan (including,
without limitation, the satisfaction of the DIP Lender Claims in accordance with Article II.C of the
Plan): (1) any certificate, share, note, bond, indenture, purchase right, or other instrument or
document, directly or indirectly evidencing or creating any indebtedness or obligation of or
ownership interest, equity, or portfolio interest in the Debtors or any warrants, options, or other
securities exercisable or exchangeable for, or convertible into, debt, equity, ownership, or profits
interests in the Debtors giving rise to any Claim or Interest shall be cancelled and deemed
surrendered as to the Debtors and shall not have any continuing obligations thereunder; and (2) the
obligations of the Debtors pursuant, relating, or pertaining to any agreements, indentures,
certificates of designation, bylaws, or certificates or articles of incorporation or similar documents
governing the shares, certificates, notes, bonds, indenture, purchase rights, options, warrants, or
other instruments or documents evidencing or creating any indebtedness or obligation of the
Debtors shall be fully released, settled, and compromised; provided, that notwithstanding entry of
the Confirmation Order or Consummation, any such instrument or document that governs the
rights of a Holder of a Claim or Interest shall continue in effect solely for purposes of: (1) allowing
Holders to receive distributions under the Plan; (2) allowing the Senior Lien Agent and Junior Lien

                                                  44
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 54 of 136




Agent to enforce their respective rights, claims, and interests vis-à-vis any parties other than the
Released Parties; and (3) preserving any rights of the Senior Lien Agent and Junior Lien Agent to
payment of fees, expenses, and indemnification obligations as against any money or property
distributable to the Holders of Senior Lender Claims and Junior Lender Claims, respectively,
including any rights to priority of payment.

                    iii.       General Settlement of Claims

        Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and other
benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good faith
compromise of all Claims, Interests, and controversies relating to the contractual, legal, and
subordination rights that a Holder of a Claim or Interest may have with respect to any Allowed
Claim or Interest, or any distribution to be made on account of such Allowed Claim or Interest.
The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the
compromise or settlement of all such Claims, Interests, and controversies, as well as a finding by
the Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors,
their respective Estates, and holders of Claims and Interests and is fair, equitable, and reasonable.
In accordance with the provisions of the Plan, pursuant to Bankruptcy Rule 9019, without any
further notice to or action, order, or approval of the Bankruptcy Court, after the Effective Date, the
Reorganized Debtors may compromise and settle Claims against the Debtors and their respective
Estates and Causes of Action against other Entities.

                    iv.        Asset Sales

       The Debtors shall consummate any Asset Sales pursuant to the terms of th e Plan, and the
Confirmation Order shall authorize the Debtors to enter into and p erform under the Asset Sale
Agreements. On the Effective Date, all of the transactions contemplated by any Asset Sale shall
be consummated. Any property of the Debtors’ Estates that is not transferred under an Asset Sale
Agreement or distributed on the Effective Date pursuant to the terms of the Plan shall revest in the
Post-Effective Date Debtors in accordance with the terms of the Plan.

        Unless otherwise expressly provided under the terms of a particular Asset Sale Agreement,
all matters and transactions provided for in the Asset Sale Agreements, and any partnership,
membership, or shareholder action required by the Debtors or the Post-Effective Date Debtors in
connection with the Asset Sale Agreements, will be deemed to have occurred and will be in effec t,
without any requirement of further action by those authorized to act on behalf of the Debtors or
the Post-Effective Date Debtors. On or (as applicable) prior to the Effective Date, the appropriate
officers, directors, managers or managing members of each Debtor or Post-Effective Date Debtor,
as applicable, shall be authorized and directed to issue, execute, deliver, file, and/or record any
contracts, agreements, instruments, or other documents contemplated by the Asset Sale
Agreements (or necessary or desirable to effect the transactions contemplated by the Asset Sale
Agreements), and take such actions as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Asset Sale Agreements, in each case in the name of and
on behalf of such Debtor or Post-Effective Date Debtor. Such authorizations and approvals will be
effective notwithstanding any requirements under non-bankruptcy law.



                                                 45
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 55 of 136




                     v.        Preservation of Causes of Action

        Except for any Cause of Action against a Person that is expressly waived, relinquished,
exculpated, released, compromised under the Plan or Final Order, transferred in connection with
an Asset Sale, or settled in the Plan or a Final Order, in accordance with section 1123(b) of the
Bankruptcy Code, the Post-Effective Date Debtors shall retain and may enforce all rights to
commence and pursue, as appropriate, any and all Causes of Action, whether arising before or
after the Petition Date and such rights to commence, prosecute, or settle such Causes of Action
shall be preserved notwithstanding the occurrence of the Effective Date. The Post-Effective Date
Debtors may pursue such Causes of Action, as appropriate, in the Post -Effective Date Debtors’
sole discretion. No Person may rely on the absence of a specific r eference in the Plan, the Plan
Supplement, or the Disclosure Statement to any Cause of Action against it as any indication that
the Post-Effective Date Debtors will not pursue any and all available Causes of Action against it.
Unless any Causes of Action against a Person is expressly waived, relinquished, exculpated,
released, compromised, transferred in connection with an Asset Sale, or settled under the Plan, the
Debtors or Post-Effective Date Debtors, as applicable, expressly reserve all Causes of Action for
later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise),
or laches, shall apply to such Causes of Action upon, after, or as a consequence of, entry of the
Confirmation Order or Consummation. In accordance with section 1123(b)(3) of the Bankruptcy
Code, except as otherwise provided herein, any Causes of Action that a Debtor may hold against
any Entity shall vest in the Post-Effective Date Debtors. The Post-Effective Date Debtors shall
have the exclusive right, authority, and discretion to determine and to initiate, file, prosecute,
enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes
of Action, and to decline to do any of the foregoing without the consent or approval of any third
party or further notice to, or action, order, or approval of, the Bankruptcy Court.

                    vi.        Release of Liens

        Except as otherwise provided herein or in any contract, instrument, release, or other
agreement or document created pursuant to the Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date, all
mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the
Debtors’ Estates shall be fully released, settled, and compromised, and th e holder of such
mortgages, deeds of trust, Liens, pledges, or other security interest against any property of the
Debtors’ Estates shall be authorized to take such actions as may be reasonably requested by the
Debtors to evidence such releases.

                    vii.       Director and Officer Liability Insurance

        The Debtors shall be deemed to have assumed all of the Debtors’ D&O Liability Insurance
Policies pursuant to section 365(a) of the Bankruptcy Code effective as of the Effective Date, and
coverage for defense and indemnity under any of the D&O Liability Insurance Policies shall
remain available to all individuals within the definition of “Insured” in any of the D&O Liability
Insurance Policies. Entry of the Confirmation Order will constitute the Bankruptcy Court’s
approval of the Debtors’ foregoing assumption of each of the unexpired D&O Liability Insurance
                                                  46
ACTIVE 52312155v1
             Case 20-11648-JTD            Doc 524    Filed 09/01/20      Page 56 of 136




Policies. Notwithstanding anything to the contrary contained in the Plan, confirmation of the Plan
shall not discharge, impair, or otherwise modify any indemnity obligations assumed by the
foregoing assumption of the D&O Liability Insurance Policies, and each such indemnity obligation
will be deemed and treated as an Executory Contract that has been assumed by the Debtors under
the Plan as to which no Proof of Claim need be filed.

        In addition, after the Effective Date, none of the Post-Effective Date Debtors shall
terminate or otherwise reduce the coverage under any D&O Liability Insurance Policies in effect
on or after the Petition Date, with respect to conduct occurring prior thereto, and all directors and
officers of the Debtors who served in such capacity on or at any time prior to the Effective Date
shall be entitled to the full benefits of any such policy (including any “tail” policy) for the full term
of such policy regardless of whether such directors and officers remain in such positions after the
Effective Date, in each case to the extent set forth in such policies.

                     viii.         Exemption from Certain Transfer Taxes and Fees

        To the maximum extent provided by section 1146(a) of the B ankruptcy Code, any transfers
of property pursuant hereto, including any Asset Sales, or the issuance, transfer or exchange of
any security under the Plan shall not be subject to any document recording tax, stamp tax,
conveyance fee, intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax,
mortgage recording tax, or other similar tax or governmental assessment, and upon entry of the
Confirmation Order, the appropriate state or local governmental officials or agents shall forgo the
collection of any such tax or governmental assessment and accept for filing and recordation any
of the foregoing instruments or other documents pursuant to such transfers of property without the
payment of any such tax, recordation fee, or governmental assessment.

                      ix.          Tax Structure

         To the extent practicable, the transactions contemplated by the Plan, and the consideration
received in connection therewith, shall be structured in a manner that (i) minimizes any current
taxes payable as a result of the consummation of such transactions and (ii) optimizes the tax
efficiency (including, but not limited to, by way of the preservation or enhancement of favorable
tax attributes) of such transactions to the Debtors, the Post-Effective Date Debtors, and the holders
of equity or debt in the Reorganized Debtors going forward, in each case as determined by the
Requisite Consenting Lenders and the Debtors.

                2.           Means for Implementation Specific to an Entire Company Asset Sale

       The following provisions shall apply only if the Entire Company Asset Sale Trigger
Occurs.

                        i.         The Wind-Down Debtors

         The Wind-Down Debtors shall continue to exist after the Effective Date for purposes of
(a) dissolving and winding down the Debtors’ business and affairs as expeditiously as reasonably
possible in accordance with the Wind-Down Budget, (b) resolving Disputed Claims, (c) making
distributions on account of Allowed Claims as provided hereunder, (d) establishing and funding
the Distribution Reserve Accounts in accordance with Article VIII of the Plan, (e) filing
                                              47
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 57 of 136




appropriate tax returns, (f) complying with continuing obligations under the Entire Company Asset
Sale Agreements, if any, and (g) administering the Plan. Subject in all respects to the terms of the
Plan, each of the Wind-Down Debtors shall be dissolved and wound up as soon as practicable on
or after the Effective Date, and notwithstanding any requirements under non -bankruptcy law all
corporate actions required by the Debtors, or the Post-Effective Date Debtors in connection with
such dissolution and winding up shall be deemed to have occurred and shall be in effect, without
any requirement of further action by the security holders, directors, or officers of the Debtors, or
the Post-Effective Date Debtors.

       The Wind-Down Debtors shall be deemed to be substituted as the party-in-lieu of the
Debtors in all matters, including (i) motions, contested matters, and adversary proceedings pending
in the Bankruptcy Court and (ii) all matters pending in any courts, tribunals, forums, or
administrative proceedings outside of the Bankruptcy Court, in each case without the need or
requirement for the Plan Administrator to file motions or substitutions of parties or counsel in each
such matter.

                     ii.       Vesting of Assets of the Wind-Down Debtors

        Except as otherwise provided in the Plan, or any agreement, instrument, or other document
incorporated herein or therein, on the Effective Date, the assets of the Debtors shall vest in the
Wind-Down Debtors for the purpose of liquidating the Estates, free and clear of all Liens, Claims,
charges, or other encumbrances. On and after the Effective Date, the Wind -Down Debtors may
use, acquire, or dispose of property, and compromise or settle any Claims, Interests, or Causes of
Action without supervision or approval by the Bankruptcy Court an d free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules.

                    iii.       Plan Administrator

        The Plan Administrator shall act for the Wind-Down Debtors in the same fiduciary capacity
as applicable to a board of directors, board of managers, managing members and officers, subject
to the provisions hereof (and all certificates of formation, membership agreements, and related
documents are deemed amended by the Plan to permit and authorize the same). On the Effective
Date, the authority, power, and incumbency of the persons acting as directors, managers, managing
members or officers of the Debtors shall be deemed to have resigned, and the Plan Administrator
shall be appointed as the sole director, sole manager, sole managing member and sole officer of
each of the Wind-Down Debtors. From and after the Effective Date, the Plan Administrator shall
be the sole representative of, and shall act for, the Wind -Down Debtors, pursuant to the terms of
the Plan, Confirmation Order, and Plan Administrator Agreement, as further described in Article
VII of the Plan.

                    iv.        Boards of the Wind-Down Debtors

        As of the Effective Date, without any further action required on the part of any such person
or of the Debtors or the Debtors’ officers, directors, managers, shareholders, or members, ( i) all
members of the existing board of directors or managers (and all committees thereof), as applicable,
or the managing member or manager, as applicable, of each of the Wind -Down Debtors shall
automatically cease to serve in such capacity and shall be d eemed to have been removed from such

                                                 48
ACTIVE 52312155v1
             Case 20-11648-JTD           Doc 524      Filed 09/01/20   Page 58 of 136




positions (ii) all remaining officers of each of the Wind-Down Debtors shall automatically cease
to serve in such capacity and shall be deemed to have resigned from such positions, as of the
Effective Date, and (iii) the Plan Administrator shall be deemed to have been elected or appointed
as the sole director, sole manager, sole managing member and sole officer, as applicable, of each
of the Wind-Down Debtors; provided however, that all directors, managers, managing members
and officers of the Debtors who served in such capacity on or at any time prior to the Effective
Date shall be entitled to the full benefits of any applicable D&O Liability Insurance Policies as
provided in Article IV.A.7 of the Plan, for the full term of such policies.

                3.          Means for Implementation Specific Reorganization Transaction

       If the Entire Company Asset Sale Trigger does not occur, the terms of the Plan will be
implemented through a Reorganization Transaction. The Reorganization Transaction may inc lude
one or more Partial Asset Sales. Any Partial Assets Sales shall be consummated pursuant to the
Confirmation Order and other provisions of the Plan (including Article IV.A.4 of the Plan ). The
following provisions describe provisions that will apply only if the Plan is implemented through a
Reorganization Transaction.

                       i.         Sources of Consideration for Plan Distributions

       The Reorganized Debtors shall fund distributions under the Plan from the following
sources: (a) Cash on hand, including Cash from operations and Partial Asset Sale Proceeds, if any,
and (b) the proceeds of any Exit Facility. Cash payments to be made pursuant to the Plan will be
made by the Debtors or Reorganized Debtors, as applicable.

                     ii.          Vesting of Assets

        Except as otherwise provided in a Partial Asset Sale Agreement, the Plan, or any
agreement, instrument, or other document incorporated in the Plan or the Plan Supplement, on the
Effective Date, all property in each Estate, all Causes of Action, and any property acquired by any
of the Debtors, including interests held by the Debtors in their respective non-Debtor subsidiaries,
shall vest in each applicable Reorganized Debtor, free and clear of all Liens, Claims, charges, or
other encumbrances. On and after the Effective Date, except as otherwis e provided in a Partial
Asset Sale Agreement or the Plan, each Reorganized Debtor may operate its business and may use,
acquire, or dispose of property and compromise or settle any Claims, Interests, or Causes of Action
without supervision or approval by the Bankruptcy Court and free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules.

                     iii.         Reorganized AAC Equity Interests and New Warrants;
                                  Reporting Upon Emergence

        On the Effective Date, the Reorganized Debtors shall issue the Reorganized AAC Equity
Interests and New Warrants, if any, as set forth in the Plan. In the case of a Reorganization
Transaction, the Reorganized AAC Equity Interests shall be distributed to Holders of Allowed
Junior Lender Secured Claims in accordance with Article III of the Pl an and Article IV.C.3 thereof
and, in the case of an Exit Term Loan Facility, the New Warrants shall be distributed to Holders
of Allowed DIP Lender Claims and Allowed Senior Lender Claims. The issuance of Reorganized
AAC Equity Interests and the New Warrants (if applicable), as well as options, or other equity
                                                49
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 59 of 136




awards, if any, reserved under the Management Incentive Plan, is duly authorized without the need
for any further corporate action and without any further action by the Debtors or Reorganized
Debtors or the Holders of Claims.

        All Reorganized AAC Equity Interests and New Warrants issued and distributed under the
Plan shall be (including the securities issuable upon exercise of the New Warrants, when issued
upon such exercise in accordance with the terms of the New Warrants) duly authorized, validly
issued, fully paid, and non-assessable. On the Effective Date, Reorganized AAC Holdings shall
enter into the New Stockholders’ Agreement with each Entity that receives a distribution of
Reorganized AAC Equity Interests or New Warrants pursuant to the Plan, and each such Entity
shall be deemed as a result of having received distributions of Reorganized AAC Equity Interests
pursuant to the Plan to have accepted terms of the New Stockholders Agreement and th e New
Organizational Documents, in each case without the need for execution by any party thereto other
than Reorganized AAC Holdings. As of the Effective Date, the New Stockholders Agreement
shall be valid, binding, and enforceable in accordance with its terms by and against each of the
parties thereto, and each holder of Reorganized AAC Equity Interests and each holder of New
Warrants shall be bound thereby. Without limiting the foregoing, it shall be a condition to the
receipt of any Reorganized AAC Equity Interests or any New Warrants that, prior to such receipt,
each such recipient duly executes and delivers to the Debtors a duly executed counterpart signature
page to the New Stockholders Agreement.

        Upon the Effective Date, (i) the Reorganized AAC Equity Interests shall not be registered
under the Securities Act and shall not be listed for trading on any national securities exchange, (ii)
none of the Reorganized Debtors will be a reporting company under the Exchange Act, (iii)
Reorganized AAC Holdings shall not be required to and will not file Exchange Act reports with
the SEC or any other entity or party, and (iv) Reorganized AAC Holdings shall not be required to
file monthly operating reports with the Bankruptcy Court after the Effective Date. The
Reorganized AAC Equity Interests and the New Warrants will be issued pursuant to section 1145
of the Bankruptcy Code and be freely transferrable under applicable securities laws without further
registration, subject to certain restrictions on transfers by affiliates and underwriters under
applicable securities laws. Notwithstanding the foregoing, the Reorganized AAC Equity Interests
and the New Warrants shall be subject to transfer restrictions that prohibit any transfer thereof that
Reorganized AAC Holdings determines will or could reasonably be expected to result in (i) the
number of “holders of record” (as such concept is understood for purposes of Section 12(g) of the
Exchange Act) of the Reorganized AAC Equity Interests exceeding the applicable thresholds fo r
registration under Section 12(g) of the Exchange Act or (ii) Reorganized AAC Holdings otherwise
being required to register the Reorganized AAC Equity Interests under the Exchange Act,
assuming for purposes of (i) and (ii) that all outstanding New Warrant s are exercised at the time
of such transfer, and any such purported or attempted transfer of New Warrants or Reorganized
AAC Equity Interests, as applicable, shall not be recognized by Reorganized AAC Holdings or its
stock transfer agent or warrant agent, as applicable.

                    iv.        Exit Facility

       On the Effective Date, the Reorganized Debtors shall enter into the Exit Facility.
Confirmation of the Plan shall be deemed approval of the Exit Facility and the Exit Facility
Documents, and all transactions contemplated thereby, and all actions to be taken, undertakings to
                                                 50
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524      Filed 09/01/20      Page 60 of 136




be made, and obligations to be incurred by the Reorganized Debtors in connection therewith,
including the payment of all fees, indemnities, and expenses provided for therein, and
authorization of the Reorganized Debtors to enter into and execute the Exit Facility Documents
and such other documents as may be required to effectuate the Exit Facility.

        On the Effective Date all of the Liens and security interests to be granted in accordance
with the Exit Facility Documents (i) shall be deemed to be granted, (ii) shall be legal, binding, and
enforceable Liens on, and security interests in, the applicable collateral in accordance with the
respective terms of the Exit Facility Documents, (iii) shall be deemed pe rfected on the Effective
Date, subject only to such Liens and security interests as may be permitted under the Exit Facility
Documents, and (iv) shall not be subject to recharacterization or equitable subordination for any
purposes whatsoever and shall not constitute preferential transfers or fraudulent conveyances under
the Bankruptcy Code or any applicable nonbankruptcy law. The Reorganized Debtors and the
Entities that grant such Liens and security interests shall be authorized to make all filings and
recordings, and to obtain all governmental approvals and consents necessary to establish and
perfect such Liens and security interests under the provisions of the applicable state, federal, or
other law that would be applicable in the absence of the Plan and the Confirmation Order (it being
understood that perfection shall occur automatically by virtue of the entry of the Confirmation
Order (subject solely to the occurrence of the Effective Date) and any such filings, recordings,
approvals, and consents shall not be required), and will thereafter cooperate to make all other filings
and recordings that otherwise would be necessary under applicable law to give notice of such Liens
and security interests to third parties.

        The Debtors will need an Acceptable Exit Facility that provides at least $15 to $20 million
of working capital. The Debtors expect this Acceptable Exit Facility to be a revolving credit
facility secured with a first lien on the Reorganized Debtors’ receivables and inventory. The
Debtors are currently soliciting potential lenders. Further details will be included in the Plan
Supplement.

                     v.        Corporate Existence

        Except as otherwise provided in the Plan, the New Organizational Documents, the New
Stockholders’ Agreement, or any agreement, instrument, or other document incorporated in the
Plan or the Plan Supplement, on the Effective Date, each Debtor shall continue to exist after the
Effective Date as a separate corporation, limited liability company, partnership, or other form of
entity, as the case may be, with all the powers of a corporation, limited liability company,
partnership, or other form of entity, as the case may be, pursuant to the applicable law in the
jurisdiction in which each applicable Debtor is incorporated or formed and pursuan t to the
respective certificate of incorporation and bylaws (or other analogous formation documents) in
effect before the Effective Date, except to the extent such certificate of incorporation and bylaws
(or other analogous formation documents) are amended by the Plan or otherwise, and to the extent
such documents are amended, such documents are deemed to be amended pursuant to the Plan and
require no further action or approval. Notwithstanding the foregoing, in the event of a
Reorganization Transaction, Reorganized AAC Holdings shall be redomiciled as a Delaware
corporation, pursuant to a statutory conversion or otherwise, on the Effective Date prior to the
issuance of the Reorganized AAC Equity Interests and New Warrants.

                                                  51
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524     Filed 09/01/20     Page 61 of 136




                     vi.      Corporate Action

        Upon the Effective Date, or as soon thereafter as is reasonably practicable, all actions
contemplated by the Plan shall be deemed authorized and approved by the Bankruptcy Court in all
respects, including, as applicable: (a) the implementation of the Reorganization Transaction;
(b) the selection of the directors and officers for the Reorganized Debtors; (c) the entry into the
Exit Facility and the incurrence of credit thereunder; (d) the adoption of the Management Incentive
Plan, if any, by the New Board; (e) the issuance and distribution of the Reorganized AAC Equity
Interests and, if applicable, the New Warrants; and (f) all other actions contemplated by the Plan
(whether to occur before, on, or after the Effective Date). Upon the Effective Date, all matters
provided for in the Plan involving the corporate structure of the Reorganized Debtors, and any
corporate action required by the Debtors, or the other Reorganized Debtors in connection with the
Plan shall be deemed to have occurred and shall be in effect, witho ut any requirement of further
action by the security holders, directors, or officers of the Debtors, or the Reorganized Debtors.
On or (as applicable) before the Effective Date, the appropriate officers of the Debtors or the
Reorganized Debtors shall be authorized and (as applicable) directed to issue, execute, and deliver
the agreements, documents, securities, and instruments contemplated by the Plan (or necessary or
desirable to effect the transactions contemplated by the Plan) in the name of and on behalf of the
Reorganized Debtors, including the Exit Facility, the Reorganized AAC Equity Interests, the New
Warrants (if applicable) and any and all other agreements, documents, securities, and instruments
relating to the foregoing, to the extent not previously authorized by the Bankruptcy Court. The
authorizations and approvals contemplated by Article IV.C.6 of the Plan shall be effective
notwithstanding any requirements under non-bankruptcy law.

                    vii.      New Organizational Documents

        On or after the Effective Date, each of the Reorganized Debtors will file its New
Organizational Documents with the applicable Secretaries of State and/or other applicable
authorities in its respective state of incorporation or formation in accordance with the applicable
laws of the respective state of incorporation or formation. The New Organizational Documents
shall be consistent with section 1123(a)(6) of the Bankruptcy Code. After the Effective Date, the
Reorganized Debtors may amend and restate their respective New Organizational Documents and
other constituent documents as permitted by the laws of their respective states of incorporation
and their respective New Organizational Documents, without further order of the Bankruptcy
Court.

                    viii.     New Board

        As of the Effective Date, the terms of the current members of the board of directors of the
Debtors shall expire and such board members will be deemed to have resigned, and the New Board
and new officers of each of the Reorganized Debtors shall be appointed in accordance with the
New Organizational Documents and other constituent documents of each Reorganized Debtor.
The initial composition of the New Board shall be the New Board Composition.

         Pursuant to section 1129(a)(5) of the Bankruptcy Code, the Debtors will, to the extent
reasonably practicable, disclose in advance of the Confirmation Hearing the identity and
affiliations of any Person proposed to serve on the New Board, as well as those Persons that will

                                                52
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524      Filed 09/01/20      Page 62 of 136




serve as officers of the Reorganized Debtors. To the extent any such director or officer is an
“insider” under the Bankruptcy Code, the nature of any compensation to be paid to such director
or officer will also be disclosed. Provisions regarding the removal, appointment, and replacement
of members of the New Board will be disclosed in the New Organizational Documents.

                     ix.       Management Incentive Plan

        Within a reasonable time after the Effective Date, the New Board shall adopt a management
incentive plan (the “Management Incentive Plan”) that provides for the issuance of restricted stock
units, options, stock appreciation rights and/or other similar appreciation awards of up to 10%
of the Reorganized AAC Equity Interests (on a fully diluted basis) to management, key employees
and directors of the Reorganized Debtors. The participants in the Management Incentive Plan,
the timing and allocations of the awards to participants, and the other terms and conditions of
such awards (including, but not limited to, vesting, exercise prices, base values, hurdles, forfeiture,
repurchase rights and transferability) shall be determined by the New Board in its discretion.

                     x.        Employee Obligations

        Upon the consent of the Requisite Consenting Lenders, on the Effective Date, the Debtors
(other than any Debtor whose assets are sold pursuant to a Partial Asset Sale) shall be deemed to
have assumed each of the written contracts, agreements, policies, programs and plans for
compensation, bonuses, reimbursement, health care benefits, disability benefits, deferred
compensation benefits, travel benefits, vacation and sick leave benefits, savings, severance
benefits, retirement benefits, welfare benefits, relocation programs, life insurance and accidental
death and dismemberment insurance, including written contracts, agreements, policies, programs
and plans for bonuses and other incentives or compensation for the Debtors’ current and former
employees, officers, and managers, including executive compensation programs and existing
compensation arrangements for the employees of the Debtors (but excluding any severance
agreements with any of Debtors’ former employees).

                     xi.       Indemnifications Obligations

        Notwithstanding anything in the Plan to the contrary each Indemnification Obligation shall,
subject to the consent of the Requisite Consenting Lenders (in their sole discretion), be assumed
by the applicable Debtor, effective as of the Effective Date, pursuant to sections 365 and 1123 of
the Bankruptcy Code or otherwise, shall remain in full force and effect, shall not be modified,
reduced, discharged, impaired, or otherwise affected in any way, and shall survive confirmation
of the Plan, irrespective of when such obligation arose. Upon the consent of the Requisite
Consenting Lenders (in their sole and absolute discretion), the Debtors shall assume the
Indemnification Obligations for the directors, officers, managers, employees, and other
professionals of the Debtors, in their capacities as such, who served or were employed by the
Debtors as of or after the Petition Date, irrespective of whether such person has exhausted all
remedies under applicable D&O Liability Insurance Policies (subject in each case to the terms of
the applicable Indemnification Obligation as in effect on the date of the act or omission for which
indemnification is sought). To the extent assumed by the Debtors in accordance with Article IV.11
of the Plan, any Claim based on the Debtors’ obligations in Article IV.11 of the Plan shall not be
a Disputed Claim or subject to any objection, in either case, by reason of section 502(e)(1)(B) of

                                                  53
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 63 of 136




the Bankruptcy Code or otherwise. Notwithstanding the foregoing, nothing shall impair the ability
of the Post-Effective Date Debtors to modify indemnification obligations (whether in the bylaws,
certificates of incorporation or formation, limited liability company agreements, other
organizational or formation documents, board resolutions, indemnification agreements,
employment contracts, or otherwise) arising after the Effective Date; provided, however, that the
assumption of the obligations under the Indemnification Obligations shall not be deemed an
assumption by the Debtors of any contract, agreement, resolution, instrument or document in
which such Indemnification Obligations are contained, memorialized, agreed to, embodied or
created (or any of the terms or provisions thereof) if such contract, agreement, resolution,
instrument or document requires the Debtors or the Reorganized Debtors to make any payments
or provide any arrangements (including any severance payments) to any current or former director
or officer of any of the Debtors other than indemnification payments, reimbursement, and
advancement expenses and other similar payments, in each case only pursuant to the
Indemnification Obligations.

        D.      Treatment of Executory Contracts and Unexpired Leases

                1.     Assumption and Rejection of Executory Contracts and Unexpired
                       Leases

        Except as otherwise provided in the Plan, in any Asset Sale Agreements, or in any contract,
instrument, release, indenture, or other agreement or document entered into in connection with the
Plan or any Asset Sale Agreements, as of the Effective Date, each Debtor will be deemed to have
assumed (and in the case of any Asset Sales, assumed and assigned to the applicable Buyer) each
Executory Contract or Unexpired Lease to which such Debtor is a party, unless such Executory
Contract or Unexpired Lease (i) was previously assumed or rejected; (ii) was previously expired
or terminated pursuant to its own terms; (iii) is the subject of a motion or notice to reject Filed on
or before the Confirmation Date; or (iv) is designated specifically, or by category, as an Executory
Contract or Unexpired Lease on the Schedule of Rejected Executory Contracts and Unexpired
Leases.

       The Confirmation Order shall constitute an order of the Bankruptcy Court under sections
365 and 1123(b) of the Bankruptcy Code approving the assumptions (or assumptions and
assignments, as applicable) or rejections described above as of the Effective Date. Unless
otherwise indicated, all assumptions, assumptions and assignments, and rejections of Executory
Contracts and Unexpired Leases in the Plan will be effective as of the Effective Date. Each
Executory Contract and Unexpired Lease assumed or assumed and assigned pursuant to the Plan,
or by Bankruptcy Court order, will vest in and be fully enforceable by the applicable
Reorganized Debtor or assignee in accordance with its terms, except as such terms may have been
modified by order of the Bankruptcy Court.

        Notwithstanding the foregoing paragraph or anything contrary herein or in the Plan, the
Debtors reserve the right, with the consent of the Requisite Consenting Lenders or Buyer(s), as
applicable, to alter, amend, modify, or supplement the Executory Contracts and Unexpired Leases
identified for assumption, assumption and assignment, or rejection in the Plan Supplement prior
to the Effective Date.


                                                 54
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524     Filed 09/01/20      Page 64 of 136




                2.     Claims Based on Rejection of Executory Contracts or Unexpired
                       Leases

        Unless otherwise provided by an order of the Bankruptcy Court, any Proofs of Claim based
on the rejection of the Debtors' Executory Contracts or Unexpired Leases pursuant to the Plan or
otherwise, must be Filed with the Noticing and Claims Agent no later than the later of (i) thirty
(30) days after the Effective Date and (ii) the Bar Date established in the Chapter 11 Cases.

        Any Claims arising from the rejection of an Executory Contract or Unexpired Lease
that are not Filed within such time will be automatically Disallowed, forever barred from
assertion, and shall not be enforceable against, as applicable, the Debtors, the Reorganized
Debtors, the Estates, or property of the foregoing parties, without the need for any objection
by the Debtors or the Reorganized Debtors, as applicable, or further notice to, or action,
order, or approval of the Bankruptcy Court or any other Entity, and any Claim arising out
of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
released, and discharged, notwithstanding anything in the Schedules or a Proof of Claim to
the contrary. Claims arising from the rejection of the Debtors’ Executory Contracts or Unexpired
Leases shall be classified as General Unsecured Claims and shall be treated in accordance with
Article III of the Plan.

                3.     Cure of Defaults for Assumed Executory Contracts and Unexpired
                       Leases

        Any monetary defaults under an Executory Contract or Unexpired Lease to be assumed or
assumed and assigned pursuant to the Plan, shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Claim, as reflected on the Cure Notice or as otherwise
agreed or determined by a Final Order of the Bankruptcy Court, in Cash on the Effective Date or
as soon as reasonably practicable thereafter, subject to the limitations described below, or on such
other terms as the parties to such Executory Contract or Unexpire d Leases may otherwise agree.
In the event of a dispute regarding (1) the amount of any Cure Claim (2) the ability of the
Reorganized Debtors or any assignee (including a Buyer), as applicable, to provide “adequate
assurance of future performance” (with the meaning of section 365 of the Bankruptcy Code) under
the Executory Contract or Unexpired Lease to be assumed, or (3) any other matter pertaining to
assumption, the Cure Claims shall be paid following the entry of a Final Order resolving the
dispute and approving the assumption. To the extent the Bankruptcy Court determines that the
amount of a Cure Claim for an Executory Contract or Unexpired Lease is greater than the amount
reflected on the Cure Notice related to such Cure Claim, the Debtors or Post -Effective Date
Debtors shall have the right to reject such Executory Contract or Unexpired Lease and, in such an
instance, shall not be required to pay the Cure Claim.

        At least fourteen (14) days before the Voting Deadline, the Debtors shall distribute, or
cause to be distributed, Cure Notices to the applicable third parties. Any objection by a
counterparty to an Executory Contract or Unexpired Lease to the proposed assumption,
assumption and assignment, or related Cure amount must be Filed by the Cure/Assumption
Objection Deadline. Any counterparty to an Executory Contract or Unexpired Lease that fails to
object timely to the proposed assumption, assumption and assignment, or Cure Notice will be
deemed to have assented to such assumption or assumption and assignment, and Cure amount. To
                                                55
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524     Filed 09/01/20      Page 65 of 136




the extent that the Debtors seek to assume and assign an Unexpired Lease pursuant to the Plan, the
Debtors will identify the assignee in the applicable Cure Notice and/or Schedule and provide
“adequate assurance of future performance” for such assignee (within the meaning of section 365
of the Bankruptcy Code) under the applicable Executory Contract or Unexpired Lease to be
assumed and assigned.

        Assumption or assumption and assignment of any Executory Contract or Unexpired
Lease pursuant to the Plan or otherwise, and the payment of the Cure Claim, shall result in
the full release and satisfaction of any Claims or defaults, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership
interest composition or other bankruptcy related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time before the date that the Debtors assume
or assume and assign such Executory Contract or Unexpired Lease. Any Pr oofs of Claim
Filed with respect to an Executory Contract or Unexpired Lease that has been assumed or
assumed and assigned shall be deemed Disallowed and expunged, without further notice to
or action, order, or approval of the Bankruptcy Court.

                4.      Insurance Policies

        All of the Debtors’ insurance policies and any agreements, documents, or instruments
relating thereto, are treated as and deemed to be Executory Contracts under the Plan. On the
Effective Date, the Post-Effective Date Debtors shall be deemed to have assumed all insurance
policies and any agreements, documents, and instruments related thereto.

                5.      Modifications, Amendments, Supplements, Restatements, or Other
                        Agreements

        Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that
is assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and Executory
Contracts and Unexpired Leases related thereto, if any, includin g easements, licenses, permits,
rights, privileges, immunities, options, rights of first refusal, and any other interests, unless any of
the foregoing agreements has been previously rejected or repudiated or is rejected or repudiated
under the Plan.

                6.      Reservation of Rights

       Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the
Schedule of Rejected Executory Contracts and Unexpired Leases, nor anything contained in the
Plan or any Asset Sale Agreement, shall constitute an admis sion by the Debtors that any such
contract or lease is in fact an Executory Contract or Unexpired Lease or that any Debtor or
Reorganized Debtor has any liability thereunder.

                7.      Nonoccurrence of Effective Date

        If the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
respect to any request to extend the deadline for assuming or rejecting any Executory Contract or
Unexpired Lease pursuant to section 365(d)(4) of the Bankruptcy Code.
                                                56
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524     Filed 09/01/20      Page 66 of 136




                8.         Contracts and Leases Entered Into After the Petition Date

       Contracts and leases entered into in the ordinary course of business after the Petition Date
by any Debtor, including any Executory Contracts and/or Unexpired Leases assumed by such
Debtor, will be performed by the applicable Reorganized Debtor or the Buyer(s), as applicable, in
the ordinary course of its business, and will survive and remain unaffected by entry of the
Confirmation Order, except as provided therein.

        E.      Provisions Governing Distributions

                1.         Timing and Calculation of Amounts to Be Distributed

        Unless otherwise provided in the Plan, on the Effective Date (or, if a Claim is not an
Allowed Claim on the Effective Date, on the date that such Claim becomes Allowed or as soon as
reasonably practicable thereafter), each Holder of an Allowed Claim or Interest shall receive the
full amount of the distributions that the Plan provides for Allowed Claims and Interests in each
applicable Class. In the event that any payment or act under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the
performance of such act may be completed on the next succeeding Business Day, but shall be
deemed to have been completed as of the required date. If and to the extent that there are Disputed
Claims, distributions on account of any such Disputed Claims shall be made pursuant to the
provisions set forth in Article VII of the Plan. Except as otherwise provided in the Plan, Holders
of Claims shall not be entitled to interest, dividends, or accruals on the distributions provided for
in the Plan, regardless of whether such distributions are delivered on or at any time after the
Effective Date.

                2.         Delivery of Distributions and Undeliverable or Unclaimed
                           Distributions

                      i.         Delivery of Distributions in General

        Except as otherwise provided in the Plan (including the subsequent paragraph of Article
VI.B.1 of the Plan), distributions to Holders of Allowed Claims or Interests shall be made to
Holders of record as of the Distribution Record Date by the Reorganized Debtor s: (1) to the
signatory set forth on any Proof of Claim Filed by such Holder or other representative identified
therein (or at the last known addresses of such Holder if no Proof of Claim is Filed or if the Debtors
have been notified in writing of a change of address); (2) at the addresses set forth in any written
notices of address changes delivered to the Reorganized Debtors after the date of any related Proof
of Claim; (3) at the addresses reflected in the Schedules if no Proof of Claim has been Filed an d
the Reorganized Debtors have not received a written notice of a change of address; or (4) on any
counsel that has appeared in the Chapter 11 Cases on such Holder’s behalf. Subject to Article VI
of the Plan, distributions under the Plan on account of Allowed Claims shall not be subject to levy,
garnishment, attachment, or like legal process, so that each Holder of an Allowed Claim shall have
and receive the benefit of the distributions in the manner set forth in the Plan. The Debtors, the
Post-Effective Date Debtors, and the Plan Administrator shall not incur any liability whatsoever
on account of any distributions under the Plan except for gross negligence or willful misconduct.


                                                  57
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 67 of 136




        All Distributions on account of Allowed DIP Lender Claims, Allowed Senior Lender
Claims, and Allowed Junior Lender Claims shall be made to or at the direction of the DIP Agent,
Senior Lien Agent, and Junior Lien Agent, as applicable, for further distribution to the DIP Lenders,
Senior Lenders, and Junior Lenders, as applicable, in accordance with the Plan and the DIP Credit
Agreement, Senior Lien Credit Agreement, and Junior Lien Credit Agreement, as applicable, and
shall be deemed completed when made to or at the direction of the DIP Agent, Senior Lien Agent,
and Junior Lien Agent, as applicable. For the avoidance of doubt: (i) the Reorganized AAC Equity
Interests and New Warrants will be in book entry form only; (ii) the DIP Agent, Senior Lien Agent,
and Junior Lien Agent shall have no liability to any party for actions taken in accordance with the
Plan or in reliance upon information provided to it in accordance with the Plan; and (iii) the
Reorganized Debtors shall reimburse the DIP Agent, Senior Lien Agent, and Junior Lien Agent
for any reasonable and documented fees and expenses (including reasonable and documented
fees and expenses of its counsel and agents) incurred on or after the Effective Date in connection
with the implementation of the Plan, including but not limited to, making distributions pursuant to
and in accordance with the Plan.

                     ii.       No Fractional Distributions

        No fractional shares of Reorganized AAC Equity Interests shall be distributed, and no Cash
shall be distributed in lieu of such fractional shares. When any distribution pursuant to the Plan on
account of an Allowed Claim would otherwise result in the issuance of a number of shares of
Reorganized AAC Equity Interests that is not a whole number, the actual distribution of shares of
Reorganized AAC Equity Interests shall be rounded as follows: (a) fractions of one half or
greater shall be rounded to the next higher whole number and (b) fractions of less than one half
shall be rounded to the next lower whole number with no further payment therefore. The total
number of authorized shares of Reorganized AAC Equity Interests to be distributed pursuant to
the Plan shall be adjusted as necessary to account for the foregoing rounding.

                    iii.       Minimum Distributions

        Holders of Allowed Claims entitled to distributions of $100 or less shall not receive
distributions, and each such Claim shall be discharged pursuant to Article X of the Plan and its
Holder is forever barred pursuant to Article X of the Plan from asserting that Claim against the
Reorganized Debtors or their property.

                    iv.        Undeliverable Distributions and Unclaimed Property

        In the event that any distribution to any Holder is returned as undeliverable, no distribution
to such Holder shall be made unless and until the Reorganized Debtors or the Plan Administrator,
as applicable, have determined the then current address of such Holder, at which time such
distribution shall be made to such Holder without interest; provided, that such distributions shall
be deemed unclaimed property under section 347(b) of the Bankruptcy Code on the date that is six
(6) months after the Effective Date. After such date, all unclaimed property or interests in property
shall revert to the applicable Post-Effective Date Debtor, without need for a further order by the
Bankruptcy Court (notwithstanding any applicable federal or state escheat, abandoned, or
unclaimed property laws to the contrary), and the Claim of any Holder to such property or Interest
in property shall be discharged and forever barred.

                                                 58
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524       Filed 09/01/20      Page 68 of 136




                3.      Registration or Registration Exemption

        If a Reorganization Transaction occurs, the Reorganized AAC Equity Interests and the
New Warrants will be “securities,” as defined in Section 2(a)(1) of the Securities Act, section 101
of the Bankruptcy Code, and applicable state securities laws.

          The offering, distribution, issuance and sale of the Reorganized AAC Equity Interests and
the New Warrants as contemplated by the Plan will be exempt from, among other things, the
registration requirements of Section 5 of the Securities Act and any other applicable U.S. state or
local law requiring registration of the Reorganized AAC Equity Interests and the New Warrants
prior to the offering, issuance, distribution, or sale thereof, to the fullest extent permitted by Section
1145 of the Bankruptcy Code. The Reorganized AAC Equity Interests and the New Warrants
issued pursuant to Section 1145 of the Bankruptcy Code (i) will not be “restricted securities” as
defined in Rule 144(a)(3) under the Securities Act, and (ii) will be freely transferable by any initial
recipient thereof that (a) is not an “affiliate” of the issuer of the Reorganized AAC Equity Interests
as defined in Rule 144(a)(1) under the Securities Act, (b) has not been such an “affiliate” within
90 days of such transfer, and (c) is not an “underwriter” as defined in Section 1145(b) of the
Bankruptcy Code, subject to the applicable restrictions on transfer set forth in the New
Organizational Documents and any applicable regulatory approval.

        The Reorganized AAC Equity Interests or New Warrants issued otherwise than pursuant
to Section 1145 under the Bankruptcy Code, if any (e.g., those issued to a person who is an
“underwriter” as defined in Section 1145(b) of the Bankruptcy Code), will be issued in reliance
upon the exemption from registration set forth in Section 4(a)(2) of the Securities Act or any other
available exemption from registration under the Securities Act, as applicable, and will be
“restricted securities” as defined under Rule 144 under the Securities Act. These securities will be
subject to resale restrictions and may be resold, exchanged, assigned or otherwise transferred only
pursuant to registration under the Securities Act or pursuant to an applicable exemption from
registration under the Securities Act and other applicable law, subject to the applicable restrictions
on transfer set forth in the New Organizational Documents and any applicable regulatory approval.
All persons who receive restricted securities pursuant to the Plan will be requ ired to agree that they
will not offer, sell or otherwise transfer any such shares except in accordance with an applicable
exemption from registration under the Securities Act, and each such person will also be required
to represent that such person is an “accredited investor”, as defined under Rule 501(a) promulgated
under the Securities Act.

                4.      Tax Issues and Compliance with Tax Requirements

        In connection with the Plan, to the extent applicable, the Debtors, the Post-Effective Date
Debtors, or the Plan Administrator, as applicable, shall comply with all tax withholding and
reporting requirements imposed on them by any Governmental Unit, and all distributions pursuant
to the Plan shall be subject to such withholding and reporting requirements. Notwithstanding any
provision in the Plan to the contrary, the Post-Effective Date Debtors or the Plan Administrator,
as applicable, shall be authorized to take all actions necessary or appropriate to comply with such
withholding and reporting requirements, including liquidating a portion of the distribution to be
made under the Plan to generate sufficient funds to pay applicable withholding taxes, withholding


                                                   59
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524    Filed 09/01/20     Page 69 of 136




distributions pending receipt of information necessary to facilitate such distributions, or
establishing any other mechanisms they believe are reasonable and appropriate.

        Property deposited into the various Claim distribution accounts described elsewhere in the
Plan (including the Priority Claims Reserve, Other Secured Claims Reserve, and the General
Account) will be subject to disputed ownership fund treatment under section 1.468B -9 of the
United States Treasury Regulations. All corresponding elections with respect to such accounts
shall be made, and such treatment shall be applied to the extent possible for state, local, and non-
U.S. tax purposes. Under such treatment, a separate federal income tax return shall be filed with
the IRS with respect to such accounts, any taxes (including with respect to interest, if any, or
appreciation in property between the Effective Date and date of distribution) imposed on such
accounts shall be paid out of the assets of such accounts (and reductions shall be made to amounts
disbursed from such accounts to account for the need to pay such taxes).

                5.        Allocations

       Distributions in respect of Allowed Claims shall be allocated first to the principal amount
of such Claims (as determined for federal income tax purposes) and then, to the extent the
consideration exceeds the principal amount of the Claims, to any portion of such Claims for
accrued but unpaid interest as Allowed herein.

                6.        No Postpetition Interest on Claims

        Unless otherwise specifically provided for in an order of the Bankruptcy Court, the Plan,
or the Confirmation Order, or required by applicable bankruptcy law, postpetition interest shall
not accrue or be paid on any Claims and no Holder of a Claim shall be entitled to interest
accruing on or after the Petition Date on any such Claim.

                7.        Setoffs and Recoupment

       The Debtors or the Post-Effective Date Debtors, as applicable, may, but shall not be
required to, set off against or recoup any payments or distributions to be made pursuant to the Plan
in respect of any Claims of any nature whatsoever that the Debtors or the Post -Effective Date
Debtors may have against the claimant, but neither the failure to do so nor the allowance of any
Claim hereunder shall constitute a waiver or release by the Debtors or the Post -Effective Date
Debtors of any such Claim it may have against the Holder of such Claim.

                8.        Claims Paid or Payable by Third Parties

                     i.         Claims Paid by Third Parties

        To the extent that the Holder of an Allowed Claim receives payment in full on account of
such Claim from a party that is not a Debtor or Post-Effective Date Debtor, such Claim shall be
Disallowed without an objection having to be Filed and without any further notice to or action,
order, or approval of the Bankruptcy Court. To the extent a Holder of a Claim receives a distribution
on account of such Claim and receives payment from a party that is not a Debtor or Post-Effective
Date Debtor on account of such Claim, such Holder shall, within 14 days of receipt thereof, repay
or return the distribution to the applicable Debtor or Post-Effective Date Debtor, to the extent the
                                                  60
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524     Filed 09/01/20      Page 70 of 136




Holder’s total recovery on account of such Claim from the third party and under the Plan exceeds
the amount of such Claim as of the date of any such distribution under the Plan. The failure o f such
Holder to timely repay or return such distribution shall result in the Holder owing the applicable
Debtor or Post-Effective Date Debtor annualized interest at the Federal Judgment Rate on such amount
owed for each Business Day after the 14-day grace period specified above until the amount is repaid.

                     ii.         Claims Payable by Third Parties

        No distributions under the Plan shall be made on account of an Allowed Claim that is
payable pursuant to one of the Debtors’ insurance policies until the Holder of such Allowed Claim
has exhausted all remedies with respect to such insurance policy. To the extent that one or more
of the Debtors’ insurers agrees to satisfy in full or in part a Claim (if and to the extent adjudicated
by a court of competent jurisdiction), then immediately upon such insurers’ agreement, the
applicable portion of such Claim may be expunged without a Claims objection having to be Filed
and without any further notice to or action, order, or approval of the Bankruptcy Court.

                     iii.        Applicability of Insurance Policies

        Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall
be in accordance with the provisions of any applicable insurance policy. Notwithstanding anything
herein to the contrary (including, without limitation, Article X of the Plan), nothing shall constitute
or be deemed a release, settlement, satisfaction, compromise, or waiver of any Cause of Action
that the Debtors or any other Entity may hold against any other Entity, including insurers under
any policies of insurance or applicable indemnity, nor shall anything contained herein constitute
or be deemed a waiver by such insurers of any defenses, including coverage defenses, held by such
insurers.

        F.     The Plan Administrator

       The following provisions shall apply only if the Entire Company Asset Sale Trigger
occurs and a Plan Administrator is appointed.

                1.         The Plan Administrator

        The powers of the Plan Administrator shall be set forth in the Plan Administrator
Agreement and shall include any and all powers and authorit y to implement the Plan and to
administer and distribute the Distribution Reserve Accounts and wind down the business and
affairs of the Debtors and Wind-Down Debtors, including: (1) liquidating, receiving, holding,
investing, supervising, and protecting the assets of the Wind-Down Debtors in accordance with the
Wind-Down Reserve; (2) taking all steps to execute all instruments and documents necessary to
effectuate the distributions to be made under the Plan from the Distribution Reserve Accounts in
accordance with the Wind-Down Reserve; (3) making distributions from the Distribution Reserve
Accounts as contemplated under the Plan; (4) establishing and maintaining bank accounts in the
name of the Wind-Down Debtors; (5) subject to the terms set forth herein, employing, retaining,
terminating, or replacing professionals to represent it with respect to its responsibilities or
otherwise effectuating the Plan to the extent necessary; (6) paying all reasonable fees, expenses,
debts, charges, and liabilities of the Wind-Down Debtors; (7) administering and paying taxes of
the Wind-Down Debtors, including filing tax returns; (8) representing the interests of the Wind-
                                                  61
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 71 of 136




Down Debtors or the Estates before any taxing authority in all matters, including any action, suit,
proceeding, or audit; (9) reconciling, objecting to, and resolving Claims in accordance with Article
IX of the Plan, (10) pursuing any Causes of Action included in the Plan Administrator Assets, and
(11) exercising such other powers as may be vested in it pursuant to order of the Bankruptcy Court,
pursuant to the Plan, pursuant to the Plan Administrator Agreement, or as it reasonably deems to
be necessary and proper to carry out the provisions of the Plan in accordance with the Wind -Down
Reserve.

         The Plan Administrator may resign at any time upon 30 days’ written notice delivered to
the Consenting Lenders and the Bankruptcy Court; provided that such resignation shall only
become effective upon the appointment of a permanent or interim successor Plan Administrator,
to be chosen by the Consenting Lenders. Upon appointment, the successor Plan Administrator,
without any further act, shall become fully vested with all of the rights, powers, duties, and
obligations of its predecessor and all responsibilities of the predecessor Plan Administrator relating
to the Wind-Down Debtors shall be terminated.

                      i.       Plan Administrator Rights and Powers

       The Plan Administrator shall retain and have all the rights, powers, and duties necessary to
carry out his or her responsibilities under the Plan in accordance with the Wind-Down Reserve,
and as otherwise provided in the Confirmation Order. The Plan Administrator shall be the
representative of the Estates appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code.

                     ii.       Wind-Down Budget

        The Debtors shall include in the Plan Supplement, in form and substance satisfactory to
the Required Consenting Lenders, a statement of cash receipts and disbursements (which shall
include the funding of the Distribution Reserve Accounts and the Professional Fee Escrow
Account) and amount of Senior Lender Claims, if any, and Junior Lender Claims outstanding for
the Wind-Down, setting forth on a weekly basis, the anticipated uses of the Distributable Proceeds
(the “Wind-Down Budget”, as may be updated, amended or modified from time to time with the
written consent of the Requisite Consenting Lenders).

                    iii.       Retention of Professionals

        The Plan Administrator shall have the right, subject to the Wind-Down Reserve, to retain
the services of attorneys, accountants, and other professionals that, in the discretion of the Plan
Administrator, are necessary to assist the Plan Administrator in the performance of his or her
duties. The reasonable fees and expenses of such professionals shall be paid by the Wind -Down
Debtors from the Wind-Down Reserve upon the monthly submission of statements to the Plan
Administrator to the extent set forth in the Wind-Down Reserve. The payment of the reasonable
fees and expenses of the Plan Administrator’s retained professionals shall be made in the ordinary
course of business from the Wind-Down Reserve and shall not be subject to the approval of the
Bankruptcy Court.




                                                 62
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524    Filed 09/01/20     Page 72 of 136




                     iv.         Compensation of the Plan Administrator

        The Plan Administrator shall have the right, subject to the Wind-Down Reserve, to retain
the services of attorneys, accountants, and other professionals that, in the discretion of the Plan
Administrator, are necessary to assist the Plan Administrator in the performance of his or her
duties. The reasonable fees and expenses of such professionals shall be paid by the Wind-Down
Debtors from the Wind-Down Reserve upon the monthly submission of statements to the Plan
Administrator to the extent set forth in the Wind-Down Reserve. The payment of the reasonable
fees and expenses of the Plan Administrator’s retained professionals shall be made in the ordinary
course of business from the Wind-Down Reserve and shall not be subject to the approval of the
Bankruptcy Court.

                     v.          Plan Administrator Expenses

        All costs, expenses and obligations incurred by the Plan Administrator in administering the
Plan, the Wind-Down Debtors, or in any manner connected, incidental or related thereto, in
effecting distributions from the Wind-Down Debtors thereunder (including the reimbursement of
reasonable expenses) shall be incurred and paid in accordance with the Wind-Down Budget. Such
costs, expenses and obligations shall be paid from the Wind-Down Reserve.

        The Debtors and the Plan Administrator, as applicable, shall not be required to give any
bond or surety or other security for the performance of its duties unless otherwise ordered by the
Bankruptcy Court. However, in the event that the Plan Administrator is so ordered after the
Effective Date, all costs and expenses of procuring any such bond or surety shall be paid for with
Cash from the Wind-Down Reserve.

                2.         Wind-Down

        On and after the Effective Date, the Plan Administrator will be authorized to implement
the Plan and any applicable orders of the Bankruptcy Court, and the Plan Administrator shall have
the power and authority to take any action necessary to wind down and dissolve the Debtors’
Estates.

        As soon as practicable after the Effective Date, the Plan Administrator shall: (1) cause the
Debtors and the Wind-Down Debtors, as applicable, to comply with, and abide by, the terms of
the Entire Company Asset Sale Agreements and any other documents contemplated thereby; (2)
to the extent applicable, file a certificate of dissolution or equivalent document, together with all
other necessary corporate and company documents, to effect the dissolution of the Debtors under
the applicable laws of their state of incorporation or formation (as applicable); and (3) take such
other actionsas the Plan Administrator may determine to be necessary or desirable to carry out the
purposes of the Plan. The filing of the final monthly report (for the month in which the Effective
Date occurs) and all subsequent quarterly reports shall be the responsibility of the Plan
Administrator.

                3.         Exculpation, Indemnification, Insurance & Liability Limitation

        The Plan Administrator and all professionals retained by the Plan Administrator, each in
their capacities as such, shall be deemed exculpated and indemnified, except for fraud, willful
                                               63
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 73 of 136




misconduct, or gross negligence, in all respects by the Wind-Down Debtors. The Plan
Administrator may obtain, at the expense of the Wind-Down Debtors and with funds from the
Wind-Down Reserve, commercially reasonable liability or other appropriate insurance with
respect to the indemnification obligations of the Wind-Down Debtors. The Plan Administrator
may rely upon written information previously generated by the Debtors.

         For the avoidance of doubt, notwithstanding anything to the contrary contained herein, the
Plan Administrator in its capacity as such, shall have no liability whatsoever to any party for the
liabilities and/or obligations, however created, whether direct or indirect, in tort, contract, or
otherwise, of the Debtors.

                4.     Tax Returns

         After the Effective Date, the Plan Administrator shall complete and file all final or
otherwise required federal, state, and local tax returns for each of the Debtors, and, pursuant to
section 505(b) of the Bankruptcy Code, may request an expedited determination of any unpaid tax
liability or refunds due each of such Debtor or its Estate for any tax incurred during the
administration of such Debtor’s Chapter 11 Case, as determined under applicable tax laws.

                5.     Dissolution of the Wind-Down Debtors

        At any time the Plan Administrator determines that the expense of administering t he Wind-
Down Debtors so as to make a final distribution to Holders of Claims is likely to exceed the value
of the assets remaining for such distribution, the Plan Administrator may (i) reserve any amount
necessary to close the Chapter 11 Cases and dissolve and otherwise wind down the Wind-Down
Debtors and (ii) donate any balance to a charitable organization that is unrelated to the Debtors,
the Plan Administrator, and any insider of the Plan Administrator.

        Upon a certification to be Filed with the Bankruptcy Court by the Plan Administrator of all
distributions having been made and completion of all its duties under the Plan and entry of a final
decree closing the last of the Chapter 11 Cases, the Wind -Down Debtors shall be deemed to be
dissolved without any further action by the Wind-Down Debtors, including the filing of any
documents with the secretary of state for the state in which each Wind-Down Debtor is formed or
any other jurisdiction. The Plan Administrator, however, shall have authority to take all necessary
actions to dissolve the Wind-Down Debtors in and withdraw the Wind-Down Debtors from
applicable state(s).

        G.     Reserves Administered by the Plan Administrator

        The following provisions shall apply only if the Entire Company Asset Sale Trigger occurs
and a Plan Administrator is appointed; provided, however, that in the case of a Reorganization
Transaction, if the Debtors or Reorganized Debtors, with the consent of the Requisite Consenting
Lenders, determine that they are required, or that it is necessa ry, to establish any of the reserves
set forth in Article VIII of the Plan, the Reorganized Debtors (rather than a Plan Administrator)
shall administer such reserves in the manner established by Article VIII of the Plan.



                                                 64
ACTIVE 52312155v1
             Case 20-11648-JTD           Doc 524    Filed 09/01/20      Page 74 of 136




                1.          Establishment of Reserve Accounts

        The Plan Administrator shall establish each of the Distribution Reserve Accounts (which
may be affected by either establishing a segregated account or establishing book entry accounts,
in the sole discretion of the Plan Administrator).

                2.          Undeliverable Distribution Reserve

                       i.         Deposits

        If a distribution to any Holder of an Allowed Claim is returned to the Plan Administrator
as undeliverable or is otherwise unclaimed, such distribution shall be deposited in a segregated,
interest-bearing account, designated as an “Undeliverable Distribution Reserve,” for the benefit of
such Holder until such time as such distribution becomes deliverable, is claimed or is deemed to
have been forfeited in accordance with Article VIII.B.2 of the Plan.

                     ii.          Forfeiture

         Any Holder of an Allowed Claim that does not assert a Claim pursuant to th e Plan for an
undeliverable or unclaimed distribution within three months after the first distribution is made to
such Holder shall be deemed to have forfeited its claim for such undeliverable or unc laimed
distribution and shall be forever barred and enjoined from asserting any such claim for the
undeliverable or unclaimed distribution against any Debtor, any Estate, the Plan Administrator,
the Wind-Down Debtors, or their respective properties or assets. In such cases, any Cash or other
property held by the Wind-Down Debtors in the Undeliverable Distribution Reserve for
distribution on account of such claims for undeliverable or unclaimed distributions, including the
interest that has accrued on such undeliverable or unclaimed distribution while in the
Undeliverable Distribution Reserve, without any further action or order of the Bankruptcy Court
shall promptly be transferred to the General Account to be distributed according to the priority set
forth in Article VIII.F of the Plan, notwithstanding any federal or state escheat laws to the contrary.

                     iii.         Disclaimer

       The Plan Administrator and his or her respective agents and attorneys are under no duty to
take any action to attempt to locate any Claim Holder; provided that in his or her sole discretion,
the Plan Administrator may periodically publish notice of unclaimed distributions.

                     iv.          Distribution from Reserve

        Within fifteen (15) Business Days after the Holder of an Allowed Claim satisfies the
requirements of the Plan, such that the distribution(s) attributable to its Claim is no longer an
undeliverable or unclaimed distribution (provided that satisfaction occurs within the time limits
set forth in Article VIII.B of the Plan), the Plan Administrator shall distribute out of the
Undeliverable Distribution Reserve the amount of the undeliverable or unclaimed distribution
attributable to such Claim, including the interest that has accrued on such undeliverable or
unclaimed distribution while in the Undeliverable Distribution Reserve, to the General Account.


                                                   65
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 75 of 136




                3.     Wind-Down Reserve

        On the Effective Date, the Plan Administrator shall establish the Wind -Down Reserve by
depositing Cash, in the amount of the Wind-Down Amount into the Wind-Down Reserve. The
Wind-Down Reserve shall be used by the Plan Administrator solely to satisfy the expenses of
Wind-Down Debtors and the Plan Administrator as set forth in the Plan and Wind-Down Budget;
provided that all costs and expenses associated with the winding up of the Wind -Down Debtors
and the storage of records and documents shall constitute expenses of the Wind -Down Debtors
and shall be paid from the Wind-Down Reserve to the extent set forth in the Wind-Down Budget.
In no event shall the Plan Administrator be required or permitted to u se personal funds or assets
for such purposes. Any amounts remaining in the Wind-Down Reserve after payment of all
expenses of the Wind-Down Debtors and the Plan Administrator shall promptly be transferred to
the General Account and shall be distributed according to the priority set forth in Article VIII.F of
the Plan without any further action or order of the Bankruptcy Court.

                4.     Priority Claims Reserve

        On the Effective Date, the Plan Administrator shall establish the Priority Claims Reserve
by depositing Cash in the amount of the Priority Claims Reserve Amount into the Priority Claims
Reserve. The Priority Claims Reserve Amount shall be used to pay Holders of all Allowed Priority
Claims and Allowed Administrative Claims to the extent that such Priority Claims and
Administrative Claims have not been paid in full on or before the Effective Date. If all or any
portion of a Priority Claim or Administrative Claim shall become a Disallowed Claim, then the
amount on deposit in the Priority Claims Reserve attributable to such surplus or such Disallowed
Claim, including the interest that has accrued on said amount while on deposit in the Priority
Claims Reserve, shall remain in the Priority Claims Reserve to the extent that the Plan
Administrator determines necessary to ensure that the Cash remaining in the Priority Claims
Reserve is sufficient to ensure that all Allowed Priority Claims and Allowed Administrative
Claims will be paid in accordance with the Plan, and shall otherwise promptly be transferred to
the General Account to be distributed in accordance with the Plan without any further action or
order of the Bankruptcy Court. Any amounts remaining in the Priority Claims Reserve after
payment of all Allowed Priority Claims and Allowed Administrative Claims shall prom ptly be
transferred to the General Account and shall be distributed according to the priority set forth in
Article VIII.F of the Plan without any further action or order of the Bankruptcy Court.

                5.     Other Secured Claim Reserve

       On the Effective Date, the Plan Administrator shall establish the Other Secured Claims
Reserve by depositing Cash in the amount of the Other Secured Claims Reserve Amount into the
Other Secured Claims Reserve. The Other Secured Claims Reserve Amount shall be used to pay
Allowed Other Secured Claims. If all or any portion of an Other Secured Claim shall become a
Disallowed Claim, then the amount on deposit in the Other Secured Claims Reserve attributable
to such surplus or such Disallowed Claim, including the interest that has accrued on said amount
while on deposit in the Other Secured Claims Reserve, shall remain in the Other Secured Claims
Reserve to the extent that the Plan Administrator determines necessary to ensure that the Cash
remaining in the Other Secured Claims Reserve is sufficient to ensure that all Allowed Other
Secured Claims will be paid in accordance with the Plan, and shall otherwise promptly be
                                                 66
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524     Filed 09/01/20      Page 76 of 136




transferred to the General Account to be distributed in accordance with the Plan without any furt her
action or order of the Bankruptcy Court. Any amounts remaining in the Other Secured Claims
Reserve after satisfaction of all Allowed Other Secured Claims shall promptly be transferred to
the General Account and shall be distributed according to the priority set forth in Article VIII.F of
the Plan without any further action or order of the Bankruptcy Court.

                6.     Distributable Proceeds/Waterfall Recovery

        All Distributable Proceeds shall be allocated and paid to the applicable Holders of Claims in
the following priority (in each case on a Pro Rata basis): (i) first, on account of Allowed DIP Lender
Claims until Paid in Full; (ii) second, on account of Allowed Senior Lender Claims until Paid in
Full; (iii) third, on account of Allowed Junior Lender Secured Claims until Paid in Full; and (iv)
fourth, on account of Allowed General Unsecured Claims (the “Waterfall Recovery”).

                7.     The General Account and Distribution Reserve Account Adjustments

         Beginning on the six-month anniversary of the Effective Date or at such other times as the
Plan Administrator shall determine is appropriate, and thereafter, on each six -month interval or
such other interval as the Plan Administrator shall determine is appropriate, the Plan Administr ator
shall determine the amount of Cash required to adequately maintain each of the Distribution
Reserve Accounts. If after making and giving effect to any determination referred to in the
immediately preceding sentence, the Plan Administrator determines that any Distribution Reserve
Account (i) contains Cash in an amount in excess of the amount then required to adequately
maintain such Distribution Reserve Account, then at any such time the Plan Administrator shall
transfer such surplus Cash to the General Account to be used or distributed according to the priority
set forth in Article VIII.F thereof, or (ii) does not contain Cash in an amount sufficient to adequately
maintain such Distribution Reserve Account, then at any such time the Plan Administrator shall,
with the consent of the Required Consenting Lenders, transfer Cash from the General Account, to
the extent Cash is available in the General Account until the deficit in such Distribution Reserve
Account is eliminated. Any funds in the General Account not needed to eliminate a Distribution
Reserve Account deficit shall be allocated and paid as Distributable Proceeds pursuant to the
Waterfall Recovery as set forth in Article VIII.F of the Plan.
                8.     GUC Disputed Claims Reserve

         To the extent that there are sufficient Distributable Proceeds pursuant to the Waterfall
Recovery to make one or more distributions to Holders of Allowed General Unsecured Claims,
the Plan Administrator shall establish, for the benefit of each holder of a Disputed General
Unsecured Claim, the GUC Disputed Claims Reserve consisting of Cash in an amount equal to the
Pro Rata share of distributions that would have been made to the holder of such Disputed General
Unsecured Claim if it were an Allowed General Unsecured Claim in an amount equal to the lesser
of (i) the liquidated amount set forth in the filed Proof of Claim relating to such Disputed General
Unsecured Claim or if no Proof of Claim has been filed the liquidated amount set forth in the
Schedules, (ii) the amount in which the Disputed General Unsecured Claim has been estimated by
the Bankruptcy Court pursuant to section 502 of the Bankruptcy Code as constituting and
representing the maximum amount in which such Claim may ultimately become an Allowed
General Unsecured Claim or (iii) such other amount as may be agreed upon by the holder of such

                                                  67
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 77 of 136




Disputed General Unsecured Claim and the Plan Administrator. Amounts held in the GUC
Disputed Claims Reserve shall be retained by the Wind Down Debtors for the benefit of holders
of Disputed General Unsecured Claims pending determination of their entitlement thereto under
the terms of the Plan. No payments or distributions shall be made with respect to all or any portion
of any Disputed General Unsecured Claim pending the entire resolution thereof by Final Order.

        At such time as a Disputed General Unsecured Claim becomes an Allowed General
Unsecured Claim, the Plan Administrator shall distribute to the holder thereof the distributions, if
any, to which such holder is then entitled under the Plan. Such distribution, if any, shall be made
as soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court
allowing such Disputed General Unsecured Claim becomes a Final Order.

        If a Disputed General Unsecured Claim is Disallowed, in whole or in part, the Plan
Administrator shall distribute amounts held in the GUC Disputed Claims Reserve with respect to
such Claim (or, if Disallowed in part, the amounts held in the GUC Disputed Claims Reserve with
respect to the Disallowed portion of such Claim) to the General Account.

        H.     Procedures for Resolving Contingent, Unliquidated, and Disputed Claims

                1.     Allowance of Claims

        After the Effective Date, the Plan Administrator or each of the Reorganized Debtors, as
applicable, shall have and retain any and all rights and defenses the applicable Debtor had with
respect to any Claim immediately before the Effective Date. Except as expressly provided in the
Plan or in any order entered in the Chapter 11 Cases before the Effective Date (including the
Confirmation Order), no Claim shall become an Allowed Claim unless and until such Claim is
deemed Allowed under the Plan or the Bankruptcy Code, or the Bankruptcy Court has entered a
Final Order, including the Confirmation Order (when it becomes a Final Order), in the Chapter 11
Cases allowing such Claim.

                2.     Claims Administration Responsibilities

        Except as otherwise specifically provided in the Plan and notwithstanding any
requirements that may be imposed pursuant to Bankruptcy Rule 9019, after the Effect ive Date, the
Plan Administrator or the Reorganized Debtors, as applicable, shall have the sole authority to File
and prosecute objections to Claims, and the Plan Administrator or Reorganized Debtors, as
applicable, shall have the sole authority to (1) settle, compromise, withdraw, litigate to judgment,
or otherwise resolve objections to any and all Claims, regardless of whether such Claims are in a
Class or otherwise; (2) settle, compromise, or resolve any Disputed Claim without any further
notice to or action, order, or approval by the Bankruptcy Court; and (3) administer and direct the
adjustment of the Claims Register to reflect any such settlements or compromises without any
further notice to or action, order, or approval by the Bankruptcy Court.

                3.     Estimation of Claims

       Before, on, or after the Effective Date, the Debtors, Plan Administrator or the Reorganized
Debtors, as applicable, may (but are not required to) at any time request that the Bankruptcy Court
estimate any Claim pursuant to applicable law, including, without limitation, pursuant to section
                                                 68
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524     Filed 09/01/20      Page 78 of 136




502(c) of the Bankruptcy Code for any reason, regardless of whether any party previously has
objected to such Claim or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and 1334 to estimate any such
Claim, including during the litigation of any objection to any Claim or during the pendency of any
appeal relating to such objection. Notwithstanding any provision to the contr ary in the Plan, a
Claim that has been expunged from the Claims Register, but that either is subject to appeal or has
not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless
otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any
Claim, such estimated amount shall constitute a maximum limitation on such Claim for all
purposes under the Plan (including for purposes of distributions and discharge) and may be used
as evidence in any supplemental proceedings, and the Debtors, Plan Administrator or Reorganized
Debtors, as applicable, may elect to pursue any supplemental proceedings to object to any ultimate
distribution on such Claim. Each of the foregoing Claims and objection, estimat ion, and resolution
procedures are cumulative and not exclusive of one another. Claims may be estimated and
subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by the
Bankruptcy Court.

                4.     Adjustment to Claims Without Objection

        Any Claim that has been paid or satisfied, or any Claim that has been amended or
superseded, may be adjusted or expunged on the Claims Register as directed by the Debtors, the
Plan Administrator or the Reorganized Debtors, as applicable, without an objecti on having to be
Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

                5.     Time to File Objections to Claims

        Any objections to Claims shall be Filed on or before the Claims Objection Bar Date.

                6.     Disallowance of Claims

        Any Claims held by Entities from which property is recoverable under sections 542, 543,
550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under sections
522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, shall be deemed
Disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of such Claims may
not receive any distributions on account of such Claims until such time as such Causes of Action
against that Entity have been settled or a Bankru ptcy Court order with respect thereto has been
entered and all sums due, if any, to the Debtors by that Entity have been turned over or paid to the
Debtors, the Plan Administrator or the Reorganized Debtors, as applicable. All Proofs of Claim
Filed on account of an Indemnification Obligation shall be deemed satisfied and expunged from
the Claims Register as of the Effective Date to the extent such Indemnification Obligation is
assumed (or honored or reaffirmed, as the case may be) pursuant to the Plan, without any further
notice to or action, order, or approval of the Bankruptcy Court.

        Except as otherwise provided herein or as agreed to by the Plan Administrator or the
Reorganized Debtors, as applicable, any and all Proofs of Claim Filed after the Claims Bar Date
shall be deemed Disallowed and expunged as of the Effective Date without any further notice to
or action, order, or approval of the Bankruptcy Court, and Holders of such Claims may not receive

                                                69
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524     Filed 09/01/20      Page 79 of 136




any distributions on account of such Claims, unless such late Proof of Claim has been deemed
timely Filed by a Final Order.

                7.     Amendments to Claims

       On or after the Effective Date, a Claim may not be Filed or amended without the prior
authorization of the Bankruptcy Court, or by agreement with the Plan Administra tor or the
Reorganized Debtors, as applicable, and any such new or amended Claim Filed shall be deemed
Disallowed in full and expunged without any further notice to or action, order, or approval of the
Bankruptcy Court to the maximum extent provided by app licable law, unless otherwise ordered
by the Bankruptcy Court.

                8.     No Distributions Pending Allowance

       If an objection to a Claim or portion thereof is Filed, no payment or distribution provided
under the Plan shall be made on account of such Claim or portion t hereof unless and until such
Disputed Claim becomes an Allowed Claim or unless otherwise determined by the Plan
Administrator or Reorganized Debtors, as applicable.

                9.     Distributions After Allowance

        To the extent that a Disputed Claim ultimately becomes an All owed Claim, distributions
shall be made to the Holder of such Allowed Claim in accordance with the provisions of the Plan.
As soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court
allowing any Disputed Claim becomes a Final Order, the Reorganized Debtors shall provide to the
Holder of such Claim the distribution to which such Holder is entitled under the Plan as of the
Effective Date, less any previous distribution (if any) that was made on account of the undisputed
portion of such Claim, without any interest, dividends, or accruals to be paid on account of such
Claim unless required under applicable bankruptcy law or as otherwise provided herein.

        I.      Settlement, Release, Injunction, and Related Provisions

                1.     Compromise and Settlement of Claims, Interests, and Controversies

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and in
consideration for the distributions and other benefits provided pursuant to the Plan, the provisions
of the Plan shall constitute a good-faith compromise and settlement of all Claims, Interests, and
controversies relating to the contractual, legal, and subordination rights that a Holder of a Claim
or Interest may have, or any distribution to be made on account of suc h Allowed Claim or Allowed
Interest. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
the compromise or settlement of all Claims, Interests, and controversies, as well as a finding by
the Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors,
their Estates, and Holders of Claims and Interests and is fair, equitable, and reasonable. In
accordance with the provisions of the Plan, pursuant to Bankruptcy Rule 9019, without any further
notice to or action, order, or approval of the Bankruptcy Court, after the Effective Date, the Post-
Effective Date Debtors, as applicable, may compromise and settle any Claims and Causes of
Action against other Entities.

                                                70
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524      Filed 09/01/20      Page 80 of 136




                2.      Discharge of Claims and Termination of Interests

         To the maximum extent provided by section 1141(d) of the Bankruptcy Code, and except
as otherwise specifically provided in the Plan or in any contract, instrument, or other agreement or
document created pursuant to the Plan (including the Exit Facility Documents and the New
Organizational Documents, as applicable): (a) the distributions, rights, and treatment that are
provided in the Plan shall be in complete satisfaction, discharge, and release, effective as of the
Effective Date, of any and all Claims (including any Intercompany Claims resolved or
compromised (consistent with the Reorganization Transaction) after the Effective Date by the
Post-Effective Date Debtors), Interests (including any Intercompany Interests reinstated or
cancelled and released (consistent with the Reorganization Transaction) after the Effective Date
by the Post-Effective Date Debtors), and Causes of Action against the Debtors of any nature
whatsoever including demands, liabilities, and Causes of Action that arose before the Effective
Date, any liability to the extent such liability relates to services performed by employees of the
Debtors prior to the Effective Date and that arises from a termination of employment, any contingent
or non-contingent liability on account of representations or warranties issued on or before the
Effective Date, all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
Bankruptcy Code, any interest accrued on Claims or Interests from and after the Petition Date, and
all other liabilities against, liens on, obligations of, rights against, and Interests in, the Debtors or
any of their assets or properties, (b) the Plan shall bind all holders of Claims and Interests, (c) all
Claims and Interests shall be satisfied, discharged, and released in full, and the Debtors’ liability
with respect thereto shall be extinguished completely, including any liability of the kind specified
under section 502(g) of the Bankruptcy Code, and (d) all Entities shall be precluded from asserting
against the Debtors, their respective Estates, the Post-Effective Date Debtors, their successors
and assigns, and its assets and properties any other Claims or Interests based upon any documents,
instruments, or any act or omission, transaction, or other activity of any kind or nature that occurred
prior to the Effective Date, in each case regardless of whether or not: (i) a Proof of Claim based
upon such debt or right is filed or deemed filed pursuant to section 501 of the Bankruptcy Code;
(ii) a Claim or Interest based upon such debt, right, or Interest is Allowed pursuant to section 502 of
the Bankruptcy Code; (iii) the Holder of such a Claim or Interest has accepted, rejected or failed
to vote to accept or reject the Plan; or (iv) any property shall have been distributed or retained
pursuant to the Plan on account of such Claims and Interests. Any default by the Debtors or their
Affiliates with respect to any Claim or Interest that existed immediately prior to or on account of
the filing of the Chapter 11 Cases shall be deemed cured on the Effective Date. The Confirmation
Order shall be a judicial determination of the discharge of all Claims and Interests subject to the
occurrence of the Effective Date.

                3.      Term of Injunctions or Stays

        Unless otherwise provided in the Plan or the Confirmation Order, all injunctions or stays
in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or
stays contained in the Plan or the Confirmation Order) shall remain in full force and effect until
the Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall
remain in full force and effect in accordance with their terms.


                                                   71
ACTIVE 52312155v1
             Case 20-11648-JTD       Doc 524     Filed 09/01/20     Page 81 of 136




                4.    Release of Liens

        Except as otherwise specifically provided in the Plan (including, without limitation
the satisfaction of the DIP Lender Claims in accordance with Article II.C of the Plan), the
Exit Facility Documents, or in any contract, instrument, release, or other agreement or
document created pursuant to the Plan, on the Effective Date and concurrently with the
applicable distributions made pursuant to the Plan, all mortgages, deeds of trust, Liens,
pledges, or other security interests against any property of the Estates shall be fully released
and discharged, and all of the right, title, and interest of any Holder of such mortgages, deeds
of trust, Liens, pledges, or other security interests shall revert to the Post -Effective Date
Debtors and their successors and assigns, in each case, without any further approval or order
of the Bankruptcy Court and without any action or Filing being required to be made by the
Debtors or Reorganized Debtors. The DIP Agent, Senior Lien Agent, and Junior Lien Agent
shall execute and deliver all documents reasonably requested by the Post-Effective Date
Debtors or the agent(s) under the Exit Facility to evidence the release of such mortgages,
deeds of trust, Liens, pledges, and other security interests and shall authorize the Post-
Effective Date Debtors to file UCC-3 termination statements (to the extent applicable) with
respect thereto.

                5.    Debtor Release

        Notwithstanding anything contained in the Plan to the contrary, pursuant to section
1123(b) of the Bankruptcy Code, for good and valuable consideration, on and after the
Effective Date, each Released Party is deemed forever released, waived, and discharged by
the Debtors, Post-Effective Date Debtors, and their respective Estates, in each case on behal f
of themselves and their respective successors, assigns, and representatives, and any and all
other entities who may purport to assert any cause of action, by, through, for, or because of
the foregoing entities, from any and all claims and Causes of Actio n, whether known or
unknown, liquidated or unliquidated, fixed or contingent, matured or unmatured, foreseen
or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, including any
derivative claims asserted or assertable on behalf of the Debtors or their respective Estates,
that the Debtors, Post-Effective Date Debtors, or their respective Estates would have been
legally entitled to assert in its own right (whether individually or collectively) or on behalf of
the Holder of any Claim against, or Interest in the Debtors based on or relating to, or in any
manner arising from, in whole or in part, the Debtors (including the management,
ownership, or operation thereof), any securities issued by the Debtors and the ownership
thereof, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions (but
excluding Avoidance Actions brought as counterclaims or defenses to Claims asserted
against the Debtors), any intercompany transaction, the DIP Loan Documents, the Senior
Lien Loan Documents, the Junior Lien Loan Documents, the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation, or filing of the Restructuring Support
Agreement, the Disclosure Statement, the DIP Facility, the Plan, the Plan Supplement or any
Asset Sale, solicitation of votes on the Plan, the prepetition negotiation and settlement of
Claims, the pursuit of confirmation, the pursuit of consummation, the administration and
implementation of the Plan, including the issuance or distribution of debt a nd/or securities
pursuant to the Plan, or the distribution of property under the Plan or any other related
agreement, or upon any other related act or omission, transaction, agreement, event, or other
                                               72
ACTIVE 52312155v1
             Case 20-11648-JTD       Doc 524     Filed 09/01/20     Page 82 of 136




occurrence taking place on or before the Effective Date except for Claims related to any act
or omission that is determined in a final order by a court of competent jurisdiction to have
constituted actual fraud, willful misconduct, knowing violation of law or gross negligence,
but in all respects such Entities shall be entitled to reasonably rely upon the advice of counsel
with respect to their duties and responsibilities pursuant to the Plan (collectively, the “ Debtor
Release”). Notwithstanding anything to the contrary in the foregoing, the releases set forth
above do not release any post-Effective Date obligations of any party or Entity under the
Plan, the Asset Sales, or any document, instrument, or agreement (including the
Restructuring Documents, and other documents, instruments and agreements set forth in
the Plan Supplement) executed to implement the Plan and shall not result in a release,
waiver, or discharge of any of the Debtors’ or Post-Effective Date Debtors’ assumed
indemnification provisions as set forth in the Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute
the Bankruptcy Court’s finding that the Debtor Release is: (a) in exchange for the good and
valuable consideration provided by the Released Parties, including, without limitation, the
Released Parties’ contributions to facilitating the restructuring and implementing the Plan,
including with respect to a Restructuring Transaction and Asset Sales, as applicable; a good
faith settlement and compromise of the Claims released by the Debtor Release; in the best
interests of the Debtors and all Holders of Claims and Interests; (d) fai r, equitable, and
reasonable; (e) given and made after due notice and opportunity for hearing; and (f) a bar
to any of the Debtors, Post-Effective Date Debtors, or the Debtors’ respective Estates
asserting any Claim or Cause of Action released pursuant to the Debtor Release.

     IF THE PLAN IS CONFIRMED AND THIS DEBTOR RELEASE IS APPROVED
AS PROPOSED, THEN TO THE EXTENT HOLDERS OF CLAIMS OR INTERESTS
HAVE ANY DERIVATIVE CLAIMS OR CAUSES OF ACTION AGAINST THE
RELEASED PARTIES THAT ARE ASSERTED OR ASSERTABLE ON BEHALF OF
THE DEBTORS OR THEIR RESPECTIVE ESTATES, SUCH DERIVATIVE CLAIMS
AND CAUSES OF ACTION WOULD BE RELEASED.

                6.    Release by Holders of Claims or Interests

        Notwithstanding anything contained in the Plan to the contrary, as of the Effective
Date, and to the fullest extent allowed by applicable law, each Releasing Party is deemed to
have forever released, waived, and discharged each of the Debtors, Reorganized Debtors,
and Released Party from any and all Claims and Causes of Action, whether known or
unknown, including any derivative claims asserted or assertable on behalf of the Debtors or
their respective Estates, that such Entity would have been legally entitled to assert (whether
individually or collectively), based on or relating to, or in any manner arising from, in whole
or in part, the Debtors (including the management, ownership, or operation thereof), any
securities issued by the Debtors and the ownership thereof, the Debtors’ in - or out-of-court
restructuring efforts, any Avoidance Actions (but excluding Avoidance Actions brought as
counterclaims or defenses to Claims asserted against the Debtors), any intercompany
transaction, the DIP Loan Documents, Senior Lien Loan Documents, the Junior Lien Loan
                                               73
ACTIVE 52312155v1
             Case 20-11648-JTD       Doc 524     Filed 09/01/20    Page 83 of 136




Documents, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation,
or filing of the Restructuring Support Agreement, the Disclosure Statement, the DIP Facility,
the Plan, the Plan Supplement or any Asset Sale, solicitation of votes on the Plan, the
prepetition negotiation and settlement of Claims, the pursuit of confirmation, the pursuit of
consummation, the administration and implementation of the Plan, including the issuance
or distribution of debt and/or securities pursuant to the Plan, or the distribution of property
under the Plan or any other related agreement, or upon any other related act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective
Date, except for Claims related to any act or omission that is determined in a final order by
a court of competent jurisdiction to have constituted actual fraud, willful misconduct,
knowing violation of law or gross negligence, but in all respects such Entities shall be entitled
to reasonably rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan (the “Third Party Release”). Notwithstanding anything to the contrary
in the foregoing, the releases set forth above do not release (1) any post -Effective Date
obligations of any party or Entity under the Plan, the Asset Sales, or any document,
instrument, or agreement (including the Restructuring Documents, and other documents,
instruments, and agreements set forth in the Plan Supplement) executed to implement the
Plan and (2) any indemnification obligations of the Term Loan Lenders owed to the Term
Loan Agent pursuant to the Term Loan Credit Agreement and shall not result in a release,
waiver, or discharge of any of the Debtors’ or Post-Effective Date Debtors’ assumed
indemnification provisions as set forth in the Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference
each of the related provisions and definitions contained in the Plan , and, further, shall
constitute the Bankruptcy Court’s finding that the Third-Party Release is: (a) consensual;
(b) essential to the confirmation of the Plan; (c) given in exchange for the good and valuable
consideration provided by the Released Parties, including, without limitation, the Released
Parties’ contributions to facilitating the restructuring and implementing the Plan, including
with respect to a Restructuring Transaction and Asset Sales, as applicable; a good faith
settlement and compromise of the Claims released by the Third-Party Release; in the best
interests of the Debtors and their respective Estates; (f) fair, equitable, and reasonable; (g)
given and made after due notice and opportunity for hearing; and (h) a bar to any of the
Releasing Parties asserting any Claim or Cause of Action released pursuant to the Third -
Party Release.

                7.    Exculpation

       Notwithstanding anything contained in the Plan to the contrary, no Exculpated Party
shall have or incur liability for, and each Exculpated Party is released and exculpated from,
any Cause of Action or any claim related to any act or omission in connection with, relating
to, or arising out of, the Chapter 11 Cases, the formulation, preparation, dissemination,
negotiation, or filing of the Restructuring Support Agreement, the Disclosure Statement, the
DIP Facility, the Plan, the Plan Supplement or any Asset Sale, solicitation of votes on the
Plan, the prepetition negotiation and settlement of Claims, the pursuit of confirmation, the
pursuit of consummation, the administration and implementation of the Plan, including the
issuance or distribution of debt and/or securities pursuant to the Plan, or the distribution of
                                               74
ACTIVE 52312155v1
             Case 20-11648-JTD       Doc 524    Filed 09/01/20     Page 84 of 136




property under the Plan or any other related agreement, or upon any other related act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date, except for Claims related to any act or omission that is determined in a final
order by a court of competent jurisdiction to have constituted actual fraud , willful
misconduct, knowing violation of law or gross negligence, but in all respects such Entities
shall be entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to the Plan.

       The Exculpated Parties have, and upon confirmation of the Plan shall be deemed to
have, participated in good faith and in compliance with the applicable laws with regard to
the solicitation of votes on, and distribution of consideration pursuant to, the Plan and,
therefore, are not, and on account of such distributions shall not be, liable at any time for
the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

       Notwithstanding anything to the contrary in the foregoing, the exculpation set forth
above does not release or exculpate any Claim relating to any post -Effective Date obligations
of any party or Entity under the Plan, the Asset Sales, or any document, in strument, or
agreement (including the Restructuring Documents, and other documents, instruments and
agreements set forth in the Plan Supplement) executed to implement the Plan.

                8.    Mutual Release Between Debtors and Consenting Lenders

        Notwithstanding anything contained in the Plan to the contrary, pursuant to section
1123(b) of the Bankruptcy Code, for good and valuable consideration, on and after the
Effective Date, (i) each of (a) the Debtors, (b) the Post-Effective Date Debtors, (c) their
respective Estates, and (d) with respect to the foregoing clauses (a) through (c), each such
Entity’s current and former Affiliates, and such Entities’ and their current and former
Affiliates’ current and former directors, managers, officers, control persons, equity holders
(regardless of whether such interests are held directly or indirectly), affiliated investment
funds or investment vehicles, participants, managed accounts or funds, fund advisors,
predecessors, successors, assigns, subsidiaries, principals, members, employees, agents,
advisory board members, financial advisors, partners, attorneys, accountants, investment
bankers, consultants, representatives, investment managers, and other professionals, each in
their capacity as such (with respect to the foregoing clauses (a) through (d), the “Debtor
Parties”) is deemed released and discharged by each of (x) the Consenting Lenders and (y)
each Consenting Lender’s current and former Affiliates, and such Consenting Lender’s and
their current and former Affiliates’ current and former directors, managers, officers, control
persons, equity holders (regardless of whether such interests are held directly or indirectly),
affiliated investment funds or investment vehicles, participants, managed accounts or funds,
fund advisors, predecessors, successors, assigns, subsidiaries, principals, members,
employees, agents, advisory board members, financial advisors, partners, attorneys,
accountants, investment bankers, consultants, representatives, investment managers, and
other professionals, each in their capacity as such (with respect to the foregoing clauses (x)
and (y), the “Consenting Lender Parties”) and (ii) each of the Consenting Lender Parties is
deemed released and discharged by each of the Debtor Parties, in each case in the foregoing
clauses (i) and (ii) on behalf of themselves and their respective successors, assigns, and
                                               75
ACTIVE 52312155v1
             Case 20-11648-JTD       Doc 524    Filed 09/01/20     Page 85 of 136




representatives, and any and all other entities who may purport to assert any cause of action,
by, through, for, or because of the foregoing entities, from any and all claims and Causes of
Action, whether known or unknown, liquidated or unliquidated, fixed or contingent,
matured or unmatured, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
or otherwise, based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), any securities issued
by the Debtors and the ownership thereof, the Debtors’ in- or out-of-court restructuring
efforts, any intercompany transaction, the Senior Lien Loan Documents, the Junior Lien
Loan Documents, the Chapter 11 Cases, the formulation, preparation, dissemination,
negotiation, or filing of the Restructuring Support Agreement, the Disclosure Statement, the
DIP Facility, the Plan, the Plan Supplement or any Asset Sale, solicitation of votes on the
Plan, the prepetition negotiation and settlement of Claims, the pursuit of confirmation, the
pursuit of consummation, the administration and implementation of the Plan, including the
issuance or distribution of debt and/or securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, or upon any other related act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date, except for claims related to any act or omission that is determined in a final
order by a court of competent jurisdiction to have constituted actual fraud, willful
misconduct, knowing violation of law or gross negligence, but in all respects such Entities
shall be entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to the Plan (collectively, the “Mutual Release”). Notwithstanding
anything to the contrary in the foregoing, the releases set forth above do not release any post-
Effective Date obligations of any party or Entity under the Plan, the Asset Sales, or any
document, instrument, or agreement (including the Restructuring Documents, and other
documents, instruments and agreements set forth in the Plan Supplement) executed to
implement the Plan and shall not result in a release, waiver, or discharge of any of the
Debtors’ or Post-Effective Date Debtors’ assumed indemnification provisions as set forth in
the Plan.

      Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Mutual Release.

                9.    Injunction

        Except as otherwise provided in the Plan or the Confirmation Order, all Entities who
have held, hold, or may hold Claims, Interests, Causes of Action, or liabilities that: (a) are
subject to compromise and settlement pursuant to the terms of the Plan; (b) have been
released by the Debtors pursuant to the Plan; (c) have been released by third parties
pursuant to the Plan, (d) are subject to exculpation pursuant to the Plan; or (e) are otherwise
discharged, satisfied, stayed or terminated pursuant to the terms of the Plan, are
permanently enjoined and precluded, from and after the Effective Date, from taking any of
the following actions against, as applicable, the Debtors, Post-Effective Date Debtors, the
Released Parties, or the Exculpated Parties: (1) commencing or continuing in any manner
any action or other proceeding of any kind on account of or in connection with or with
respect to any such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by
any manner or means any judgment, award, decree, or order against such Entities on
account of or in connection with or with respect to any such Cl aims or Interests; (3) creating,
                                               76
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524     Filed 09/01/20      Page 86 of 136




perfecting, or enforcing any encumbrance of any kind against such Entities or the property
or Estates of such Entities on account of or in connection with or with respect to any such
Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind
against any obligation due from such Entities or against the property of such Entities on
account of or in connection with or with respect to any such Claims or Interests unless such
Entity has timely asserted such setoff right in a document filed with the Bankruptcy Court
explicitly preserving such setoff, and notwithstanding an indication of a Claim or Interest or
otherwise that such Entity asserts, has, or intends to preserve any right of setoff pursuant to
applicable law or otherwise; and (5) commencing or continuing in any manner any action or
other proceeding of any kind on account of or in connection with or with respect to any such
Claims or Interests discharged, released, exculpated, or settled pursuant to the Plan.

                10.    Protection Against Discriminatory Treatment

        Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S.
Constitution, all Entities, including Governmental Units, shall not discriminate against the Post -
Effective Date Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter,
franchise, or other similar grant to, condition such a grant to, discriminate with respect to such a
grant against, the Post-Effective Date Debtors, or another Entity with whom the Post-Effective
Date Debtors have been associated, solely because the Debtors have been debtors under chapter
11 of the Bankruptcy Code, may have been insolvent before the commencement of the Chapter 11
Cases (or during the Chapter 11 Cases), or have not paid a debt that is dischargeable in the Chapter
11 Cases.

                11.    Recoupment

        In no event shall any Holder of a Claim be entitled to recoup against any claim, right, or
Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such Holder
actually has provided notice of such recoupment in writing to the Debtors on or before the
Confirmation Date, notwithstanding any indication in any Proof of Claim or otherwise that such
Holder asserts, has, or intends to preserve any right of recoupment.

                12.    Subordination Rights.

Any distributions under the Plan shall be received and retained free from any obligations to hold
or transfer the same to any other Holder and shall not be subject to levy, garnishment, attachment,
or other legal process by any Holder by reason of claimed contractual subordination rights. Any
such subordination rights shall be waived, and the Confirmation Order shall constitute an injunction
enjoining any Entity from enforcing or attempting to enforce any contractual, legal, or equitable
subordination rights to property distributed under the Plan, in each case other than as provided in
the Plan.

        J.      Conditions Precedent to Confirmation and the Effective Date

                1.     Conditions Precedent to Confirmation

       It shall be a condition to Confirmation of the Plan that the following conditions shall have
been satisfied (or waived pursuant to the provisions of Article XI.C thereof):
                                                77
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 87 of 136




      i.       The Restructuring Support Agreement shall remain in full force and effect and shall
not have been terminated by the Debtors or the Requisite Consenting Lenders;

    ii.       The final version of the schedules, documents, and exhibits contained in the Plan
Supplement, and all other schedules, documents, supplements and exhibits to the Plan, shall be
consistent with the Restructuring Support Agreement in all material respects and otherwise
approved by the Requisite Consenting Lenders and the Debtors consistent with their respective
consent and approval rights in the Restructuring Support Agreement; and

     iii.      The Disclosure Statement Order, in form and substance acceptable to the Debtors
and the Requisite Consenting Lenders, (a) shall have been duly entered and in full force and effect,
(b) shall not have been reversed, stayed, modified or vacated on appeal, and (c) shall have become
a Final Order.

                2.     Conditions Precedent to the Effective Date

        It shall be a condition to the Effective Date that the following conditions shall have been
satisfied (or waived pursuant to the provisions of Article XI.C thereof):

      i.       The Restructuring Support Agreement shall remain in full force and effect and shall
not have been terminated by the Debtors or the Requisite Consenting Lenders;

     ii.        All Transaction Expenses shall have been Paid in Full in Cash;

     iii.      The Debtors shall not be in default under the DIP Credi t Agreement or the DIP
Orders (or, to the extent that the Debtors have been or are in default on the proposed Effective
Date, such default shall have been waived by the DIP Lenders or cured in a manner consistent with
the DIP Credit Agreement and the DIP Order, as applicable);

    iv.       The DIP Lender Claims shall have been Paid in Full or otherwise satisfied in
accordance with Article II.C of the Plan;

      v.       In the case of a Reorganization Transaction, (a) all conditions precedent to the
effectiveness of the Exit Facility shall have been satisfied or duly waived; and (b) the Minimum
Liquidity Condition shall have been satisfied;

     vi.       In the case of a Reorganization Transaction, the New Organizational Documents
shall have been filed with the appropriate governmental authority, as applicable;

    vii.       The Confirmation Order, in form and substance acceptable to the Debtors and the
Requisite Consenting Lenders, (a) shall have been duly entered and in full force and effect, (b)
shall not have been reversed, stayed, modified or vacated on appeal, and (c) shall have become a
Final Order;

   viii.       All governmental and third-party approvals and consents necessary in connection
with the transactions contemplated by the Plan shall have been obtained, not be subject to
unfulfilled conditions and be in full force and effect, and all applicable waiting periods shall have
expired without any action being taken or threatened by any competent authority that would
                                                 78
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524     Filed 09/01/20      Page 88 of 136




restrain, prevent or otherwise impose materially adverse conditions on such transactions;

     ix.      The final version of the schedules, documents, and exhibits contained in the Plan
Supplement, and all other schedules, documents, supplements and exhibits to the Plan, shall be
consistent with the Restructuring Support Agreement in all material respects and otherwise
approved by the Requisite Consenting Lenders and the Debtors consistent with their respective
consent and approval rights in the Restructuring Support Agreement;

    x.       All fees, expenses, and other amounts payable pursuant to the Restructuring
Support Agreement and the DIP Orders shall have been paid in full;

     xi.       All Allowed Professional Fee Claims approved by the Bankruptcy Court shall have
been paid in full or amounts sufficient to pay such Allowed Professional Fee Claims after the
Effective Date shall have been placed in the Professional Fee Escrow Account pending approval
of the Professional Fee Claims by the Bankruptcy Court;

    xii.        All actions, documents, and agreements necessary to implement and consummate
the Plan shall have been effected or executed and binding on all parties thereto and, to the extent
required, filed with the applicable Governmental Units in accordance with applicable laws;

    xiii.      All conditions precedent to the issuance of the Reorganized AAC Equity Interests,
other than any conditions related to the occurrence of the Effective Date, shall have occurred and
the Reorganized AAC Equity Interests shall have been issued;

   xiv.        In the case of a Reorganization Transaction, there shall be no ruling, judgment or
order issued by any Governmental Unit making illegal, enjo ining, or otherwise preventing or
prohibiting the consummation of the Reorganization Transaction, unless such ruling, judgment or
order has been stayed, reversed or vacated within three (3) Business Days after such issuance;

    xv.        The Debtors shall have implemented the Reorganization Transaction in a manner
consistent in all material respects with the Plan, the Confirmation Order, and the Restructuring
Support Agreement; and

   xvi.        In the event of any Asset Sales, all conditions precedent to the effectiveness of the
Asset Sale Agreements shall have been satisfied or waived pursuant to the terms thereof, and the
consummation of such Asset Sales shall have occurred concurrently with the occurrence of the
Effective Date.

                3.     Waiver of Conditions

        The conditions to confirmation of the Plan and to the Effective Date of the Plan set forth
in Article XI of the Plan may be waived only by consent of the Debtors and the Requisite
Consenting Lenders without notice, leave, or order of the Bankruptcy Court or any formal action
other than proceedings to confirm or consummate the Plan.




                                                79
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524       Filed 09/01/20      Page 89 of 136




                4.      Substantial Consummation

      “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be
deemed to occur on the Effective Date.

VIII. RISK FACTORS

        Holders of Claims should read and consider carefully the risk factors set forth below before
voting to accept or reject the Plan. Although there are many risk factors discussed below, these
factors should not be regarded as constituting the only risks present in connec tion with the Debtors’
businesses or the Plan and its implementation.

        A.      Bankruptcy Law Considerations
        The occurrence or non-occurrence of any or all of the following contingencies, and any
others, could affect distributions available to holders of Allowed Claims under the Plan but will
not necessarily affect the validity of the vote of the Impaired Classes to accept or reject the Plan
or necessarily require a re-solicitation of the votes of holders of Claims in such Impaired Classes.
                     1. Parties in Interest May Object to the Plan’s Classification of Claims
                        and Interests

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity
interest in a particular class only if such claim or equity interest is substantially similar to the other
claims or equity interests in such class. The Debtors believe that the classification of the Claims
and Interests under the Plan complies with the requirements set forth in the Bankruptcy Code
because the Debtors created Classes of Claims and Interests each encompassing Claims or
Interests, as applicable, that are substantially similar to the other Claims or Interests, as applicable,
in each such Class. Nevertheless, there can be no assurance that the Bankruptcy Court will reach
the same conclusion.
                     2. The Conditions Precedent to the Effective Date of the Plan May Not
                        Occur.

        As more fully set forth in Article XI of the Plan, the Effective Date of the Plan is subject
to a number of conditions precedent. If such conditions precedent are not met or waived, the
Effective Date will not take place.
                     3. The Debtors May Fail to Satisfy Vote Requirements.

        If votes are received in number and amount sufficient to enable the Bankruptcy Court to
confirm the Plan, the Debtors intend to seek, as promptly as practicable thereafter, Confirmation
of the Plan. In the event that sufficient votes are not received, the Debtors may seek to confirm an
alternative chapter 11 plan or transaction. There can be no assurance that the terms of any such
alternative chapter 11 plan or other transaction would be similar or as favorable to the holders of
Interests and Allowed Claims as those proposed in the Plan and the Debtors do not believe that
any such transaction exists or is likely to exist that would be more beneficial to the estates than the
Plan.

                                                   80
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524      Filed 09/01/20      Page 90 of 136




                    4. The Debtors May Not Be Able to Secure Confirmation of the Plan.

        Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a
chapter 11 plan, and requires, among other things, a finding by the Bankruptcy Court that: (a)
such plan “does not unfairly discriminate” and is “fair and equitable” with respect to any non -
accepting classes; (b) confirmation of such plan is not likely to be followed by a liquidation or a
need for further financial reorganization unless such liquidation or reorganization is contemplated
by the plan; and (c) the value of distributions to non -accepting holders of claims or equity interests
within a particular class under such plan will not be less than the value of distributions such holders
would receive if the debtors were liquidated under chapter 7 of the Bankruptcy Code.
        There can be no assurance that the requisite acceptances to confirm the Plan will be
received. Even if the requisite acceptances are received, there can be no assurance tha t the
Bankruptcy Court will confirm the Plan. A non-accepting holder of an Allowed Claim might
challenge either the adequacy of this Disclosure Statement or whether the balloting procedures and
voting results satisfy the requirements of the Bankruptcy Code or Bankruptcy Rules. Even if the
Bankruptcy Court determines that this Disclosure Statement, the balloting procedures, and voting
results are appropriate, the Bankruptcy Court could still decline to confirm the Plan if it finds that
any of the statutory requirements for Confirmation are not met. If a chapter 11 plan of
reorganization is not confirmed by the Bankruptcy Court, it is unclear whether the Debtors will be
able to reorganize their business and what, if anything, holders of Interests and Allowed Claims
against them would ultimately receive.
        The Debtors, subject to the terms and conditions of the Plan (including the requirement
that the Plan be in form and substance acceptable to the Requisite Consenting Lenders), reserve
the right to modify the terms and conditions of the Plan as necessary for confirmation. Any such
modifications could result in less favorable treatment of any non -accepting class of Claims or
Interests, as well as any class junior to such non-accepting class, than the treatment currently
provided in the Plan. Such a less favorable treatment could include a distribution of property with
a lesser value than currently provided in the Plan or no distribution whatsoever under the Plan.
                    5. Nonconsensual Confirmation

        In the event that any impaired class of claims or interests does not accept a chapter 11 plan,
a bankruptcy court may nevertheless confirm a plan at the proponents’ request if at least one
impaired class (as defined under section 1124 of the Bankruptcy Code) has accepted the plan (with
such acceptance being determined without including the vote of any “insider” in such class), and,
as to each impaired class that has not accepted the plan, a bankruptcy court determines that the
plan “does not discriminate unfairly” and is “fair and equitable” wit h respect to the dissenting
impaired class(es). The Debtors believe that the Plan satisfies these requirements, and the Debtors
may request such nonconsensual confirmation in accordance with subsection 1129(b) of the
Bankruptcy Code. Nevertheless, there can be no assurance that the Bankruptcy Court will reach
this conclusion. In addition, the pursuit of nonconsensual confirmation or Consummation of the
Plan may result in, among other things, increased expenses relating to professional compensation.




                                                  81
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 91 of 136




                    6. Continued Risk Upon Confirmation

        Even if the Plan is consummated, the Debtors will continue to face a number of risks,
including certain risks that are beyond their control, such as further deterioration or other changes
in economic conditions, changes in the industry, potential revaluing of their assets due to chapter
11 proceedings and increasing expenses. See Article VIII.C of this Disclosure Statement, entitled
“Risks Related to the Debtors’ and the Reorganized Debtors’ Businesses.” Some of these concerns
and effects typically become more acute when a case under the Bankruptcy Code continues for a
protracted period without indication of how or when the case may be completed. As a result of
these risks and others, there is no guarantee that a chapter 11 plan of reorganization reflecting the
Plan will achieve the Debtors’ stated goals.
        Furthermore, even if the Debtors’ debts are reduced and/or discharged through the Plan,
the Debtors may need to raise additional funds through public or private debt or equity financing
or other various means to fund the Debtors’ businesses after the completion of the proceedings
related to the Chapter 11 Cases. Adequate funds may not be available when needed or may not be
available on favorable terms.
                    7. The Chapter 11 Cases May Be Converted to Cases under Chapter 7 of
                       the Bankruptcy Code.

        If the Bankruptcy Court finds that it would be in the best interest of creditors and/or the
debtor in a chapter 11 case, the Bankruptcy Court may convert a chapter 11 bankruptcy case to a
case under chapter 7 of the Bankruptcy Code. In such event, a chapter 7 trustee would be appointed
or elected to liquidate the debtor’s assets for distribution in accordance with the priorities
established by the Bankruptcy Code. The Debtors believe that liquidation under chapter 7 would
result in significantly smaller distributions being made to creditors than those provided for in a
chapter 11 plan because of (a) the likelihood that the assets would have to be sold or otherwise
disposed of in a disorderly fashion over a short period of time, rather than reorganizing or selling
the business as a going concern at a later time in a controlled manner, (b) additional administrative
expenses involved in the appointment of a chapter 7 trustee, and (c) additional expenses and
Claims, some of which would be entitled to priority, that would be generated during the liquidation,
including Claims resulting from the rejection of Unexpired Leases and other Executory Contracts
in connection with cessation of operations.
                    8. The Debtors May Object to the Amount or Classification of a Claim.

        Except as otherwise provided in the Plan, the Debtors reserve the right to object to the
amount or classification of any Claim under the Plan. The estimates set forth in this Disclosure
Statement cannot be relied upon by any holder of a Claim where such Claim is subject to an
objection. Any holder of a Claim that is subject to an objection thus may not receive its expected
share of the estimated distributions described in this Disclosure Statement.
                    9. Contingencies Could Affect Votes of Impaired Classes to Accept or
                       Reject the Plan.

        The distributions available to holders of Allowed Claims under the Plan can be affected by
a variety of contingencies, including, without limitation, whether the Bankruptcy Court orders
                                                 82
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 92 of 136




certain Allowed Claims to be subordinated to other Allowed Claims. The occurrence of any and
all such contingencies, which could affect distributions available to holders of Allowed Claims
under the Plan, will not affect the validity of the vote taken by the Impaired Classes entitled to
vote to accept or reject the Plan or require any sort of revote by such Impaired Classes.
        The estimated Claims and creditor recoveries set forth in this Disclosure Statement are
based on various assumptions, and the actual Allowed amounts of Claims may significantly differ
from the estimates. Should one or more of the underlying assumptions ultimately prove to be
incorrect, the actual Allowed amounts of Claims may vary from the estimated Claims contained
in this Disclosure Statement. Moreover, the Debtors cannot determine with any certainty at this
time the number or amount of Claims that will ultimately be Allowed. Such differences may
materially and adversely affect, among other things, the percentage recoveries to holders of
Allowed Claims under the Plan.
                    10. Releases, Injunctions, and Exculpations Provisions May Not Be
                        Approved.

        Article X of the Plan provides for certain releases, injunctions, and exculpations, including
a release of liens and third-party releases that may otherwise be asserted against the Debtors, Post-
Effective Date Debtors, or Released Parties, as applicable. Discussions and summaries of these
provisions can be found in Articles VII.I and IX.B of this Disclosure Statement. The releases,
injunctions, and exculpations provided in the Plan are subject to objection by parties in interest
and may not be approved. If the releases are not approved, certain Released Parties may withdraw
their support for the Plan and the Plan may no longer be confirmable.
        B.      Risks Related to Recoveries under the Plan

                    1. The Reorganized Debtors May Not Be Able to Achieve their Projected
                       Financial Results.

        If the Entire Company Asset Sale does not occur, the Reorganized Debtors will continue
to operate their businesses after the Effective Date. The Reorganized Debtors, however, may not
be able to achieve their projected financial results. The Financial Projections set forth in this
Disclosure Statement represent the Debtors’ management team’s best estimate of the Debtors’
future financial performance, which is necessarily based on certain assumptions regarding the
anticipated future performance of the Reorganized Debtors’ operations and the industry segments
in which the Debtors operate in particular. While the Debtors believe that the Financial Projections
contained in this Disclosure Statement are reasonable, there can be no assurance that they will be
realized. If the Debtors do not achieve their projected financial results, the value of the
Reorganized AAC Equity Interests may be negatively affected and the Debtors may lack sufficient
liquidity to continue operating as planned after the Effective Date. Moreover, the financial
condition and results of operations of the Reorganized Debtors from and after the Effective Date
may not be comparable to the financial condition or results of operations reflected in the Debtors’
historical financial statements.




                                                 83
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524      Filed 09/01/20       Page 93 of 136




                    2. Certain Tax Implications of the Plan

       Holders of Allowed Claims should carefully review Article XI of this Disclosure
Statement, entitled “Certain United States Federal Income Tax Consequences of the Plan,” to
determine how the tax implications of the Plan and the Chapter 11 Cases may adversely affect the
Reorganized Debtors and holders of Claims and Interests.

                    3. The Reorganized Debtors May Not Be Able to Obtain an Acceptable
                       Exit Facility.
       The Plan contemplates that the Reorganized Debtors may need to enter into an Acceptable
Exit Facility. However, it is possible that the Reorganized Debtors may not be able to obtain or
consummate an Acceptable Exit Facility. If the Reorganized Debtors do not obtain funding under
an Acceptable Exit Facility, they may lack sufficient liquidity to continue operating in the ordinary
course post-emergence and may be unable to the consummate the Plan or any other plan of
reorganization.
        C.      Risks Related to the Debtors’ and the Reorganized Debtors’ Businesses

                    1. The Reorganized Debtors May Not Be Able to Generate Sufficient Cash
                       to Service All of their Indebtedness.

         The Reorganized Debtors’ ability to make scheduled payments on, or refinance their debt
obligations, depends on the Reorganized Debtors’ financial condition and operating performance,
which are subject to prevailing economic, industry, and competitive conditio ns and to certain
financial, business, legislative, regulatory, and other factors beyond the Reorganized Debtors’
control. The Reorganized Debtors may be unable to maintain a level of cash flow from operating
activities sufficient to permit the Reorganized Debtors to pay the principal, premium, if any, and
interest on their indebtedness, including, without limitation, potential borrowings under the Exit
Facility upon emergence.
                    2. The Debtors Will Be Subject to the Risks and Uncertainties Associated
                       with the Chapter 11 Cases.

        For the duration of the Chapter 11 Cases, the Debtors’ ability to operate, develop, and
execute a business plan, and continue as a going concern, will be subject to the risks and
uncertainties associated with bankruptcy. These risks include the following: (a) ability to develop,
confirm, and consummate the transactions specified in the Plan; (b) ability to obtain Bankruptcy
Court approval with respect to motions filed in the Chapter 11 Cases from time to time; (c) ability
to maintain relationships with suppliers, vendors, service providers, clients, employees, and other
third parties; (d) ability to maintain contracts that are critical to the Debtors’ operations; (e) ability
of third parties to seek and obtain Bankruptcy Court approval to terminate contracts and other
agreements with the Debtors; (f) ability of third parties to seek and obtain Bankruptcy Court
approval to terminate or shorten the exclusivity period for the Debtors to propose and confirm a
chapter 11 plan, to appoint a chapter 11 trustee, or to convert the Chapter 11 Cases to chapter 7
cases; and (g) the actions and decisions of the Debtors’ creditors and other third parties who have
interests in the Chapter 11 Cases that may be inconsistent with the Debtors’ plans.

                                                   84
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 94 of 136




        These risks and uncertainties could affect the Debtors’ businesses and operations in various
ways. For example, negative events associated with the Chapter 11 Cases could adversely affect
the Debtors’ relationships with suppliers, service providers, clients, employees, and other third
parties, which in turn could adversely affect the Debtors’ operations and financial condition. Also,
the Debtors will need the prior approval of the Bankruptcy Court for transactions outside the
ordinary course of business, which may limit the Debtors’ ability to respond timely to certain
events or take advantage of certain opportunities. Because of the risks and uncertainties associated
with the Chapter 11 Cases, the Debtors cannot accurately predict or quantify the ultimate impact
of events that occur during the Chapter 11 Cases that may be inconsistent with the Debtors’ plans.
                    3. Prolonged Operations in Bankruptcy May Harm the Debtors’
                       Businesses.

        The Debtors’ future results will be dependent upon the successful confirmation and
implementation of a plan of reorganization. A long period of operations under Bankruptcy Court
protection could have a material adverse effect on the Debtors’ businesses, financial condition,
results of operations, and liquidity. So long as the proceedings related to the Chapter 11 Cases
continue, senior management will be required to spend a significant amount of time and effort
dealing with the reorganization instead of focusing exclusively on business operations. A
prolonged period of operating under Bankruptcy Court protection also may make it more difficult
to retain management and other key personnel necessary to the success and growth of the Debtors’
businesses. In addition, the longer the proceedings related to the Chapter 11 Cases continue, the
more likely it is that clients and vendors will lose confidence in the Debtors’ ability to reorganize
their businesses successfully and will seek to establish alternative relationships or treatment
options.
        So long as the proceedings related to the Chapter 11 Cases continue, the Debtors will be
required to incur substantial costs for professional fees and other expenses associated with the
administration of the Chapter 11 Cases. The chapter 11 proceedings also require debtor in
possession financing to fund the Debtors’ operations. If the Debtors are unable to fully draw on
the availability under the DIP Facility or are unable to consummate the Exit Facility, the chances
of successfully reorganizing the Debtors’ businesses may be seriously jeopardized, the likelihood
that the Debtors will instead be required to liquidate or sell their assets may be increased, and, as
a result, creditor recoveries may be significantly impaired.
         Furthermore, the Debtors cannot predict the ultimate amount of all settlement terms for the
liabilities that will be subject to a plan of reorganization. Even after a plan of reorganization is
approved and implemented, the Reorganized Debtors’ operating results may be adversely affected
by the possible reluctance of prospective lenders and other counterparties to do business with a
company that recently emerged from bankruptcy protection.
                    4. The Debtors Operate in a Highly Competitive Industry.

       The market for mental health and substance abuse treatment facilities is highly fragmented
with approximately 12,000 different companies providing services to the adult and adolescent
population, of which only 30% are operated by for-profit organizations. The Debtors’ inpatient
treatment facilities compete with several national competitors and many regional and local
competitors. Some of the competitors are government entities that are supported by tax revenue,
                                                 85
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524      Filed 09/01/20     Page 95 of 136




and others are non-profit entities that are primarily supported by endowments and charit able
contributions. The Debtors do not receive financial support from these sources. Some larger
companies in the industry compete with the Debtors on a national scale and offer substance abuse
treatment services among other behavioral healthcare services. To a lesser extent, the Debtors also
compete with other providers of substance abuse treatment services, including other inpatient
behavioral healthcare facilities and general acute care hospitals.

        The Debtors’ operations depend on the efforts, abilities and experience of their
management team, physicians and medical support personnel, including nurses, mental health
technicians, therapists, addiction counselors, pharmacists and clinical technicians. The Debtors
compete with other healthcare providers in recruiting and retaining qualified management, mental
health technicians, therapists, nurses, counselors, and other support personnel responsible for the
daily operations of the Debtors’ facilities. The nationwide shortage of nurses and other medical
support personnel has been a significant operating issue facing their industry in recent years, made
more acute by the COVID-19 pandemic. This shortage may require the Debtors to enhance the
Debtors’ wages and benefits to recruit and retain nurses and other medical support personnel or
require them to hire expensive temporary personnel. If the Debtors are unable to attract and retain
qualified personnel, they may be unable to provide their services, the quality of the Debtors’
services may decline and they could experience a decline in client volume, all of which could have
a material adverse effect on the Debtors’ business, financial condition and results of operations.

        If the Debtors are unable to compete effectively with their competitors, patients may seek
addiction treatment services from other providers.

                    5. The Debtors’ Business is Subject to Complex Laws and Regulations
                       That Can Adversely Affect the Cost, Manner, or Feasibility of Doing
                       Business.

         Substance abuse treatment providers are regulated extensively at the federal, state and local
level. In order to operate the Debtors’ business and obtain reimbursement from commercial and
government payors, the Debtors must obtain and maintain a variety of licenses, permits,
certifications and accreditations, and ensure the providers are licensed and certified (where
applicable) to provide such services. The Debtors must also comply with numerous other laws,
regulations, and guidance applicable to the provision of substance abuse disorder services,
including medication-assisted treatment (“MAT”), detoxification, and behavioral therapy. The
facilities of the Debtors are also subject to periodic on-site inspections by the regulatory and
accreditation agencies in order to determine the Debtors’ compliance with applicable
requirements.

        The laws, regulations, and guidance that affect substance abuse treatment providers are
complex and change frequently. The Debtors must regularly review the Debtors’ organization and
operations and make modifications as necessary to comply with changes in the law or new
interpretations of laws, regulations, and guidance. In recent years, significant public attention has
focused on the healthcare industry, including attention to the conduct of industry participants and
the cost of healthcare services. Federal and state government agencies have heightened and
coordinated civil and criminal enforcement efforts relating to the healthcare industry. The ongoing
investigations relate to, among other things, referral practices, cost reporting, billing practices,
                                                 86
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524     Filed 09/01/20      Page 96 of 136




credit balances, health information privacy and security, physician ownership and joint ventures
involving hospitals and other healthcare providers. Recently, federal and state governmental
officials have focused on fraud and abuse in the addiction treatment industry. In particular, new
laws and regulations have been passed that are intended to prohibit the payment of kickbacks,
bribes and other inducements in exchange for referrals of patients to treatment providers, including
residential treatment centers and outpatient programs. The Debtors expect that healthcare costs
and other factors will continue to encourage both the development of new laws and regulations
and increased enforcement activity, including among substance abuse treatment providers.

        While the Debtors believe that they are in substantial compliance with all applicable laws
and regulations, and the Debtors are not aware of any material pending or threatened investigations
involving allegations of wrongdoing, there can be no assurances of compliance. Compliance with
such laws and regulations may be subject to future government review and interpretation, as well
as significant regulatory action including fines, penalties and exclusion from government health
programs.

                    6. The Debtors May Be Adversely Affected by Potential Litigation,
                       Including Litigation Arising Out of the Chapter 11 Cases.

         In the future, the Debtors may become parties to litigation. In general, litigation can be
expensive and time consuming to bring or defend against. Such litigation could result in
settlements or damages that could significantly affect the Reorganized Debtors’ financial results.
It is also possible that certain parties will commence litigation with respect to the treatment of their
Claims under the Plan. It is not possible to predict the potential litigation that the Debtors may
become party to, nor the final resolution of such litigation. The impact of any such litigation on
the Reorganized Debtors’ businesses and financial stability, however, could be material.
                    7. The Loss of Key Personnel Could Adversely Affect the Debtors’
                       Operations.

        The Debtors’ operations are dependent on a relatively small group of key management
personnel and a highly-skilled employee base. The Debtors’ recent liquidity issues and the Chapter
11 Cases have created distractions and uncertainty for key management personnel and employees.
As a result, the Debtors have experienced and may continue to experience increased levels of
employee attrition. The Debtors may be unable to find acceptable replacements with comparable
skills and experience and the loss of such key management personnel could adversely affect the
Debtors’ ability to operate their businesses. In addition, a loss of key personnel or material erosion
of employee morale at the corporate and/or facility levels could have a material adverse effect on
the Debtors’ ability to meet customer and counterparty expectations, thereby adversel y affecting
the Debtors’ and/or the Reorganized Debtors’ businesses and the results of operations.
                    8. Certain Claims May Not Be Discharged and Could Have a Material
                       Adverse Effect on the Debtors’ Financial Condition and Results of
                       Operations.

        The Bankruptcy Code provides that the confirmation of a plan of reorganization discharges
a debtor from substantially all debts arising prior to confirmation. With few exceptions, all Claims
that arise prior to the Petition Date or before confirmation of the Plan (a) would be subject to
                                                  87
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 97 of 136




compromise and/or treatment under the Plan and/or (b) would be discharged in accordance with
the terms of the Plan. Any Claims not ultimately discharged through the Plan could be asserted
against the reorganized entity and may have an adverse effect on the Reorganized Debtors’
financial condition and results of operations.
                    9. If Reimbursement Rates Paid by Third-Party Payors are Reduced, if
                       the Debtors are Unable to Maintain Favorable Contract Terms with
                       Payors or Comply with Their Payor Contract Obligations, or if Third-
                       Party Payors Otherwise Restrain Their Ability to Obtain or Provide
                       Services to Clients, Their Business, Financial Condition and Results of
                       Operation Could be Adversely Affected.
        Managed care organizations and other third-party payors pay for the services that the
Debtors provide to many of their clients. For 2018, approximately 90% of the Debtors’ revenue
was reimbursable by third-party payors, including amounts paid by such payors to clients, with the
remaining portion payable directly by their clients. The Debtors’ third-party payors are primarily
commercial payors. If any of these third-party payors reduce their reimbursement rates or elect
not to cover some or all of the Debtors’ services, the Debtors’ business, financial condition and
results of operations may be materially adversely affected.
         In addition to limits on the amounts that payors will reimburse for the services the Debtors
provide to their members, utilization management imposed by third-party payors designed to
reduce admissions and the length of stay for clients, including preadmission authorizations and
utilization review, have affected and are expected to continue to affect the Debtors’ facilities.
Utilization review entails the review of the admission and course of treatment of a client by third-
party payors. Inpatient utilization, average lengths of stay and occupancy rates continue to be
negatively affected by payor-required preadmission authorization and utilization review and by
payor pressure to maximize outpatient and alternative healthcare delivery services for less acutely
ill clients. The Debtors believe that generally, health insurance companies have become more
stringent and aggressive with respect to addiction treatment providers; taking measures that have
put pressure on reimbursement rates, length of stay and timing of reimbursement. The Debtors
expect that payor efforts to impose more stringent cost controls will continue. Although the
Debtors are unable to predict the effect these controls and changes could have on their operations,
significant limits on the scope of services reimbursed and on reimbursement rates and fees could
have a material adverse effect on their business, financial condition and results of operations. If
the rates paid or the scope of substance use treatment services covered by third-party commercial
payors are reduced, the Debtors’ business, financial condition and results of operations could be
materially adversely affected.
         Third-party payors often use plan structures, such as narrow networks or tiered networks,
to encourage or require clients to use in-network providers. In-network providers typically provide
services through third-party payors for a negotiated lower rate or other less favorable terms. Third-
party payors generally attempt to limit use of out-of-network providers by requiring clients to pay
higher copayment and/or deductible amounts for out-of-network care. Additionally, third-party
payors have become increasingly aggressive in attempting to minimize the use of out-of-network
providers by disregarding the assignment of payment from clients to out -of-network providers
(i.e., sending payments directly to clients instead of to out-of-network providers), capping out-of-
network benefits payable to clients, waiving out-of-pocket payment amounts and initiating
                                                  88
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 98 of 136




litigation against out-of-network providers for interference with contractual relationships,
insurance fraud and violation of state licensing and consumer protection laws. The majority of
third-party payors consider certain of the Debtors’ facilities to be “out-of-network” providers. If
third-party payors continue to impose and to increase restrictions on out-of-network providers, the
Debtors’ revenue could be threatened, forcing the Debtors’ facilities to participate with third-party
payors and accept lower reimbursement rates compared to the Debtors’ historic reimbursement
rates.
        Third-party payors also are entering into exclusive source contracts with som e healthcare
providers, which could effectively limit the Debtors’ pool of potential clients. Moreover, third -
party payors are beginning to carve out specific services, including substance abuse treatment and
behavioral health services, and establish small, specialized networks of providers for such services
at fixed reimbursement rates. Continued growth in the use of carve -out arrangements could
materially adversely affect the Debtors’ business to the extent the Debtors are not selected to
participate in such smaller specialized networks or if the reimbursement rate is not adequate to
cover the cost of providing the service.
                    10. If the Debtors Overestimate the Reimbursement Amounts That Payors
                        Will Pay Them for Out-Of-Network Services Performed, It Would
                        Increase the Debtors’ Revenue Adjustments, Which Could Have a
                        Material Adverse Effect on Their Revenue, Profitability and Cash
                        Flows.
        For out-of-network services, the Debtors recognize revenue from payors at the time
services are provided based on their estimate of the amount that payors will reimburse for the
services performed. The Debtors estimate the net realizable value of revenue by adjusting gross
client charges using their expected realization and applying this discount to gross client charges.
A significant or sustained decrease in their collection rates could have a material adverse effect on
the Debtors’ operating results. There is no assurance that the Debtors will be able to maintain or
improve historical collection rates in future reporting periods.
        Estimates of net realizable value are subject to significant judgment and approximation by
management. It is possible that actual results could differ from the historical estimates
management has used to help determine the net realizable value of revenue. If the Debtors’ actual
collections either exceed or are less than the net realizable value estimates, the Debtors will record
a revenue adjustment, either positive or negative, for the difference between their estimate of the
receivable and the amount actually collected in the reporting period in which the collection
occurred. A significant negative revenue adjustment could have a material adverse effect on their
revenue, profitability and cash flows in the reporting period in which such adjustment is recorded.
In addition, if the Debtors record a significant revenue adjustment, either positive or negative, in
any given reporting period, it may lead to significant changes in the Debtors’ results from
operations from quarter to quarter, which may limit their ability to make accurate long-term
predictions about their future performance.




                                                 89
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524      Filed 09/01/20      Page 99 of 136




                    11. A Deterioration in the Collectability of the Accounts Receivable Could
                        Have a Material Adverse Effect on Their Business, Financial Condition
                        and Results of Operations.
         Collection of receivables from third-party payors and clients is critical to the Debtors’
operating performance. The Debtors’ primary collection risks are (i) the risk of overestimating
their net revenue at the time of billing, which may resul t in the Debtors receiving less than the
recorded receivable, (ii) the risk of non-payment as a result of commercial insurance companies
denying claims, (iii) in certain states, the risk that clients will fail to remit insurance payments to
the Debtors when the commercial insurance company pays out-of-network claims directly to the
client and (iv) resource and capacity constraints that may prevent them from handling the volume
of billing and collection issues in a timely manner. Additionally, their ability to hire and retain
experienced personnel affects the Debtors’ ability to bill and collect accounts in a timely manner.
The Debtors routinely review accounts receivable balances in conjunction with these factors and
other economic conditions that might ultimately affect the collectability of the client accounts and
adjust the Debtors’ allowances as warranted. Significant changes in business operations, payor
mix or economic conditions, including changes resulting from legislation or other health reform
efforts (including to repeal or significantly change the Affordable Care Act), could affect the
Debtors’ collection of accounts receivable, cash flows and results of operations. In addition,
increased client concentration in states that permit commercial insurance companies to pay out-of-
network claims directly to the client instead of the provider, such as California and Nevada, could
adversely affect the Debtors’ collection of receivables. Unexpected changes in reimbursement
rates by third-party payors could have a material adverse effect on the Debtors’ business, financial
condition and results of operations.

                    12. The Debtors’ Business Depends on Their Information Systems. Failure
                        to Effectively Integrate, Manage and Keep the Debtors’ Information
                        Systems Secure Could Disrupt the Debtors’ Operations and Have a
                        Material Adverse Effect on the Business.
         The Debtors’ business depends on effective and secure information systems that assist
them in, among other things, admitting clients to the Debtors’ facilities, monitoring census and
utilization, processing and collecting claims, reporting financial results, measuring outcomes and
quality of care, managing regulatory compliance controls and maintaining operational efficiencies.
Given the dependence on electronic health systems, the Debtors could be subject to cybersecurity
risks such as a cyber-attack that bypasses the Debtors’ information technology security systems
and other security incidents that result in security breaches, including th e theft, loss, destruction or
misappropriation of individually identifiable health information subject to HIPAA and other
privacy and security laws, proprietary business information or other confidential or personal data.
Such an incident could disrupt the Debtors’ information technology systems, impede clinical
operations, cause the Debtors to incur significant investigation and remediation expenses, and
subject them to litigation, government inquiries, penalties and reputational damages. Information
security and the continued development, maintenance and enhancement of their safeguards to
protect the Debtors’ systems, data, software and networks are a priority for them. As security
threats continue to evolve, the Debtors may be required to expend significant additional resources
to modify and enhance the Debtors’ safeguards and investigate and remediate any information
security vulnerabilities. Cyber-attacks may also impede the Debtors’ ability to exercise sufficient

                                                   90
ACTIVE 52312155v1
            Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 100 of 136




disclosure controls. If the Debtors are subject to cyber-attacks or security breaches, the Debtors’
business, financial condition and results of operations could be adversely impacted.

         The Debtors’ information systems are also vulnerable to damage or interruption from fire,
flood, natural disaster, power loss, telecommunications failure, break-ins and similar events. A
failure to implement the Debtors’ disaster recovery plans or ultimately restore the Debtors’
information systems after the occurrence of any of these events could have a material adverse
effect on the Debtors’ business, financial condition and results of operations. Because of the
confidential health information that the Debtors store and transmit, loss, theft or destruction of
electronically-stored information for any reason could expose them to a risk of regulatory action,
litigation, liability to clients and other losses.

         In addition, these electronic health systems include software developed in -house and
systems provided by external contractors and other service providers. To t he extent that these
external contractors or other service providers become insolvent or fail to support the software or
systems, their operations could be negatively affected. The Debtors’ facilities also depend upon
the Debtors’ information systems for electronic medical records, accounting, billing, collections,
risk management, payroll and other information. If they experience a reduction in the
performance, reliability or availability of the Debtors’ information systems, their operations and
ability to process transactions and produce timely and accurate reports could be adversely affected.

        The Debtors’ information systems and applications require continual maintenance,
upgrading and enhancement to meet the Debtors’ operational needs. The Debtors regu larly
upgrade and expand the Debtors’ information systems’ capabilities. If they experience difficulties
with the transition and integration of information systems or are unable to implement, maintain or
expand the Debtors’ systems properly or in a timely manner, they could suffer from, among other
things, operational disruptions, regulatory problems, working capital disruptions and increases in
administrative expenses.

                    13. The Debtors’ Ability to Maintain Census is Dependent on a Number of
                        Factors Outside of Their Control, and if They are Unable to Maintain
                        Census, Their Business, Results of Operations and Cash Flows Could
                        be Materially Adversely Affected.
         The Debtors’ revenue is directly impacted by their ability to maintain census. These
metrics are dependent on a variety of factors, many of which are outside of the Debtors’ control,
including the Debtors’ contracts with commercial payors for referrals, average length of stay of
the Debtors’ clients, the extent to which third-party payors require preadmission authorization or
utilization review controls, competition in the industry and the decisions of their clients to seek
and commit to treatment, particularly in light of the ongoing COVID -19 pandemic and the
potential risks associated with residential treatment. Further, their census depends upon the
effectiveness of the Debtors’ multi-faceted marketing program. A significant decrease in census
could materially adversely affect the Debtors’ revenue, profitability and cash flows due to fewer
or lower reimbursements received, and the additional resources required to collect accounts
receivable and to maintain the Debtors’ existing level of business.
       Given the client-driven nature of the substance abuse treatment sector, the Debtors’
business is dependent on clients seeking and committing to treatment. Although increased
                                             91
ACTIVE 52312155v1
            Case 20-11648-JTD         Doc 524      Filed 09/01/20     Page 101 of 136




awareness and de-stigmatization of substance abuse treatment in recent years has resulted in more
people seeking treatment, the decision of each client to seek treatment is ultimately discretionary.
In addition, even after the initial decision to seek treatment, the Debtors’ clients may decide at any
time to discontinue treatment and leave the Debtors’ facilities against the advice of the Debtors’
physicians and other treatment professionals. For this reason, among others, average length of
stay can vary among periods without correlating to the overall operating performance. The
continued course of COVID-19 may also contribute significantly to clients’ treatment decisions.
If clients or potential clients decide not to seek treatment or discontinue treatment early, census
could decrease and, as a result, the Debtors’ business, financial condition and results of operations
could be adversely affected.
                    14. The Debtors May Have Limited Ability to Utilize NOLs.
        The Debtors estimate that they have incurred consolidated NOLs of approximately $87
million as of the Petition Date and are expecting that the consolidated NOLs will increase to
approximately $190 million as of December 31, 2020. Section 382 of the Internal Revenue Code
imposes limitations on a corporation’s ability to utilize NOLs if it experiences an “ownership
change.” In general terms, an ownership change may result from transactions increasing the
ownership of certain stockholders in the stock of a corporation by more than 50 percentage points
over a three-year period. In the event of an ownership change, utilization of the Debtors’ NOLs
generally would be subject to an annual limitation under Section 382. Any unused NOLs in excess
of the annual limitation may be carried over to later years.
        The imposition of a limitation on the Debtors ability to use their NOLs to offset future
taxable income could cause U.S. federal income taxes to be paid earlier than otherwise would be
paid if such limitation were not in effect and could cause such NOLs to expire unused, reducing
or eliminating the benefit of such NOLs. The Debtors have taken steps to avoid an ownership
change as defined by Section 382 of the Internal Revenue Code prior to the implementation of the
Plan and intends to implement the Plan in a manner that will mitigate the adverse impact on its
NOLs of an ownership change.
                    15. If the Debtors Fail to Comply with the Extensive Laws and
                        Government Regulations Impacting their Industry, the Debtors Could
                        Suffer Penalties, be the Subject of Federal and State Investigations or
                        be Required to Make Significant Changes to Their Operations, Which
                        May Reduce Their Revenue, Increase Costs and Have a Material
                        Adverse Effect on Their Business, Financial Condition and Results of
                        Operations.
        Healthcare service providers are required to comply with extensive and complex laws and
regulations at the federal, state and local government levels relating to, among other things:
      a.      licensure, certification and accreditation of substance use treatment services;
      b.      licensure, certification and accreditation of laboratory under the Clinical Laboratory
              Improvement Amendments of 1988 (“CLIA”);
      c.      privacy and security of health-related information, client personal information and
              medical records, as required by the Health Information Portability and Accountability
                                                 92
ACTIVE 52312155v1
            Case 20-11648-JTD         Doc 524      Filed 09/01/20     Page 102 of 136




              Act of 1996 (“HIPAA”), the Health Information Technology for Economic and
              Clinical Health Act (“HITECH”), and 45 CFR Part 2 (governing the confidentiality
              of substance use disorder patient records);
      d.      handling, administration and distribution of controlled substances;
      e.      necessity and adequacy of care and quality of services;
      f.      licensure, certification and qualifications of professional and support personnel;
      g.      referrals of clients and permissible relationships with physicians and other referral
              sources;
      h.      claim submission and collections, including penalties for the submission of, or
              causing the submission of, false, fraudulent or misleading claims and the failure to
              repay overpayments in a timely manner;
      i.      extensive conditions of participation for Medicare and Medicaid programs;
      j.      consumer protection issues and billing and collection of client-owed accounts issues;
      k.      communications with clients and consumers, including laws intended to prevent
              misleading marketing practices;
      l.      physical plant planning, construction of new facilities and expansion of existing
              facilities;
      m.      activities regarding competitors;
      n.      The Food and Drug Administration (“FDA”) laws and regulations related to drugs
              and medical devices;
      o.      operational, personnel and quality requirements intended to ensure that clinical
              testing services are accurate, reliable and timely;
      p.      health and safety of employees;
      q.      handling, transportation and disposal of medical specimens and infectious and
              hazardous waste;
      r.      corporate practice of medicine, fee-splitting, self-referral and kickback prohibitions,
              including recent state and federal laws intended to eliminate bribes and kickbacks;
              and
      s.      the SUPPORT for Patients and Communities Act, which became law on October 24,
              2018.
       The United States has recently enacted the Eliminating Kickbacks in Recovery Act of 2018
(“EKRA”) to create a new federal crime for knowingly and willfully: (1) soliciting or receiving
any remuneration in return for referring a patient to a recovery home, clinical treatment facility, or
laboratory; or (2) paying or offering any remuneration to induce such a referral or in exchange for

                                                  93
ACTIVE 52312155v1
            Case 20-11648-JTD         Doc 524      Filed 09/01/20     Page 103 of 136




an individual using the services of a recovery home, clinical treatment facility, or labora tory.
Certain states, including Florida, have enacted similar laws, or will likely enact similar laws in the
future.
       While the Debtors make every effort to comply with the above stated laws and regulations,
the Debtors could suffer penalties, be the subject of federal and state investigations or be required
to make significant changes to their operations, which may reduce their revenue, increase costs
and have a material adverse effect on their business, financial condition and results of operations.
                    16. Changes to Federal, State and Local Regulations, as Well as Different
                        or New Interpretations of Existing Regulations, Could Adversely Affect
                        the Debtors’ Operations and Profitability.
        Because the Debtors’ treatment programs and operations are regulated at federal, state and
local levels, they could be affected by regulatory changes in different regional markets. Increases
in the costs of regulatory compliance and the risks of noncompliance may increase the Debtors’
operating costs, and they may not be able to recover these increased costs, which may adversely
affect their results of operations and profitability.
         Many of the current laws, regulations, and guidance are relatively new, including the
EKRA and recent state laws intended to prohibit deceptive marketing practices in the addiction
treatment industry. Some recently enacted laws do not have corresponding regulations or guidance
available for compliance. Thus, the Debtors do not always have the benefit of significant
regulatory or judicial interpretation. Evolving interpretations or enforcement of these laws and
regulations could subject the Debtors’ current or past practices to allegations of impropriety or
illegality or could require them to make changes in the Debtors’ treatment facilities, equ ipment,
personnel, services or capital expenditure programs. A determination that the Debtors have
violated these laws, or a public announcement that the Debtors are being investigated for possible
violations of these laws, could adversely affect their business, operating results and overall
reputation in the marketplace.
        In addition, federal, state and local requirements may be enacted that impose additional
obligations on their facilities. Adoption of legislation or the creation of new regulations affecting
the Debtors’ facilities could increase their operating costs, restrain the Debtors’ growth or limit
them from taking advantage of opportunities presented and could have a material adverse effect
on their business, financial condition and results of operations. Adverse changes in existing
comprehensive zoning plans or zoning regulations that impose additional restrictions on the use
of, or requirements applicable to, their facilities may affect the Debtors’ ability to operate their
existing facilities or acquire new facilities, which may adversely affect their results of operations
and profitability.




                                                 94
ACTIVE 52312155v1
            Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 104 of 136




                    17. The Debtors are Subject to Governmental Investigations and Potential
                        Claims and Lawsuits by Clients, Employees and Others, which May
                        Increase the Debtors’ Costs, Cause Reputational Issues and Have a
                        Material Adverse Effect on Their Business, Financial Condition
                        Results of Operations and Reputation.
         Given the nature of addiction and mental health issues and treatment , the substance abuse
treatment industry is heavily regulated by governmental agencies, and involves significant risk of
liability. The Debtors are exposed to the risk of governmental inv estigations, regulatory actions
and whistleblower lawsuits or other claims against the Debtors, their physicians and other
professionals arising out of the Debtors’ day to day business operations, including, without
limitation, client treatment at the Debtors’ facilities and relationships with healthcare providers
that may refer clients. Addressing any investigation, lawsuit or other claim may distract
management and divert resources, even if the Debtors ultimately prevail. Regardless of the
outcome of any such investigation, lawsuit or claim, the publicity and potential risks associated
with the investigation, lawsuit or claim could harm the Debtors’ reputation or the reputation of
their management and negatively impact the perception of the Debtors by cli ents, investors or
others and could have a materially adverse impact on their financial condition and results of
operations. Fines, restrictions, penalties and damages imposed as a result of an investigation or a
successful lawsuit or claim that is not covered by, or is in excess of, the Debtors’ insurance
coverage, may increase the Debtors’ costs and reduce the Debtors’ profitability. The Debtors’
insurance premiums have increased year over year, and insurance coverage may not be available
at a reasonable cost in the future, especially given the significant increase in insurance premiums
generally experienced in the healthcare industry.
         The Debtors are subject to an inherent risk of potential medical malpractice lawsuits and
other potential claims or legal actions in the ordinary course of business. From time to time, the
Debtors are subject to claims alleging that the Debtors did not properly treat or care for a client,
that the Debtors failed to follow internal or external procedures that resulted in death or harm to a
client or that their employees mistreated the Debtors’ clients, resulting in death or harm. Any
deficiencies in the quality of care provided by the Debtors’ employees could expose the Debtor to
governmental investigations and lawsuits from the Debtors’ patients. Some of these actions may
involve large claims as well as significant defense costs. The Debtors cannot predict the outcome
of these lawsuits or the effect that findings in such lawsuits may have on them. In an effort to
resolve one or more of these matters, the Debtors may decide to negotiate a settlement, and
amounts they pay to settle any of these matters may be material. All professional and general
liability insurance they purchase is subject to policy limitations. The Debto rs believe that, based
on the Debtors’ past experience, their insurance coverage is adequate considering the claims
arising from the operation of their facilities. While the Debtors continuously monitor the Debtors’
coverage, the Debtors’ ultimate liability for professional and general liability claims could change
materially from their current estimates. If such policy limitations should be partially or fully
exhausted in the future or if payments of claims exceed their estimates or are not covered by the
Debtors’ insurance, such issues could have a material adverse effect on the Debtors’ financial
condition and results of operations.
        The Debtors’ care for a large number of clients with complex medical conditions, co -
occurring disorders, special needs or who require a substantial level of care and supervision. There
is an inherent risk that the Debtors’ clients could be harmed while in treatment, whether through
                                                 95
ACTIVE 52312155v1
              Case 20-11648-JTD        Doc 524     Filed 09/01/20      Page 105 of 136




negligence, by accident or otherwise. Further, clients might engage in behavior that results in harm
to themselves, the Debtors’ employees or to one or more other individuals. Patient safety incidents
may result in regulatory enforcement actions, negative press about the Debtors or the addiction
treatment industry generally and lawsuits filed by plaintiff’s lawyers against them. These
developments could diminish public perception of the quality of the Debtors’ services, which in
turn could lead to a loss of client placements and referrals, resulting in a material adverse effect on
the Debtors’ business, results of operations and financial condition.

       Failure to comply with applicable laws, regulations and guidance could result in the
imposition of significant civil or criminal penalties, loss of license or certification or require them
to change their operations, or the exclusion of one or more facilities from participation in the
Medicare, Medicaid and other federal and state healthcare programs, any of which may have a
material adverse effect on the Debtors’ business, financial condition and results of operations.
Both federal and state government agencies as well as commercial payors have heightened and
coordinated civil and criminal enforcement efforts as part of numerous ongoing investigations of
healthcare organizations.
        The Debtors endeavor to comply with all applicable legal and regulatory requirements,
however, there is no guarantee that they will be able to adhere to all of the requirement that apply
to the Debtors’ business. The Debtors seek to structure all of their relationships with refer ral
sources and clients to comply with applicable anti-kickback laws, physician self-referral laws, fee-
splitting laws and state corporate practice of medicine prohibitions. The Debtors monitor these
laws and their implementing regulations and implement changes as necessary. However, the laws
and regulations in these areas are complex and often subject to varying interpretations. For
example, if an enforcement agency were to challenge the compensation paid under the Debtors’
contracts with professional physician groups, the Debtors could be required to change their
practices, face criminal or civil penalties, pay substantial fines or otherwise experience a material
adverse effect as a result.
                    18. State Efforts to Regulate the Construction or Expansion of Healthcare
                        Facilities Could Impair Their Ability to Operate and Expand Their
                        Facilities.
        The construction of new healthcare facilities, the expansion, transfer or change of
ownership of existing facilities and the addition of new beds, services or equipment ma y be subject
to state laws that require a determination of public need and prior approval by state regulatory
agencies under certificates of need (“CONs”) laws or other healthcare planning initiatives. Review
of and similar CONs proposals may be lengthy and may require public hearings. States in which
the Debtors now or may in the future operate may require CONs under certain circumstances not
currently applicable to the Debtors or may impose standards and other health planning
requirements upon them. Violation of these state laws and the Debtors’ failure to obtain any
necessary state approval could:

        (a)     result in the Debtors’ inability to acquire a targeted facility, complete a desired
                expansion, establish a new facility, or make a desired replacement; or




                                                  96
ACTIVE 52312155v1
              Case 20-11648-JTD       Doc 524     Filed 09/01/20      Page 106 of 136




        (b)     result in the revocation of a facility’s license or imposition of civil or criminal
                penalties any of which could have a material adverse effect on their business,
                financial condition and results of operations.

        If the Debtors are unable to obtain required regulatory, zoning or other required approvals
for renovations and expansions, the Debtors’ growth may be restrained, and their operating results
may be adversely affected. In the past, the Debtors have not experienced any material adverse
effects from such requirements, but the Debtors cannot predict their future impact on their
operations.
                    19. Change of Ownership or Change of Control Requirements Imposed by
                        State and Federal Licensure and Certification Agencies May Limit the
                        Debtors’ Ability to Timely Realize Opportunities, Adversely Affect
                        Their Licenses and Certifications, Interrupt Their Cash Flows,
                        Adversely Affect the Debtors’ Profitability and Delay the Effective
                        Date.

         State licensure laws and many federal healthcare programs (where applicable) impose a
number of obligations on healthcare providers undergoing a change of ownership or change of
control transaction. States may require notices to the governing agencies, and in many cases, new
license applications with varying timelines. These provisions require the Debtors to be proactive
when considering both internal restructuring and acquisitions of other treatment companies.
Failure to provide, or timely provide, such notices or to submit required paperwork can adversely
affect licensure on a going forward basis, can subject the parties to penalties, can adversely affect
the Debtors’ ability to operate the Debtors’ facilities and/or may delay the Effective Date.

                    20. A Pandemic, Epidemic or Outbreak of an Infectious Disease in the
                        Markets in Which the Debtors Operate Facilities, or Which Otherwise
                        Impacts the Debtors’ Facilities, Could Adversely Impact the Debtors’
                        Business.

         If a pandemic, epidemic, outbreak of an infectious disease, or other public health crisis
were to affect any or all of the markets in which the Debtors operate, the Debtors’ business and
results of operations could be adversely affected. Such a crisis could diminish the public’s trust in
healthcare facilities. If any of the Debtors’ facilities were involved in treating clients who
contracted such a contagious disease, other clients might cancel appointments or fail to seek
needed care from the Debtors’ facilities. Further, a pandemic might adversely impact the Debtors’
business by causing a temporary shutdown, by disrupting or delaying production and delivery of
materials and products in the supply chain or by causing staffing shortages in the Debtors’
facilities. In the event that a pandemic disrupts the production or supply of pharmaceuticals and
medical supplies, for example, the Debtors’ business could be adversely affected . Although the
Debtors have disaster plans in place and operate pursuant to infectious disease protocols, the
potential impact of a pandemic, epidemic or outbreak of an infectious disease, with respect to the
Debtors’ markets or the Debtors’ facilities is difficult to predict and could adversely impact the
Debtors’ business. In addition, if such events lead to a significant or prolonged impact on capital
or credit markets or economic growth, then the Debtors’ business, financial condition and results
of operations could be adversely affected.

                                                 97
ACTIVE 52312155v1
             Case 20-11648-JTD          Doc 524      Filed 09/01/20       Page 107 of 136




        As provided earlier, beginning in late March and early April of 2020, the Debtors faced
challenges due to COVID-19. The Debtors experienced a decline in inpatient admissions and
outpatient visits as a result of the virus and the measures undertaken to combat the virus, including
mandatory stay-at-home orders, restrictions on travel, supply chain disruptions, and preventive
measures to ensure that facilities remain coronavirus-free. The number of cases of COVID-19 has
recently increased significantly in states where the Debtors generate in excess of 80% of their
revenue. COVID-19, and the measures undertaken by the Debtors, have had and will continue to
have an adverse impact on the Debtors. While cash on hand became more limited and access to
credit became more restricted, the Debtors’ costs rose during this difficult economic time. The
Debtors expended significant time and resources in ensuring that its facilities remained open and
had sufficient staff and personal protective equipment to keep their patients and staff safe during
the pandemic.

       While the Debtors make every effort to combat COVID-19, the spread of the illness may
decrease the number of clients the Debtors can treat, which will strain the Debtors’ operations, as
additional preventative measures are implemented for the safety of clients and employees.

        D.      Risks Related to the Reorganized AAC Equity Interests or New Warrants.

                    1. The Debtors Have Not Registered, and Do Not Intend to Register the
                       Reorganized AAC Interests or New Warrants under the Securities Act
                       or the Securities Laws of Any States, Nor Do the Debtors Intend to
                       Offer to Exchange the Reorganized AAC Equity Interests or New
                       Warrants for Securities Registered under any such Laws in a
                       Registered Exchange Order.

        If the Entire Company Asset Sale does not occur, the Reorganized Debtors will issue the
Reorganized AAC Equity Interests and, in the case of the Exit Term Loan Facility, the New
Warrants. The Debtors have not registered, and do not intend to register, the Reorganized AAC
Equity Interests or New Warrants under the Securities Act or under the securities laws of any state,
nor do the Debtors intend to offer to exchange the Reorganized AAC Equity Interests or New
Warrants for securities registered under the Securities Act in an exchange offer registered
thereunder. As a result, the Reorganized AAC Equity Interests or New Warrants may be transferred
or resold only in transactions exempt from the securities registration requirements of federal and
applicable state laws.

         Any Reorganized AAC Equity Interests or New Warrants issued under the Plan in
satisfaction of Claims that are issued in a transaction exempt from registration under the Securities
Act pursuant to section 1145 of the Bankruptcy Code may be resold by the Holders thereof without
registration under the Securities Act unless the Holder is an “underwriter,” as defined in section
1145(b) of the Bankruptcy Code with respect to such Securities; provided, however, that such
Securities will not be freely transferable if, at the time of transfer, the Holder is either an “affiliate”
of Reorganized AAC Holdings as defined in Rule 144(a)(1) under the Securities Act or has been
such an “affiliate” within 90 days of such transfer. Such affiliate Holders would only be permitted
to sell such Securities without registration if they are able to comply with an applicable exemption
from registration, including in a transaction effected in accordance with Rule 144 under the
Securities Act. Reorganized AAC Equity Interests or New Warrants issued pursuant to the Plan
                                                    98
ACTIVE 52312155v1
            Case 20-11648-JTD         Doc 524      Filed 09/01/20      Page 108 of 136




to persons who are deemed to be “underwriters” will not have been issued pursuant to section 1145
of the Bankruptcy Code, and instead will have been issued pursuant to the exemption from
registration provided by Section 4(a)(2) of the Securities Act and Rule 506 promulgated
thereunder, and such Persons would only be permitted to sell such Securities without registration
if they are able to comply with an applicable exemption from registration, including in a transac tion
effected in accordance with Rule 144 under the Securities Act.

       In addition, the information which the Debtors are required to provide in order to issue the
Reorganized AAC Equity Interests or New Warrants pursuant to the Plan may be less than the
Debtors would be required to provide if the Reorganized AAC Equity Interests or New Warrants
were registered under the Securities Act.

         The Reorganized AAC Equity Interests or New Warrants issued otherwise than pursuant
to Section 1145 under the Bankruptcy Code will be issued in reliance upon the exemption from
registration set forth in Section 4(a)(2) of the Securities Act and Rule 506 promulgated thereunder,
and will be “restricted securities” as defined under Rule 144 under the Securities Act. These
securities will be subject to resale restrictions and may be resold, exchanged, assigned or otherwise
transferred only pursuant to registration under the Securities Act or pursuant to an applicable
exemption from registration under the Securities Act and other applicable law. All persons who
receive restricted securities pursuant to the Plan will be required to agree that they will not offer,
sell or otherwise transfer any such shares except in accordance with an applicable exemption from
registration under the Securities Act, and each such person will also be required to represent that
such person is an “accredited investor”, as defined under Rule 501(a) promulgated under the
Securities Act.

                    2. Any Implied Valuation of the Reorganized AAC Equity Interests and
                       New Warrants is Not Intended to Represent any Potential Trading
                       Price of the Reorganized AAC Equity Interests or the New Warrants.

        Any implied valuation of the Reorganized Debtors is not intended to represent the any
potential trading or market value of the Reorganized AAC Equity Interests or the New Warrants
in any public or private markets and is subject to additional uncertainties and contingencies, all of
which are difficult to predict. Actual market prices of such securities, if any, at issuance wil l
depend upon, among other things: (a) prevailing interest rates; (b) conditions in the financial
markets; (c) the anticipated initial securities holdings of prepetition creditors, some of whom may
prefer to liquidate their investment rather than hold it on a long-term basis; and (d) other factors
that generally influence the prices of securities. The actual market prices, if any, of the Reorganized
AAC Equity Interests or New Warrants are likely to be volatile. Many factors, including factors
unrelated to the Reorganized Debtors’ actual operating performance and other factors not possible
to predict, could cause the market prices of the Reorganized AAC Equity Interests and the New
Warrants to rise and fall precipitously. Accordingly, the implied value of the securities to be issued
does not necessarily reflect, and should not be construed as reflecting, values that will be attained
for the Reorganized AAC Equity Interests or New Warrants in any the public or private markets.




                                                  99
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 109 of 136




                    3. There is No Established Market for the Reorganized AAC Equity
                       Interests or New Warrants.

        The Reorganized AAC Equity Interests and New Warrants will be a new issuance of
Securities, and there is no established trading market for those Securities, and the Debtors do not
expect a market to develop. The Debtors are under no obligation, and do not intend to apply for
the Reorganized AAC Equity Interests or New Warrants to be listed on any securities exchange or
to arrange for quotation of such securities on any automated dealer quotation system or over-the-
counter market. Without an active market, the liquidity of the Reorganized AAC Equity Interests
and New Warrants will be extremely limited. Further, the Reorganized AAC Equity Interests and
New Warrants may be subject to transfer restrictions in the New Shareholders Agreement.
Accordingly, you may be required to bear the financial risk of your ownership of the Reorganized
AAC Equity Interests and New Warrants indefinitely. If a trading market were to develop, you
may experience difficulty in reselling the Reorganized AAC Equity Interests or New Warrants and
may not be able to sell your Reorganized AAC Equity Interests or New Warrants at a particular
time or at favorable prices. If a trading market were to develop, any such future trading p rices of
the Reorganized AAC Equity Interests or New Warrants may be volatile and will depend on many
factors, including: (a) the Reorganized Debtors’ operating performance and financial condition;
(b) the interest of securities dealers in making a market for them; and (c) the market for similar
Securities.

                    4. Holders of the Reorganized AAC Equity Interests May Experience
                       Dilution of their Ownership Interests.

        Shares of Reorganized AAC Equity Interests received by Holders of Junior Lender Claims
under the Plan on account of such Claims are subject to dilution by the issuance of New Warrants,
if any, and by the issuance of Reorganized AAC Equity Interests pursuant to the Management
Incentive Plan.
IX.     CONFIRMATION OF THE PLAN

        A.     Requirements for Confirmation of the Plan

        Among the requirements for Confirmation of the Plan pursuant to section 11 29 of the
Bankruptcy Code are: (1) the Plan is accepted by all Impaired Classes of Claims, or if rejected by
an Impaired Class, the Plan “does not discriminate unfairly” and is “fair and equitable” as to th e
rejecting Impaired Class; (2) the Plan is feasible; and (3) the Plan is in the “best interests” of
holders of Claims or Interests.

        At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan
satisfies all of the requirements of section 1129 of the Bankruptcy Code. The Debtors believe that:
(1) the Plan satisfies, or will satisfy, all of the necessary statutory requirements of chapter 11 for
plan confirmation; (2) the Debtors have complied, or will have complied, with all of the necessary
requirements of chapter 11 for plan confirmation; and (3) the Plan has been proposed in good faith.




                                                 100
ACTIVE 52312155v1
             Case 20-11648-JTD         Doc 524      Filed 09/01/20      Page 110 of 136




        B.     The Debtor Release, Third-Party Release, Exculpation, and Injunction Provisions.

        Under applicable law, a release provided by a debtor is appropriate where: (a) there is an
identity of interest between the debtor and the third party, such that a suit against the released non -
debtor party is, at core, a suit against the debtor or will deplete assets of th e estate; (b) there is a
substantial contribution by the non-debtor of assets to the reorganization; (c) the injunction is
essential to the reorganization; (d) there is overwhelming creditor support for the injunction; and
(e) the chapter 11 plan will pay all or substantially all of the claims affected by the injunction. In
re Indianapolis Downs, LLC, 486 B.R. 286, 303 (Bankr. D. Del. 2013). Importantly, these factors
are “neither exclusive nor are they a list of conjunctive requirements,” but “[i]nstead, they are
helpful in weighing the equities of the particular case after a fact-specific review.” Id. Further, a
chapter 11 plan may provide for a release of third -party claims against non-debtors, such as the
Third-Party Releases, where such releases are consensual. Id. at 304–06. In addition, exculpation
is appropriate where it applies to estate fiduciaries. Id. at 306. Finally, an injunction is appropriate
where it is necessary to the reorganization and fair pursuant to section 105(a) of the Bankruptcy
Code. In re W.R. Grace & Co., 475 B.R. 34, 107 (D. Del. 2012). In addition, approval of the
releases, exculpations, and injunctions for each of the Released Parties and each Exculpated Party
as part of Confirmation of the Plan will be limited to the exte nt such releases, exculpations, and
injunctions are permitted by applicable law.
        The Debtors believe that the releases, exculpations, and injunctions set forth in the Plan are
appropriate because, among other things, the releases are narrowly tailored to t he Debtors’
restructuring proceedings, and each of the Released Parties has contributed value to the Debtors
and aided in the reorganization process, which facilitated the Debtors’ ability to propose and
pursue confirmation. The Debtors believe that each of the Released Parties has played an integral
role in formulating the Plan and has expended significant time and resources analyzing and
negotiating the issues presented by the Debtors’ prepetition capital structure. The Debtors further
believe that such releases, exculpations, and injunctions are a necessary part of the Plan. In
addition, the Debtors believe the Third-Party Releases are entirely consensual under the
established case law in the United States Bankruptcy Court for the District of Delaware. See
Indianapolis Downs, 486 B.R. at 304–06. The Debtors will be prepared to meet their burden to
establish the basis for the releases, exculpations, and injunctions for each of the Released Parties
and each Exculpated Party as part of confirming the Plan.
        C.     Best Interests of Creditors/Liquidation Analysis

         Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires
that a bankruptcy court find, as a condition to confirmation, that a chapter 11 plan provides, with
respect to each impaired class, that each holder of a claim or an equity interest in such impaired
class either (1) has accepted the plan or (2) will receive or retain under the plan property of a value
that is not less than the amount that the non-accepting holder would receive or retain if the debtors
liquidated under chapter 7.

        Attached hereto as Exhibit E and incorporated herein by reference is a liquidation analysis
(the “Liquidation Analysis”) prepared by the Debtors with the assistance of the Debtors’ advisors.
As reflected in the Liquidation Analysis, the Debtors believe that liquidation of the Debtors’
businesses under chapter 7 of the Bankruptcy Code would result in substantial diminution in the

                                                  101
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 111 of 136




value to be realized by holders of Claims or Interests as compared to distributions contemplated
under the Plan. Consequently, the Debtors and their management believe that Confirmation of the
Plan will provide a substantially greater return to holders of Claims or Interests than would a
liquidation under chapter 7 of the Bankruptcy Code.

         If the Plan is not confirmed, and the Debtors fail to propose and confirm an alternative plan
of reorganization, the Debtors’ businesses may be liquidated pursuant to the provisions of a chapter
11 liquidating plan. In liquidations under chapter 11, the Debtors’ assets could be sold in an
orderly fashion over a more extended period of time than in a liquidation under chapter 7. Thus,
a chapter 11 liquidation may result in larger recoveries than a chapter 7 liquidation, but the delay
in distributions could result in lower present values received and higher administrative costs. Any
distribution to holders of Claims or Interests (to the extent holders of Interests would receive
distributions at all) under a chapter 11 liquidation plan would most likely be substantially delayed.
Most importantly, the Debtors believe that any distributions to creditors in a chapter 11 liquidation
scenario would fail to capture the significant going concern value of their businesses, which is
reflected in the Reorganized AAC Equity Interests and New Warrants to be distributed under the
Plan or, alternatively, in the purchase price of an Entire Company Asset Sale . Accordingly, the
Debtors believe that a chapter 11 liquidation would not result in distributions as favorable as those
under the Plan.

        D.     Feasibility

       Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of a plan of
reorganization is not likely to be followed by the liquidation, or the need for further financial
reorganization of the debtor, or any successor to the debtor (unless suc h liquidation or
reorganization is proposed in such plan of reorganization).

        To determine whether the Plan meets this feasibility requirement, the Debtors, with the
assistance of the Debtors’ Chief Restructuring Officer, have analyzed their ability to meet their
respective obligations under the Plan. As part of this analysis, the Debtors have prepared their
projected consolidated balance sheet, income statement, and statement of cash flows (the
“Financial Projections”). Creditors and other interested parties should review Article VIII of this
Disclosure Statement, entitled “Risk Factors,” for a discussion of certain factors that may affect
the future financial performance of the Reorganized Debtors.

        The Financial Projections are attached hereto as Exhibit F and incorporated herein by
reference. Based upon the Financial Projections, the Debtors believe that they will be a viable
operation following the Chapter 11 Cases and that the Plan will meet the feasibility requirements
of the Bankruptcy Code.

        E.     Acceptance by Impaired Classes

        The Bankruptcy Code requires, as a condition to confirmation, except as described in the
following section, that each class of claims or equity interests impaired under a plan, accept the
plan. A class that is not “impaired” under a plan is deemed to have accepted the plan and, therefore,
solicitation of acceptances with respect to such a class is not required.


                                                 102
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 112 of 136




        Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of impaired
claims as acceptance by holders of at least two-thirds in dollar amount and more than one-half in
a number of allowed claims in that class, counting only those claims that have actually voted to
accept or to reject the plan. Thus, a class of Claims will have voted to accept the Plan only if two-
thirds in amount and a majority in number of the Allowed Claims in such class that vote on the
Plan actually cast their ballots in favor of acceptance.

        Section 1126(d) of the Bankruptcy Code defines acceptance of a plan by a class of impaired
equity interests as acceptance by holders of at least two -thirds in amount of allowed interests in
that class, counting only those interests that have actually voted to accept or to reject the plan.
Thus, a class of Interests will have voted to accept the Plan only if two-thirds in amount of the
Allowed Interests in such class that vote on the Plan actually cast their ballots in favor of
acceptance.

        Pursuant to Article III.E of the Plan, if a Class or Sub-Class contains Claims or Interests
eligible to vote and no holders of Claims or Interests eligible to vote in such Class or Sub-Class
vote to accept or reject the Plan, the holders of such Claims or Interests in such Class or Sub-Class
shall be deemed to have accepted the Plan.

        F.     Confirmation Without Acceptance by All Impaired Classes

         Section 1129(b) of the Bankruptcy Code allows a bankruptcy court to confirm a plan even
if all impaired classes have not accepted it; provided, that the plan has been accepted by at least
one impaired class. Pursuant to section 1129(b) of the Bankruptcy Code, notwithstanding an
impaired class’s rejection or deemed rejection of the plan, the plan will be confirmed, at the plan
proponent’s request, in a procedure commonly known as a “cramdown” so long as the plan does
not “discriminate unfairly” and is “fair and equitable” with respect to each class of claims or equity
interests that is impaired under, and has not accepted, the plan.

        If any Impaired Class or Sub-Class rejects the Plan, the Debtors reserve the right to seek to
confirm the Plan utilizing the “cramdown” provision of section 1129(b) of the Bankruptcy Code.
To the extent that any Impaired Class or Sub-Class rejects the Plan or is deemed to have rejected
the Plan, the Debtors may request Confirmation of the Plan, as it may be modified from time to
time, under section 1129(b) of the Bankruptcy Code. The Debtors reserve the right to alter, amend,
modify, revoke, or withdraw the Plan or any Plan Supplement document, including the right to
amend or modify the Plan or any Plan Supplement document to satisfy the requirements of section
1129(b) of the Bankruptcy Code.

                    1. No Unfair Discrimination

        The “unfair discrimination” test applies to classes of claims or interests that are of equal
priority and are receiving different treatment under a plan. The test does not require that the
treatment be the same or equivalent, but that treatment be “fair.” In general, bankruptcy courts
consider whether a plan discriminates unfairly in its treatment of classes of claims or interests of
equal rank (e.g., classes of the same legal character). Bankruptcy courts will take into account a
number of factors in determining whether a plan discriminates unfairly. A plan could treat two
classes of unsecured creditors differently without unfairly discriminating against either class.

                                                 103
ACTIVE 52312155v1
            Case 20-11648-JTD          Doc 524      Filed 09/01/20      Page 113 of 136




                    2. Fair and Equitable Test

        The “fair and equitable” test applies to classes of different priority and status (e.g., secured
versus unsecured) and includes the general requirement that no class of claims receive more than
100% of the amount of the allowed claims in the class. As to the dissenting class, the test sets
different standards depending upon the type of claims or equity interests in the class.

        As a condition to the test, section 1129(b)(2) of the Bankruptcy Code provides that a plan
is “fair and equitable” with respect to a dissenting impaired class of unsecured claims if the
creditors in the class receive or retain property of a value equal to the allowed amount of their
claims or, failing that, no creditor of lesser priority, or shareholder, receives any distribution under
the plan. This requirement is sometimes referred to as the “absolute priority rule.”

        The Debtors submit that if the Debtors “cramdown” the Plan pursuant to section 1129(b)
of the Bankruptcy Code, the Plan is structured so that it does not “discriminate unfairly” and
satisfies the “fair and equitable” requirement. With respect to the unfair discrimination
requirement, all Classes and Sub-Classes under the Plan are provided treatment that is substantially
equivalent to the treatment that is provided to other Classes and Sub-Classes that have equal rank.
With respect to the fair and equitable requirement, and “absolute priority rule,” no Class or Sub-
Class under the Plan will receive more than 100% of the amount of Allowed Claims or Interests
in that Class or Sub-Class. The Debtors believe that the Plan and the treatment of all Classes and
Sub-Classes of Claims or Interests under the Plan satisfy the foregoing requirements for
nonconsensual Confirmation of the Plan.

X.      CERTAIN SECURITIES LAW MATTERS

       If a Reorganization Transaction occurs, the Reorganized AAC Equity Interests will or may
be “securities,” as defined in Section 2(a)(1) of the Securities Act, section 101 of the Bankruptcy
Code, and applicable state securities laws.

        Pursuant to Section 1145 of the Bankruptcy Code, the offering, distribution, issuance and
sale of the Reorganized AAC Equity Interests and the New Warrants as contemplated by the Plan
are exempt from, among other things, the registration requirements of Section 5 of the Securities
Act and any other applicable U.S. state or local law requiring registration of the Reorganized AAC
Equity Interests and the New Warrants prior to the offering, issuance, distribution, or sale thereof.
If issued in accordance with section 1145 of the Bankruptcy Code, the Reorganized AAC Equity
Interests and the New Warrants (i) will not be “restricted securities” as defined in Rule 144(a)(3)
under the Securities Act, and (ii) will be freely transferable by any initial recipient thereof that (a)
is not an “affiliate” of Reorganized AAC Equity Interest as defined in Rule 144(a)(1) under the
Securities Act, (b) has not been such an “affiliate” within 90 days of such transfer, and (c) is not
an entity that is an “underwriter” as defined in subsection (b) of Section 1145 of the Bankruptcy
Code.

        The Reorganized AAC Equity Interests or New Warrants issued otherwise than pursuant
to Section 1145 under the Bankruptcy Code, if any (e.g., to a person w ho is an “underwriter” within
the meaning of Section 1145 of the Bankruptcy Code), will be issued in reliance upon the
exemption from registration set forth in Section 4(a)(2) of the Securities Act and Rule 506

                                                  104
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 114 of 136




promulgated thereunder, and will be “restricted securities” as defined under Rule 144 under the
Securities Act. These securities will be subject to resale restrictions and may be resold, exchanged,
assigned or otherwise transferred only pursuant to registration under the Securities Act or pursuant
to an applicable exemption from registration under the Securities Act and other applicable law.
All persons who receive restricted securities pursuant to the Plan will be required to agree that they
will not offer, sell or otherwise transfer any such shares except in accordance with an applicable
exemption from registration under the Securities Act, and each such person will also be required
to represent that such person is an “accredited investor”, as defined under Rule 501(a) promulgated
under the Securities Act.

XI.     CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF
        THE PLAN

        A.      Introduction

        The following discussion summarizes certain United States (“U.S.”) federal income tax
consequences of the implementation of the Plan to the Debtors, the Reorganized Deb tors, and
beneficial owners of Claims (each, a “Holder”). This summary is based on the Internal Revenue
Code of 1986, as amended (the “Tax Code”), the U.S. Treasury Regulations promulgated
thereunder (the “Treasury Regulations”), judicial decisions and published administrative rules, and
pronouncements of the Internal Revenue Service (the “IRS”), all as in effect on the date hereof
(collectively, “Applicable Tax Law”). Changes in the rules or new interpretations of the rules may
have retroactive effect and could significantly affect the U.S. federal income tax consequences
described below. The Debtors have not requested, and will not request, any ruling or determination
from the IRS or any other taxing authority with respect to the tax consequences discussed herein,
and the discussion below is not binding upon the IRS or the courts. No assurance can be given
that the IRS would not assert, or that a court would not sustain, a different position than any
position discussed herein.
        This summary does not address foreign, state, or local tax consequences of the Plan, nor
does it purport to address all aspects of U.S. federal income taxation that may be relevant to a
Holder in light of its individual circumstances or to a Holder that may be subject to special ta x
rules (such as Persons who are related to the Debtors within the meaning of the Tax Code, broker-
dealers, banks, mutual funds, insurance companies, financial institutions, small business
investment companies, regulated investment companies, tax exempt organizations, pass-through
entities, beneficial owners of pass-through entities, subchapter S corporations, persons who hold
Claims or who will hold the New Warrants or the Reorganized AAC Equity Interests as part of a
straddle, hedge, conversion transaction, or other integrated investment, persons using a mark-to-
market method of accounting, and holders of Claims who are themselves in bankruptcy).
Furthermore, this summary assumes that a Holder holds only Claims in a single Class or Sub -Class
and holds a Claim only as a “capital asset” (within the meaning of Section 1221 of the Tax Code).
This summary also assumes that the various debt and other arrangements to which any of the
Debtors are a party will be respected for U.S. federal income tax purposes in a ccordance with their
form, and that the Claims constitute interests in the Debtors “solely as a creditor” for purposes of
Section 897 of the Tax Code. This summary does not discuss differences in tax consequences to
a Holder that acts or receives consideration in a capacity other than as a Holder of a Claim of the


                                                 105
ACTIVE 52312155v1
            Case 20-11648-JTD          Doc 524      Filed 09/01/20      Page 115 of 136




same Class or Sub-Class, and the tax consequences for such Holders may differ materially from
that described below.
         The U.S. federal income tax consequences of the implementation of the Plan will depend
on, among other things, whether the Reorganization Transaction is structured as a taxable sale of
the Debtors’ assets and/or stock (such a structure, a “Taxable Transaction”). While a Taxable
Transaction potentially offers the Reorganized Debtors certain tax advantages in periods following
the Effective Date, the availability of these tax advantages depends on numerous considerations
that cannot be known with certainty at this time. These considerations include the value and tax
basis of the Debtors’ assets on the Effective Date, and whether the Debtors have sufficient net
operating loss carry forwards to offset any taxable gain arising from a Taxable Transaction. As a
result, the Debtors have not yet determined whether they intend to structure the Reorganization
Transaction as a Taxable Transaction, and, except as otherwise provided, and the following
discussion assumes that the implementation of the Plan will not be struc tured as a Taxable
Transaction. Moreover, if the Debtors pursue a Taxable Transaction, the U.S. federal income tax
consequences of the implementation of the Plan to Holders of Claims may differ materially from
the tax consequences described below.
        For purposes of this discussion, a “U.S. Holder” is a holder of a Claim that is: (1) an
individual citizen or resident of the United States for U.S. federal income tax purposes; (2) a
corporation (or other entity treated as a corporation for U.S. federal income tax purposes) created
or organized under the laws of the United States, any state thereof or the District of Columbia; (3)
an estate the income of which is subject to U.S. federal income taxation regardless of the source
of such income; or (4) a trust (A) if a court within the United States is able to exercise primary
jurisdiction over the trust’s administration and one or more United States persons have authority
to control all substantial decisions of the trust or (B) that has a valid election in effect under
applicable Treasury Regulations to be treated as a United States person. For purposes of this
discussion, a “non-U.S. Holder” is any Holder of a Claim that is not a U.S. holder other than any
partnership (or other entity treated as a partnership or oth er pass-through entity for U.S. federal
income tax purposes).
        If a partnership (or other entity treated as a partnership or other pass -through entity for U.S.
federal income tax purposes) is a Holder, the tax treatment of a partner (or other beneficial owner)
generally will depend upon the status of the partner (or other beneficial owner) and the activities
of the entity. Partners (or other beneficial owners) of partnerships (or other pass-through entities)
that are Holders should consult their respective tax advisors regarding the U.S. federal income tax
consequences of the Plan.

     ACCORDINGLY, UNLESS SPECIFICALLY NOTED OTHERWISE, THE
FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL INCOME TAX
CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS
APPLICABLE ONLY TO U.S. HOLDERS, AS DEFINED ABOVE, AND IS NOT A
SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON THE
INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER OF A CLAIM OR
INTEREST. ALL HOLDERS OF CLAIMS OR INTERESTS ARE URGED TO CONSULT
THEIR OWN TAX ADVISORS AS TO THE FEDERAL, STATE, LOCAL, AND NON-U.S.
INCOME, ESTATE, AND OTHER TAX CONSEQUENCES OF THE PLAN.

                                                  106
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 116 of 136




        B.      Certain U.S. Federal Income Tax Consequences to the Debtors and the
                Reorganized Debtors

                1.     Cancellation of Debt and Reduction of Tax Attributes

       In general, absent an exception, a debtor will realize and recognize cancellation of debt
income (“COD Income”), for U.S. federal income tax purposes, upon satisfaction of its outstanding
indebtedness for total consideration less than the amount of such indebtedness. The amount of
COD Income, in general, is the excess of (a) the adjusted issue price of the indebtedness satisfied,
over (b) the sum of (i) the amount of Cash paid, (ii) the issue price of any new indebtedness of the
taxpayer issued, and (iii) the fair market value of any other new consideration (including stock of
the debtor or a party related to the debtor) given in satisfaction of such indebtedness at the time of
the exchange.
         Under Section 108 of the Tax Code, a debtor is not required to include COD Income in
gross income (a) if the debtor is under the jurisdiction of a court in a case under chapter 11 of the
Bankruptcy Code and the discharge of debt occurs pursuant to that proceeding (the “ Bankruptcy
Exception”) or (b) to the extent that the taxpayer is insolvent immediately before the discharge
(the “Insolvency Exception”). Instead, as a consequence of such exclusion, a debtor must reduce
its tax attributes by the amount of COD Income that it excluded from gross income pursuant to the
rule discussed in the preceding sentence. In general, tax attributes will be reduced in the following
order: (a) NOLs and NOL carryforwards; (b) general business credit carryovers; (c) minimum tax
credit carryovers; (d) capital loss carryovers; (e) tax basis in assets; (f) passive activity loss and
credit carryovers; and (g) foreign tax credit carryovers. Alternatively, a debtor with COD Income
may elect first to reduce the basis of its depreciable assets pursuant to Section 108(b)(5) of the Tax
Code. The Debtors have not yet determined whether this election will be made. Whether or not
an election is made pursuant to Section 108(b)(5) of the Tax Code, the reduction in tax attributes
occurs only after the tax for the year of the debt discharge has been determined. Any excess COD
Income over the amount of available tax attributes is not subject to U.S. federal income tax and
generally has no other U.S. federal income tax impact.
         The Treasury Regulations address the method and order for applying tax attribute reduction
to an affiliated group of corporations. Under these Treasury Regulations, the tax attributes of each
member of an affiliated group of corporations that is excluding COD Income is first subject to
reduction. To the extent the debtor member’s tax basis in stock of a lower-tier member of the
affiliated group is reduced, a “look through rule” requires that a corresponding reduction be made
to the tax attributes of the lower-tier member. If a debtor member’s excluded COD Income
exceeds its tax attributes, the excess COD Income is applied to reduce certain remaining
consolidated tax attributes of the affiliated group.
         The amount of COD Income that may result in a reduction of Reorganized AAC’s tax
attributes, and that may by allocated to the Holders of equity in Reorganized AAC will depend on
the value (or issue price, in case of new debt) of the consideration received by Holders. The fair
market value and issue price, as applicable, of such consideration cannot be known with certainty
until after the Effective Date.



                                                 107
ACTIVE 52312155v1
            Case 20-11648-JTD          Doc 524     Filed 09/01/20     Page 117 of 136




                2.         Limitations of NOLs Carry Forwards and Other Tax Attributes

        The precise amount of NOL carryovers and other tax attributes (such as capital loss
carryforwards, tax credit carryforwards and losses and deductions that have accrued economically
but are unrecognized as of the date of the ownership change) that will be available to the Debtors
at emergence is based on a number of factors and is impossible to calculate at this time. The
Debtors estimate that they have incurred consolidated NOLs of approximately $87 million as of
the Petition Date and are expecting that the consolidated NOLs will increase to approximately
$190 million as of December 31, 2020. Some of the factors that will impact the amount of
available NOLs include: the amount of taxable income or loss incurred by the Debtors in 2019 and
2020; the fair market value of the New Warrants or Reorganized AAC Equity Interests; and the
amount of COD Income incurred by the Debtors in connection with consummation of the Plan.
Further, the Debtors are under Audit for taxable years 2013 and 2014. Accordingly, the amount
of the Debtors’ NOLs ultimately may vary from the amounts set forth above based on the audit for
2013 and 2014 or an audit for any other past taxable year. The Debtors anticipate that, taking these
factors into account, they will have some federal NOL carryovers following emergence, subject to
the limitations discussed below. The Debtors’ subsequent utilization of any losses and NOL
carryovers remaining and possibly certain other tax attributes may be restricted as a result of and
upon consummation of the Plan.

        Following consummation of the Plan, the Debtors anticipate that any remaining NOL and
tax credit carryovers and, possibly, certain other tax attributes of the Debtors allocable to periods
prior to the Effective Date (collectively, “Pre-Change Losses”) may be subject to limitation under
Section 382 of the Tax Code as a result of an “ownership change” of the Debtors by reason of the
transactions pursuant to the Plan. Under Section 382 of the Tax Code, if a corporation undergoes
an “ownership change,” the amount of its Pre-Change Losses that may be utilized to offset future
taxable income generally is subject to an annual limitation.

                      i.         General Section 382 Annual Limitation

        In general, the amount of the annual limitation to which a corporation that undergoes an
“ownership change” would be subject is equal to the product of (i) the fair market value of the
stock of the corporation immediately before the “ownership change” (with certain adjustments)
multiplied by (ii) the “long-term tax-exempt rate” (which is the highest of the adjusted federal
long-term rates in effect for any month in the 3 -calendar-month period ending with the calendar
month in which the “ownership change” occurs: 0.89 percent for July 2020 or August 2020).
Section 383 of the Tax Code applies a similar limitation to capital loss carryforwards and tax
credits. Any unused limitation may be carried forward, thereby increasing the annual limitation
in the subsequent taxable year. As discussed below, however, special rules may apply in the case
of a corporation that experiences an ownership change as the result of a bankruptcy proceeding.

         Notwithstanding the rules described above, if post-ownership change, a debtor corporation
and its subsidiaries do not continue the debtor corporation’s historic business or use a significant
portion of its historic business assets in a new business for two years after the ownership change,
the annual limitation resulting from the ownership change is zero, which will prevent any
utilization of the corporation’s pre-change losses (absent any increases due to any recognized built -
in gains) or tax credits.
                                                 108
ACTIVE 52312155v1
            Case 20-11648-JTD          Doc 524      Filed 09/01/20      Page 118 of 136




        If the Debtors’ assets in the aggregate have a fair market value less than the Debtors’ tax
basis therein (a “Net Unrealized Built-in Loss”), any built-in losses recognized during the
following five years (up to the amount of the original Net Unrealized Built -in Loss), including loss
on disposition of assets and depreciation and amortization deductions attributable to the excess of
the tax basis of the assets of the Debtors over their fair market value as of the date of the ownership
change, generally will be treated as Pre-Change Losses subject to the annual limitation. While the
Debtors have not completed a review and valuation of their assets, the Debtors do not expect to
have a Net Unrealized Built-in Loss in their assets after the consummation of the Plan.

        If the Debtors’ assets in the aggregate have a fair market v alue greater than the Debtors’
tax basis therein (such excess, a “Net Unrealized Built-in Gain”), any Net Unrealized Built-in Gain
recognized by the Debtors in the five years immediately after the ownership change will generally
increase the section 382 limitation in the year recognized, such that the Debtors would be permitted
to use their pre-change NOLs against such gain in addition to their regular allowance. For these
purposes, the Debtors would be permitted to increase their annual section 382 limita tion during
the five years immediately after the ownership change by an amount determined by reference to
the depreciation and amortization deductions that a hypothetical purchaser of the Debtors’ assets
would have been permitted to claim if it had acquired the Debtors’ assets in a taxable transaction
as compared to the actual depreciation and amortization deductions of the Debtors. While the
Debtors have not completed a review and valuation of their assets, the Debtors do not expect to
have a Net Unrealized Built-in Gain in their assets after recognizing the incipient COD after the
consummation of the Plan.

                     ii.       Special Bankruptcy Exceptions

         An exception to the foregoing annual limitation rules generally applies when so -called
“qualified creditors” of a debtor company in chapter 11 receive, in respect of their claims, at least
50% of the vote and value of the stock of the reorganized debtor (or a controlling corporation if
also in chapter 11) pursuant to a confirmed chapter 11 plan (the “ 382(l)(5) Exception”). A
“qualified creditor” generally is a creditor who has held (i) its claim continuously for at least 18
months prior to the petition date or (ii) a claim incurred in the ordinary course of the debtor’s
business since the claim was incurred. A claim that arises upon the rejection of a burdensome
contract pursuant to a chapter 11 case is treated as an ordinary course claim. Under the 382(l)(5)
Exception, a debtor’s Pre-Change Losses are not limited on an annual basis but, instead, are
required to be reduced by the amount of any interest deductions claimed during the three taxable
years preceding the Effective Date, and during the part of the taxable year prior to and including
the Effective Date, in respect of all debt converted into stock in the reorganizati on. If the 382(l)(5)
Exception applies and the Debtors undergo another “ownership change” within two years after
consummation of the Plan, then the Debtors’ Pre-Change Losses effectively would be eliminated
in their entirety.

         Where the 382(l)(5) Exception is not applicable (either because the debtor does not qualify
for it or the debtor otherwise elects not to utilize the 382(l)(5) Exception), a second special rule
will generally apply (the “382(l)(6) Exception”). Under the 382(l)(6) Exception, the annual
Section 382 limitation will be calculated by reference to the lesser of the value of the debtor
corporation’s new stock (with certain adjustments) immediately after the ownership change or the
value of such debtor corporation’s assets (determined without regard to liabilities) immediately
                                                 109
ACTIVE 52312155v1
            Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 119 of 136




before the ownership change. This differs from the ordinary rule that requires the fair market value
of the stock of a debtor corporation that undergoes an “ownership change” to be determined before
the events giving rise to the change. The 382(l)(6) Exception also differs from the 382(l)(5)
Exception in that under it the debtor corporation is not required to reduce its NOLs by the amount
of interest deductions claimed within the prior three-year period, and the debtor may undergo a
change of ownership within two years without triggering the elimination of its NOLs , with any
resulting limitation instead determined under the regular rules for ownership changes.

        It is possible that the Debtors will not qualify for the 382 (l)(5) Exception. Alternatively,
even if the 382(l)(5) Exception could apply, the Reorganized Debtors may decide to elect out of
the 382(l)(5) Exception, particularly if it appears likely that another ownership change will occur
within two years after emergence. In either case, the Debtors anticipate that their use of the Pre -
Change Losses (if any) after the Effective Date will be subject to limitation based on the rules
discussed above, but taking into account the 382(l)(6) Exception. Regardless of whether the
Reorganized Debtors take advantage of the 382(l)(6) Exception or the 382(l)(5) Exception, the
Reorganized Debtors’ use of their Pre-Change Losses after the Effective Date may be adversely
affected if an “ownership change” within the meaning of section 382 of the Tax Code were to
occur after the Effective Date.

                3.     NOL Refund and Funds from PPP

        The Debtors used the change in carry back rules under the CARES Act which permitted
the carryback of NOLs to be applied against prior years’ income to apply for a refund and may do
so again when their 2019 returns are finalized. Any Federal income tax refund received by the
Debtors will not be taxable; any state and local refunds received will be taxable on the federal
return. Additionally, as set forth in the Plan, the Debtors received a loan of $10,000,000 of PPP
under the CARES Act and as further set forth in the Plan, the Debtors believe the funds are being
used in accordance with the requirements of the CARES Act and will be forgiven in 2020.
Provided the requirement of the CARES Act have been followed, the forgiveness of the
$10,000,000 loan will not create any cancellation of debt income or any other income.

                4.     Restrictions on Resale of Securities to Protect NOLs

        The Debtors expect to emerge from chapter 11 with valuable tax attributes, including
substantial NOLs. Regardless of whether the Debtors elect to utilize the 382(l)(5) Exception, the
Debtors’ ability to utilize these NOLs could be subject to elimination of the limitation if an
“ownership change” with respect to the issuance of New Warrants and/and Reorganized AAC
Equity Interests were to occur after emergence. To the extent reasonably necessary to avoid
adverse federal income tax consequences resulting from an ownership change (as defined in
Section 382 of the Tax Code), the Amended Certificate of Incorporation and the Stock holders
Agreement may impose certain restrictions on the transfer of (i) New Warrants and (ii) Claims
prior to their Allowance without the consent of the Reorganized Board. Such restrictions, if any,
will be described in the Plan Supplement.




                                                110
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 120 of 136




        C.      Certain U.S. Federal Income Tax Consequences to Certain U.S. Holders o f
                Claims

        The following discussion assumes that the Debtors will undertake the Reorganization
Transaction currently contemplated by the Plan. Holders of Claims or Interests are urged to consult
their tax advisors regarding the tax consequences of the Reorganization Transaction.

        As discussed below, the tax consequences of the Plan to U.S. Holders of Allowed Claims
on the Plan will depend upon a variety of factors , among other things: (a) the type of consideration
received by the Holder of Allowed Claims against the Debtors in exchange for such Claim; (b) the
taxable year in which the Holder receives distributions under the Plan; (c) the nature of such Claim;
(d) whether the Holder has previously claimed a bad debt or worthless security deduction in respe ct
of such Claim; (e) whether such Claim constitutes a security, as further discussed below; (f)
whether the Holder of such Claim is a citizen or resident of the United States for tax purposes, or
otherwise subject to U.S. federal income tax on a net income basis, or falls into any special class
of taxpayers, as mentioned above; (g) whether the Holder of such Claim against the Debtors reports
income on the accrual or cash basis; (h) the manner in which the Holder acquired the Claim and
whether the Claim was acquired at a discount; (i) the length of time that the Claim has been held;
(j) whether the Holder has previously included in income accrued but unpaid interest with respect
to the Claim; and (k) whether the Holder of such Claim against the Debtors recei ves any
distributions under the Plan in more than one taxable year. For tax purposes, if a Claim is reinstated
yet subject to a modification, the reinstatement may be treated as a taxable exchange of the Claim
by the Holder for a new Claim, even though no actual transfer takes place. The character of any
recognized gain as capital gain or ordinary income will be determined by a number of factors,
including the tax status of the U.S. Holder, the nature of the Claim in such U.S. Holder’s hands
(including whether the Claim constitutes a capital asset), whether the Claim was purchased at a
discount, whether and to what extent the U.S. Holder has previously claimed a bad debt deduction
with respect to its Claim, and whether any part of the U.S. Holder’s recovery is treated as being
on account of accrued but untaxed interest. In general, for purposes of the discussion below, subject
to other matters discussed herein such as the market discount rules, gain or loss recognized by a
Holder upon exchange of that Claim generally would be long-term capital gain or loss if the U.S.
Holder held such asset for more than one year at the time of the exchange. The deductibility of
capital losses is subject to certain limitations. If property is received by a Holder upon an
exchange, a Holder’s tax basis in the property received should equal the fair market value of such
property. A U.S. Holder’s holding period for the property received on the Effective Date would
begin on the day following the Effective Date.

        The U.S. federal income tax consequences to a U.S. Holder of a Claim will depend, in part,
on whether the Claim surrendered constitutes a “security” of a Debtor for U.S. federal income tax
purposes. Neither the Tax Code nor the Treasury Regulations promulgated thereunder define the
term “security.” Whether a debt instrument constitutes a “security” is determined based on all
relevant facts and circumstances, but most authorities have held that the length of the term of a
debt instrument at initial issuance is an important factor in determining whether such instrument
is a security for U.S. federal income tax purposes. These authorities have indicated that a term of
less than five years is evidence that the instrument is not a security, whereas a term of ten years or
more is evidence that it is a security. There are numerous other factors that could be taken into
account in determining whether a debt instrument is a security, including the available collateral,
                                                 111
ACTIVE 52312155v1
            Case 20-11648-JTD          Doc 524      Filed 09/01/20      Page 121 of 136




the creditworthiness of the obligor, the subordination or lack thereof with respect to other creditors,
the right to vote or otherwise participate in the management of the obligor, convertibility of the
instrument into an interest of the obligor, whether payments of interest are fixed, variable, or
contingent, and whether such payments are made on a current basis or accrued. The Prepetition
Senior Lien Credit Agreement has a term of less than five years, and accordingly the Debtors
intend to treat Senior Lender Claims as not constituting a “security.” The Prepetition Junior Lien
Facility has a term in excess of five years, but less than ten years. The treatment of the Junior Lien
Claims is uncertain and the Debtors are still evaluating this issue. Due to the inherently factual
nature of the determination, U.S. Holders are urged to consult their tax advisors regarding the
status of the Senior Lien Claims and Junior Lien Claims for U.S. federal income tax purposes. U.S.
Holders should be aware that the Debtors will not issue any documents purporting to declare
whether Junior Lien Claims are a security or not.

                    1. U.S. Federal Income Tax Consequences to U.S. Holders of Class 1
                       (Other Priority Claims).

         Pursuant to the Plan, in full and final satisfaction of each Allowed Other Priority Claim,
except to the extent that a Holder of an Allowed Other Priority Claim agrees to a less favorable
treatment, each Holder thereof will receive payment in full in Cash or other treatment rendering
such Claim Unimpaired. A U.S. Holder of an Allowed Other Priority Claim that receives payment
in full in Cash should generally not recognize any income or loss. For any Holder of Class 1 Claim
that did not take the interest into income as it accrued, the amount recovered that is attributable to
the interest must be taken into account as ordinary interest income.

                    2. U.S. Federal Income Tax Consequences to U.S. Holders of Class 2
                       (Other Secured Claim).

        Pursuant to the Plan, in full and final satisfaction of each Allowed Other Secured Claim,
except to the extent that a Holder of an Allowed Other Secured Claim agrees to less favorable
treatment, each Holder thereof will receive: (a) payment in full in Cash; (b) delivery of the collateral
securing any such Claim and payment of any interest required under section 506(b) of the
Bankruptcy Code; (c) Reinstatement of such Claim; or (d) such other treatment rendering such
Claim Unimpaired. A U.S. Holder of an Allowed Other Secured Claim that receives payment in
full in Cash should generally not recognize any income or loss. For any Holder of Class 2 Claim
that did not take the interest into income as it accrued, the amount recovered that is attributable to
the interest must be taken into account as ordinary interest income.

                    3. U.S. Federal Income Tax Consequences to U.S. Holders of Allowed
                       Class 3 Claims (Senior Lender Claims)

        Pursuant to the Plan, in exchange for full and final satisfaction, compromise, settlement,
release, and discharge of its Claim (unless the applicable Holder agrees to a less favorable
treatment), each Holder of an Allowed Senior Lender Claim shall receive (i) Cash, (ii) Exit Term
Loan interests, and/or (ii) New Warrants.

         A U.S. Holder of an Allowed Senior Lender Claim is expected to be treated as receiving
its distributions under the Plan in a taxable exchange under Section 1001 of the Tax Code. Other

                                                  112
ACTIVE 52312155v1
            Case 20-11648-JTD         Doc 524      Filed 09/01/20      Page 122 of 136




than with respect to any amounts received that are attributable to accrued but untaxed interest, each
U.S. Holder of such Claim is expected to recognize gain or loss equal to the difference between (i)
the sum of (a) the Cash received in exchange for the Claim, (b) the issue price of the Exit Term
Loan interests, and (c) the fair market value of New Warrants received in exchange for the Claim,
and (ii) such U.S. Holder’s adjusted basis, if any, in such Claim. The character of such gain or loss
as capital gain or loss or as ordinary income or loss will be determined by a number of factors
unique to the U.S. Holder, including the tax status of the U.S. Holder whether the Claim was
purchased at a discount, and whether and to what extent the U.S. Holder previously has claimed a
bad debt deduction with respect to its Claim.

        U.S. Holders of such Claims that receive the Exit Term Loan interests and the New
Warrants are expected to obtain tax basis in the Exit Term Loan interests that equals its issue price
on the date of the exchange, and the tax basis in the New Warrants equal to the fair market value
thereof as of the date the New Warrants are distributed to the U.S. Holder. The holding period for
any such Exit Term Loan interests and New Warrants is expected to begin on the day following
the Effective Date.

         The tax basis of any Exit Term Loan interests and New Warrants determined to be received
in satisfaction of accrued but untaxed interest is expected to equal the amount of such accrued but
untaxed interest. The holding period for any such Exit Term Loan interests and New Warrants is
expected to begin on the day following the Effective Date.

                    1. U.S. Federal Income Tax Consequences to U.S. Holders of Allowed
                       Class 4 Claims (Junior Lender Claims)

        Pursuant to the Plan, in exchange for full and final satisfaction, compromise, settlement,
release, and discharge of its Claim (unless the applicable Holder agrees to a less favorable
treatment), each Holder of an Allowed Junior Lender Claim shall receive (i) Cash and/or (ii)
Reorganized AAC Equity Interests.

         If Junior Lender Claims are not treated as a “security” or if the Reorgani zation Transaction
is treated as a Taxable Transaction, then a U.S. Holder of an Allowed Junior Lender Claim would
be treated as receiving its distributions under the Plan in a taxable exchange under Section 1001
of the Tax Code. Other than with respect to any amounts received that are attributable to accrued
but untaxed interest, each U.S. Holder of such Claim is expected to recognize gain or loss equal to
the difference between (i) the sum of (a) the Cash received in exchange for the Claim and (b) the
fair market value of the Reorganized AAC Equity Interests, and (ii) such U.S. Holder’s adjusted
basis, if any, in such Claim. The character of such gain or loss as capital gain or loss or as ordinary
income or loss will be determined by a number of factors unique to the U.S. Holder, including the
tax status of the U.S. Holder whether the Claim was purchased at a discount, and whether and to
what extent the U.S. Holder previously has claimed a bad debt deduction with respect to its C laim.

        U.S. Holders of such Claims that receive Reorganized AAC Equity Interests are expected
to obtain tax basis in the Reorganized AAC Equity Interests, other than any such amounts treated
as received in satisfaction of accrued but untaxed interest, equal to the fair market value thereof as
of the date such Reorganized AAC Equity Interests are distributed to the U.S. Holders. The
holding period for any such Reorganized AAC Equity Interests are expected to begin on the day

                                                 113
ACTIVE 52312155v1
            Case 20-11648-JTD        Doc 524     Filed 09/01/20     Page 123 of 136




following the Effective Date.

        The tax basis of Reorganized AAC Equity Interests determined to be received in
satisfaction of accrued but untaxed interest is expected to equal the amount of such accrued but
untaxed interest. The holding period for such Reorganized AAC Equity Interests should begin on
the day following the Effective Date.

        If Junior Lender Claims are treated as a “security,” a U.S. Holder of an Allowed Junior
Lender Claim constituting a tax security who receives only Reorganized AAC Equity Interests
would be treated as exchanging securities pursuant to a “reorganization” under Section
368(a)(1)(E) of the Code and Treasury Regulations (a “Reorganization”) and a U.S. Holder should
not recognize gain and should not recognize loss (except the Holders who included accrued interest
into income would have ordinary loss to the extent that the partial satisfaction of their Claims
leaves interest unpaid). Such U.S. Holder’s total combined tax basis in its Reorganized AAC
Equity Interest received should equal the U.S. Holder’s tax basis in the Allowed Class 4 Claim
surrendered therefor increased by gain, if any, recognized by such U.S. Holder in the transaction.
Subject to the section below discussing “Accrued Interest,” a U.S. Holder’s holding period for its
interest in Reorganized AAC Equity Interests should include the holding period for the Allowed
Class 4 Claim surrendered therefor. If an Allowed Class 4 Claim Holder receives Cash and
Reorganized AAC Equity Interests, such Holder would recognize gain (but not loss) on the
exchange, to the extent of the amount of cash received. If the Allowed Class 4 Claim Holder
receives only cash, the transaction would subject to the standard rules of gain or loss recognition
on property exchanges under Section 1001(c), as discussed above, whether the Allowed Class 4
Claim is treated as a security or not.

                    2. U.S. Federal Income Tax Consequences to U.S. Holders of Allowed
                       Class 5 Claims (General Unsecured Claims)

        Pursuant to the Plan, in exchange for full and final satisfaction, compromise, settlement,
release, and discharge of its Claim, each Holder of an Allowed General Unsecured Claim shall
receive no recovery or distribution. A U.S. Holder of such Claim is expected to be treated as
receiving its distributions under the Plan in a taxable exchange under Section 1001 of the Tax
Code. Each U.S. Holder of such Claim is expected to recognize loss equal to the such U.S. Holder’s
adjusted basis in such Claim.

                    3. U.S. Federal Income Tax Consequences to U.S. Holders of Allowed
                       Class 7 Claims (Subordinated Claims)

        Pursuant to the Plan, in exchange for full and final satisfaction, compromise, settlement,
release, and discharge of its Claim, each Holder of an Allowed Subordinated Claim shall receive
no recovery or distribution. A U.S. Holder of such Claim is expected to be treated as receiving its
distributions under the Plan in a taxable exchange under Section 1001 of the Tax Code. Each U.S.
Holder of such Claim is expected to recognize loss equal to the such U.S. Holder’s adjusted basis
in such Claim.




                                               114
ACTIVE 52312155v1
            Case 20-11648-JTD           Doc 524       Filed 09/01/20      Page 124 of 136




                    4. U.S. Federal Income Tax Consequences to U.S. Holders of Allowed
                       Class 9 Claim (Interests in AAC Holdings)

        Each Allowed Interest in AAC Holdings shall be canceled, released, and extinguished, and
will be of no further force or effect and no Holder of Interests in AAC Holdings shall be entitled
to any recovery or distribution under the Plan on account of suc h Interests. Each U.S. Holder of
such Claim is expected to recognize capital loss, long term or short term depending upon their
holding period, equal to such U.S. Holder’s adjusted basis in such Claim.

     U.S. HOLDERS SHOULD CONSULT THEIR OWN TAX ADVISORS
CONCERNING THE RECOGNITION OF GAIN OR LOSS, FOR U.S. FEDERAL
INCOME TAX PURPOSES, ON THE SATISFACTION OF THEIR CLAIMS OR
INTERESTS.
                    5. Accrued Interest
        To the extent that any amount received by a U.S. Holder of a Claim is attributable to
accrued but unpaid interest or original issue discount (“OID”) on the debt instrument constituting
the surrendered Claim, the receipt of such amount should be taxable to the U.S. Holder as ordinary
interest income (to the extent not already taken into income by the U.S. Holde r). Conversely, a
U.S. Holder of a Claim may be able to recognize a deductible loss (or, possibly, a write off against
a reserve for worthless debts) to the extent that any accrued interest or OID previously was
included in the U.S. Holder’s gross income but was not paid in full by the Debtors. Such loss may
be ordinary, but the tax law is unclear on this point.
        If the fair value of the consideration is not sufficient to fully satisfy all principal and interest
on Allowed Claims, the extent to which such consideration will be attributable to accrued interest
for U.S. federal income tax purposes is unclear. Under the Plan, the aggregate consideration to be
distributed to holders of Allowed Claims in each Class will be allocated first to the principal
amount of Allowed Claims, with any excess allocated to unpaid interest that accrued on these
Claims, if any. Certain legislative history indicates that an allocation of consideration as between
principal and interest provided in a chapter 11 plan of reorganization is binding for U.S. federal
income tax purposes, while certain Treasury Regulations treat payments as allocated first to any
accrued but unpaid interest. The IRS could take the position that the consideration received by the
holder should be allocated in some way other than as provided in the Plan. U.S. Holders of Claims
should consult their own tax advisors regarding the proper allocation of the consideration received
by them under the Plan.
     U.S. HOLDERS SHOULD CONSULT THEIR OWN TAX ADVISORS
CONCERNING THE ALLOCATION OF CONSIDERATION RECEIVED IN
SATISFACTION OF THEIR CLAIMS AND THE FEDERAL INCOME TAX
TREATMENT OF ACCRUED BUT UNPAID INTEREST.
                    6. Market Discount

        Under the “market discount” provisions of the Tax Code, some or all of any gain realized
by a U.S. Holder of a Claim who exchanges the Claim for an amount on the Effective Date may
be treated as ordinary income (instead of capital gain) to the extent of the amount of “market

                                                   115
ACTIVE 52312155v1
            Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 125 of 136




discount” on the debt instruments constituting the exchanged Claim. In general, a debt instrument
is considered to have been acquired with “market discount” if it is acquired other than on original
issue and if its holder’s adjusted tax basis in the debt instrument is less than (a) the sum of all
remaining payments to be made on the debt instrument, excluding “qualified stated interest” or (b)
in the case of a debt instrument issued with original issue discount, its adjusted issue price, by at
least a de minimis amount (equal to 0.25 percent of the sum of all remaining payments to be made
on the debt instrument, excluding qualified stated interest, multiplied by the number of remaining
whole years to maturity).
        Any gain recognized by a U.S. Holder on the taxable disposition of a Claim that had been
acquired with market discount should be treated as ordinary income to the extent of the market
discount that accrued thereon while the Claim was considered to be held by the U.S. Holder (unless
the U.S. Holder elected to include market discount in income as it accrued). To the extent that the
Allowed Claims that were acquired with market discount are exchanged in a tax -free transaction
for other property, any market discount that accrued on the Allowed Claims (i.e., up to the time of
the exchange) but was not recognized by the U.S. Hol der is carried over to the property received
therefor and any gain recognized on the subsequent sale, exchange, redemption, or other
disposition of the property is treated as ordinary income to the extent of the accrued, but not
recognized, market discount.
     U.S. HOLDERS SHOULD CONSULT THEIR OWN TAX ADVISORS
CONCERNING THE APPLICATION OF THE MARKET DISCOUNT RULES TO
THEIR CLAIMS.
                    7. Limitation on Use of Capital Losses

        A U.S. Holder of a Claim who recognizes capital losses as a result of the distributions
under the Plan will be subject to limits on the use of such capital losses. For a non-corporate U.S.
Holder, capital losses may be used to offset any capital gains (without regard to holding periods),
and also ordinary income to the extent of the lesser of (a) $3,000 ($1,500 for married individuals
filing separate returns) or (b) the excess of all the U.S. Holder’s capital losses over all the U.S.
Holder’s capital gains. A non-corporate U.S. Holder may carry over unused capital losses and
apply them against future capital gains and a portion of their ordinary income for an unlimited
number of years. For corporate U.S. Holders, capital losses may only be used to offset capital
gains. A corporate U.S. Holder that has more capital losses than may be used in a tax year may
carry back unused capital losses to the three years preceding the capital loss year or may carry over
unused capital losses for the five years following the capital loss year.
                    8. Distributions on Reorganized AAC Equity Interests

        Cash distributions on account of the Reorganized AAC Equity Interests will generally
constitute dividends for U.S. federal income tax purposes to the extent of the current or
accumulated earnings and profits of Reorganized Debtors (as determined under U.S. federal
income tax principles). Such income will be includable in the gross income of a U.S. Holders as
ordinary income on the day actually or constructively received by such U.S. Holder. “Qualified
dividend income” received by an individual U.S. Holder is subject to preferential tax rates.
Distributions on Reorganized AAC Equity Interests that are treated as dividends for U.S. federal
income tax purposes generally will be eligible for the dividends-received deduction so long as
                                                116
ACTIVE 52312155v1
            Case 20-11648-JTD          Doc 524      Filed 09/01/20      Page 126 of 136




there are sufficient earnings and profits. However, the dividends-received deduction is only
available to corporate U.S. Holders if certain holding period requirements are satisfied. The length
of time that a shareholder has held its stock is reduced for any period during which the
shareholder’s risk of loss with respect to the stock is diminished by reason of the existence of
certain options, contracts to sell, short sales, or similar transactions. In addition, to the extent that
a corporation incurs indebtedness that is directly attributable to an investment in the stock on which
the dividend is paid, all or a portion of the dividends received deduction may be disallowed.
         To the extent that a U.S. Holder receives distributions that would otherwise constitute
dividends for U.S. federal income tax purposes but that exceed Reorganized Debtors’ current and
accumulated earnings and profits (as determined for U.S. federal income tax purposes), such
distributions will be treated first as a non-taxable return of capital reducing the U.S. Holder’s basis
in its shares. Any such distributions in excess of the U.S. Holder’s basis in its shares (determined
on a share-by-share basis) generally will be treated as a disposition and subject to the treatment
discussed below.
                    9. Sale, Redemption, or Repurchase of Reorganized AAC Equity
                       Interests

        Unless a non-recognition provision applies, U.S. Holders generally will recognize capital
gain or loss upon the sale, redemption, or other taxable disposition of Reorganized AAC Equity
Interests in an amount equal to the difference between (i) the amount realized on the disposition
and (ii) such U.S. Holder’s adjusted tax basis in such shares. Such capital gain will generally be
long-term capital gain if at the time of the sale, exchange, redemption, or other taxable disposi tion,
the U.S. Holder held the Reorganized AAC Equity Interests for more than one year. Long-term
capital gains of an individual taxpayer generally are taxed at preferential rates. The deductibility
of capital losses is subject to certain limitations as described below. Under the recapture rules of
Section 108(e)(7) of the Tax Code, a U.S. Holder may be required to treat gain recognized on the
taxable disposition of the Reorganized AAC Equity Interests as ordinary income if such U.S.
Holder took a bad debt deduction with respect to its Allowed Claim or recognized an ordinary loss
on the exchange of its Allowed Claim for Reorganized AAC Equity Interests.
                    10. Ownership and Disposition of the Exit Term Loans

        The U.S. federal income tax consequences to a holder of the Exit Term Loan may depend
on certain terms of the Exit Term Loan which have not yet been finalized. The final terms of the
Exit Term Loan will be described at a later date in a Plan Supplement. Accordingly, depending
on the final terms of the Exit Term Loan, the U.S. federal income tax consequences of owning and
disposing of the Exit Term Loan may differ from that described below.
                            a.      Issue Price and Investment Unit

        The consideration received by holders of the Class 3 Claims, which will include some
combination of Cash, Exit Term Loans, and New Warrants, will likely be treated as an investment
unit issued in exchange for the Class 3 Claim. In such case, the issue price of the Exit Term Loans
will depend, in part, on the issue price of the investment uni t, and the respective fair market values
of the elements of consideration that compose the investment unit. The issue price of an
investment unit is generally determined in the same manner as the issue price of a debt instrument.
                                                  117
ACTIVE 52312155v1
            Case 20-11648-JTD           Doc 524      Filed 09/01/20      Page 127 of 136




As a result, the issue price of the investment unit will depend on whether the investment unit is
considered, for U.S. federal income tax purposes and applying rules similar to those applied to
debt instruments, to be traded on an established securities market.
         In general, a debt instrument will be treated as traded on an established securities market
if, at any time during the 31-day period ending 15 days after the issue date, (a) a “sales price” for
an executed purchase of the debt instrument appears on a medium that is made available to issuers
of debt instruments, persons that regularly purchase or sell debt instruments, or persons that broker
purchases or sales of debt instruments, (b) a “firm” price quote for the debt instrument is available
from at least one broker, dealer or pricing service for property, and the quoted price is substantially
the same as the price for which the person receiving the quoted price could purchase or sell the
property, or (c) there are one or more “indicative” quotes available from at least one b roker, dealer
or pricing service for property. Whether the investment unit should be considered “publicly
traded” may not be known until after the Effective Date.
        If the investment unit is considered to be traded on an established market, the issue price
of the investment unit would be the fair market value of the investment unit on the date the new
debt is issued. The law is somewhat unclear on whether an investment unit is treated as publicly
traded if some, but not all, elements of such investment unit are publicly traded. In such a case, it
is unclear whether the issue price of the investment unit is determined by reference to (a) the fair
market value of the investment unit or (b) by reference to the fair market value of the debt for
which it was exchanged. In particular, if the Exit Term Loans issued as part of an investment unit
is publicly traded but the other piece of the investment unit , such as the New Warrants, is not,
although not free from doubt, it may be the case that the trading value of the publicly traded
instrument will ultimately determine their issue price notwithstanding the potential application of
the investment unit rules.
        Under the applicable Treasury regulations, the Reorganized Debtors are required to
determine whether the Exit Term Loan is publicly traded and, if so, the fair market value of the
Exit Term Loan, and make these determinations available to Holders in a commercially reasonable
fashion, including by electronic publication, within ninety (90) days of the issue date o f the Exit
Term Loan. The Debtors intend to make this information available. The Debtors’ determination
is binding on a U.S. Holder unless a U.S. Holder explicitly discloses on its tax return that its
determination is different and the reasons for its determination (including how it determined the
fair market value of its Exit Term Loan).
                            b.      Payment of Interest and OID on the Exit Term Loan

        A debt instrument, such as the Exit Term Loans, is treated as issued with OID for U.S.
federal income tax purposes if its issue price is less than its stated redemption price at maturity by
more than a de minimis amount. A debt instrument’s stated redemption price at maturity includes
all principal and interest payable over the term of the debt instrument, other than “qualified stated
interest.” Stated interest payable at a fixed rate is “qualified stated interest” if it is unconditionally
payable in cash at least annually.
        Stated interest paid on the Exit Term Loan will be taxable to a U.S. Holder as ordinary
interest income at the time it accrues or is received, in accordance with its method of accounting
for U.S. federal income tax purposes to the extent such stated interest is “qualified stated interest.”
                                                  118
ACTIVE 52312155v1
            Case 20-11648-JTD          Doc 524      Filed 09/01/20      Page 128 of 136




Stated interest is “qualified stated interest” if it is payable in cash at least annually. Thus, the cash
interest payable on the Exit Term Loan is expected to be treated as qualified stated interest. The
remainder of the interest payable on the Exit Term Loan is payable in kind monthly by increasing
the principal amount of Exit Term Loan outstanding (“PIK interest”); the amount of PIK interest
payable on the Exit Term Loan will be included in the determination of the OID on such debt .
Accordingly, the Exit Term Loan is expected to be issued with OID to the extent of the PIK interest
and to the extent the investment unit allocation rules described above result in such debt
instruments having an issue price that is less than their stated redemption price at maturity.
        If, as expected, the principal amount of the Exit Term Loan exceeds its issue price by more
than a de minimis amount, then the Exit Term Loan will be considered to have been issued with
OID for U.S. federal income tax purposes in the amount of such exces s. For these purposes, the
PIK interest will be included in the principal amount of the Exit Term Loan at maturity and taxed
as part of OID. A U.S. Holder will be required to include any such OID in income for U.S. federal
income tax purposes as it accrues, regardless of its regular method of accounting, in accordance
with a constant-yield method, before the receipt of cash payments attributable to this income.
Under this method, a U.S. Holder generally will be required to include in income increasingly
greater amounts of OID in successive accrual periods.
        A U.S. Holder (whether a cash or accrual method taxpayer) generally should be required
to include OID in gross income (as ordinary income) as the OID accrues (on a constant yield to
maturity basis), in advance of the U.S. Holder’s receipt of cash payments attributable to this OID.
In general, the amount of OID includible in the gross income of a U.S. Holder should be equal to
a ratable amount of OID for each day in an accrual period during the taxable year or portion of the
taxable year in which a U.S. Holder held the debt. An accrual period may be of any length and
the accrual periods may vary in length over the term of the debt, provided that each accrual period
is no longer than one year and each scheduled payment of principal or interest occurs either on the
final day of an accrual period or on the first day of an accrual period. The amount of OID allocable
to any accrual period is an amount equal to the excess, if any, of (a) the product of (i) the adjusted
issue price of the debt at the beginning of such accrual period, and (ii) its yield to maturity,
determined on the basis of a compounding assumption that reflects the length of the accrual period,
over (b) the sum of the stated interest payments on the debt allocable to the accrual period.
        If interest other than qualified stated interest is paid in cash on the Exit Term Loans, a U.S.
Holder should not be required to adjust its OID inclusions. Instead, each payment made in cash
should be treated first as a payment of any accrued OID that has not been allocated to prior
payments and second as a payment of principal. A U.S. Holder generally should not be required
to include separately in income cash payments received on debt to the extent such payment s
constitute payments of previously accrued OID. The OID rules are complex and U.S. Holders are
urged to consult their tax advisors regarding the application of the OID rules to the Exit Term
Loans.
                            c.      Market Discount on the Exit Term Loan

        A U.S. Holder will have market discount with respect to the Exit Term Loan if its initial
basis in any portion of the Exit Term Loan is less than the issue price of such portion of the Exit
Term Loan, unless the difference is less than a specified de minimis amount. If a U .S. Holder’s
Exit Term Loan has market discount with respect to any portion of such Exit Term Loan and, if
                                                  119
ACTIVE 52312155v1
            Case 20-11648-JTD          Doc 524      Filed 09/01/20      Page 129 of 136




such holder so elects or has so elected, it will be required to include the market discount as ordinary
income as it accrues, either on a ratable basis or on the basis of a constant-yield method. Any such
election applies to all debt instruments with market discount that the U.S. Holder acquires on or
after the first day of the first taxable year to which the election applies. In addition, the U.S. Holder
may be required to defer, until the maturity of the Exit Term Loan, as applicable, or its earlier
disposition (including in one of certain nontaxable transactions), the deduction of all or a portion
of the interest expense on any indebtedness incurred or maintained to purchase or carry any portion
of such Exit Term Loan with respect of which the U.S. Holder has market discount.
                            d.      Acquisition and Bond Premium on the Exit Term Loan

         A U.S. Holder will have acquisition premium with respect to the Exit Term Loan if its
initial basis in any portion of the Exit Term Loan, as applicable, exceeds the issue price of such
portion of the Exit Term Loan but does not exceed the stated redemption price at maturity of such
portion of the Exit Term Loan. If a U.S. Holder has acquisition premium with respect to a portion
of the Exit Term Loan, it may reduce the amount of any OID accruing on such portion of the Exit
Term Loan for any taxable year by a portion of the acquisition premium properly allocable to that
year.
        If a U.S. Holder’s initial basis in any portion of the Exit Term Loan exceeds the stated
redemption price at maturity of such portion of the Exit Term Loan, the excess generally will
constitute amortizable bond premium and the U.S. Holder will not be required to include any OID
attributable to its income with respect to such portion of the Exit Term Loan. Generally a U.S.
Holder may elect to amortize this bond premium over the remaining term of such portion of the
Exit Term Loan using a constant yield method and apply the amortization to offset stated interest
otherwise required to be included in income with respect to such portion of the Exit Term Loan.
                            e.      Disposition of the Exit Term Loan

         Upon the sale or other taxable disposition of the Exit Term Loan, a U.S. Holder will
recognize taxable gain or loss equal to the difference between the amount realized on the sale or
other taxable disposition and its adjusted tax basis in the Exit Term Loan. A U.S. Holder’s adjusted
tax basis in the Exit Term Loan generally will equal its initial tax basis in the Exit Term Loan,
increased by any OID or market discount previously included in income with respect to the Exit
Term Loan and decreased by payments on the Exit Term Loan other than payments of stated
interest and any previously amortized bond premium. For these purposes, the amount realized
does not include any amount attributable to accrued interest, which will be taxable as interest if
not previously included in income. Except to the extent attributable to any accrued market discount
not previously included in income, gain or loss recognized on the sale or other taxable disposition
of the Exit Term Loan will generally be capital gain or loss and will be long -term capital gain or
loss if, at the time of sale or other taxable disposition, the Exit Term Loan is treated as held for
more than one year. Any gain attributable to accrued market discount not previously included in
income will be recharacterized as ordinary income. Long-term capital gains recognized by non-
corporate taxpayers are subject to reduced tax rates. The deductibility of capital losses is subject
to significant limitations.



                                                  120
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524      Filed 09/01/20     Page 130 of 136




        D.      Taxation of Reorganized Debtors

        Assuming there is a reorganization of the Debtors and not a sale of all the assets, it is
expected that there will still be a consolidated group for income tax purposes, with only one
company AAC, being the reporting company. In a consolidated group filing, all the income and
expenses of all the subsidiaries are combined (eliminating intercompany items) to create one
income statement at the parent level. AAC will be taxed as a corporation subject to a US Corporate
income tax rate, currently 21% plus any applicable state and local taxes. If the reorganization plan
is capable of availing itself of Section 382(l)(5) of the Tax Code, as explained more fully in other
parts of the Disclosure Statement, then the reorganized group will be able to use available NOLs,
reduced by any NOLs used for the refund application and further reduced by any interest paid or
accrued in the last three years on the Claims that were converted to the new equity. In the event
that the reorganization does not qualify for Section 382(l)(5) treatment, then it is expected that the
reorganized entity will have few, if any, available NOLs and will still be taxed as a consolidated
group.

        E.      Certain U.S. Federal Income Tax Consequences to Certain Non-U.S. Holders
                of Claims

        The following discussion assumes that the Debtors will undertake the Reorganization
Transaction currently contemplated by the Plan and includes only certain U.S. federal income tax
consequences of the Reorganization Transaction to non-U.S. Holders. The discussion does not
include any non-U.S. tax considerations and does not address all aspects of U.S. federal income
taxation that may be relevant to a Holder in light of its individual circumstances or to a Holder that
may be subject to special tax rules. The rules governing the U.S. federal income tax consequences
to non-U.S. Holders are complex. Each non-U.S. Holder is urged to consult its own tax advisor
regarding the U.S. federal, state, and local, as well as any other applicable non-U.S. tax laws
and/or treaties, with regard to their participation in the transactions conte mplated by the
Plan and their ownership of Claims.

                1.     Gain Recognition with respect to Claims

        Whether a Non-U.S. Holder realizes gain or loss on the exchange of its Claim is determined
in the same manner as set forth above in connection with U.S. Holders. Any gain realized by a
non-U.S. Holder on the exchange of its Claim generally will not be recognized and subject to U.S.
federal income taxation unless (a) the non-U.S. Holder is an individual who was present in the
United States for 183 days or more during the taxable year in which the restructuring transactions
occur and certain other conditions are met or (b) such gain is effectively connected with the
conduct by such non-U.S. Holder of a trade or business in the United States (and if an income tax
treaty applies, such gain is attributable to a permanent establishment maintained by such non-U.S.
Holder in the United States).

        If the first exception applies, to the extent that any gain is taxable, the non -U.S. Holder
generally will be subject to U.S. federal income tax at a rate of 30 percent (or at a reduced rate or
exemption from tax under an applicable income tax treaty) on the amount by which such non-U.S.
Holder’s capital gains allocable to U.S. sources exceed capital losses allocable to U.S. sources
during the taxable year of the exchange, provided the Non-U.S. Holder has timely filed U.S. federal

                                                 121
ACTIVE 52312155v1
            Case 20-11648-JTD           Doc 524      Filed 09/01/20      Page 131 of 136




income tax returns with respect to such losses. If the second exception applies, the non-U.S. Holder
generally will be subject to U.S. federal income tax with respect to any gain realized on the
exchange if such gain is effectively connected with the Non-U.S. Holder’s conduct of a trade or
business in the U.S. in the same manner as a U.S. Holder. In order to claim an exemption from
withholding tax, such Non-U.S. Holder will be required to provide a properly executed IRS Form
W-8ECI (or such successor form as the IRS designates). In addition, if such a non-U.S. Holder is
a corporation, it may be subject to a branch profits tax equal to 30 percent (or such lower rate or
exemption provided by an applicable treaty) of its effectively connected earnings and profits for
the taxable year, subject to certain adjustments. However, a branch profits tax may not apply if the
Non-U.S. Holder qualifies for the “exit exemption” (i.e., after the exchange, the Holder has no
other U.S. business assets and neither the Holder nor a related party reinvests the proceeds in the
U.S. for a period of three years following the exchange).

                2.      Accrued Interest and OID

        Payments to a non-U.S. Holder that are attributable to accrued interest (including OID and
any gain from the sale, redemption, retirement or other taxable disposition of the Claim that is
treated as interest income) generally will not be subject to U.S. federal income tax or withholding
pursuant to the portfolio interest exemption, provided that the withholding agent has received or
receives, prior to payment, appropriate documentation (generally, an applicable or successor IRS
Form W-8BEN or W-8BEN-E) establishing that the non-U.S. Holder is not a U.S. person, unless:

       the non-U.S. Holder actually or constructively owns 10 percent or more of the total
        combined voting power of all classes of the Reorganized Debtor’s stock entitled to vote;

       the non-U.S. Holder is a “controlled foreign corporation” that is a “related person” with
        respect to the Reorganized Debtor (each, within the meaning of the Tax Code);

       the non-U.S. Holder is a bank receiving interest described in section 881(c)(3)(A) of the
        Tax Code; or

       such interest (or original issue discount) is effectively connected with the conduct by the
        non-U.S. Holder of a trade or business within the United States (in which case, provided
        the non-U.S. Holder provides a properly executed IRS Form W-8ECI (or successor form)
        to the withholding agent, the non-U.S. Holder (x) generally will not be subject to
        withholding tax, but (y) will be subject to U.S. federal income tax in the same manner as a
        U.S. Holder (unless an applicable income tax treaty provides otherwise), and a non-U.S.
        Holder that is a corporation for U.S. federal income tax purposes may also be subject to a
        branch profits tax with respect to such non-U.S. Holder’s effectively connected earnings
        and profits that are attributable to the accrued interest at a rate of 30 percent (or at a reduced
        rate or exemption from tax under an applicable income tax treaty)).

       A non-U.S. Holder that does not qualify for the portfolio interest exemption generally will
be subject to withholding of U.S. federal income tax at a 30 percent rate (or at a reduc ed rate or
exemption from tax under an applicable income tax treaty) on any payments that are attributable
to accrued interest. For purposes of providing a properly executed IRS Form W -8BEN or W-
8BEN-E, special procedures are provided under applicable Treasury Regulations for payments

                                                  122
ACTIVE 52312155v1
            Case 20-11648-JTD         Doc 524      Filed 09/01/20     Page 132 of 136




through qualified foreign intermediaries or certain financial institutions that hold customers’
securities in the ordinary course of their trade or business.

        The certifications described above must be provided to the applicabl e withholding agent
prior to the payment of interest and must be updated periodically. Non -U.S. Holders that do not
timely provide the applicable withholding agent with the required certification, but that qualify for
a reduced rate under an applicable income tax treaty, may obtain a refund of any excess amounts
withheld by timely filing an appropriate claim for refund with the IRS. Non-U.S. Holders should
consult their tax advisors regarding their entitlement to benefits under any applicable income tax
treaty.

                3.     Distributions on Reorganized AAC Equity Interests

        Any distributions made (or deemed made) with respect to Reorganized AAC Equity
Interests will constitute “dividends” for U.S. federal income tax purposes to the extent of the
current or accumulated earnings and profits of Reorganized Debtors, as determined under U.S.
federal income tax principles. To the extent any distribution exceeds Reorganized Debtors’ current
and accumulated earnings and profits, such distribution will be treated (i) as a non-taxable return
of the non-U.S. Holder’s adjusted basis in the Reorganized AAC Equity Interests, which generally
will not be subject to U.S. federal income taxation, and (ii) thereafter as capital gain treated as
described below.

        Except as described below, “dividends” made (or deemed made) with respect to
Reorganized AAC Equity Interests held by a non-U.S. Holder that are not effectively connected
with a non-U.S. Holder’s conduct of a U.S. trade or business (or, if an income tax treaty applies,
are not attributable to a permanent establishment maintained by such non-U.S. Holder in the
United States) will be subject to U.S. federal withholding tax at a rate of 30% (unless a reduced
rate or exemption applies under an applicable income tax treaty).

        A non-U.S. Holder generally will be required to satisfy certain IRS certification
requirements in order to claim a reduction of or exemption from withholding under a tax treaty by
filing IRS Form W-8BEN or W-8BEN-E, as applicable (or successor form), upon which the non-
U.S. Holder certifies, under penalties of perjury, its status as a non-U.S. person and its entitlement
to the lower treaty rate or exemption from tax with respect to such payments. Any “dividends”
made (or deemed made) with respect to Reorganized AAC Equity Interests held by a non-U.S.
Holder that are effectively connected with a non-U.S. Holder’s conduct of a U.S. trade or business
(and, if an income tax treaty applies, are attributable to a permanent establishment maintained by
such non-U.S. Holder in the United States) generally will be subject to U.S. federal income tax in
the same manner as a U.S. Holder. To claim an exemption from U.S. federal withholding tax on
the effectively connected income, the Non-U.S. Holder must furnish to the applicable withholding
agent a valid IRS Form W-8ECI, certifying that the dividends are effectively connected with the
Non-U.S. Holder’s conduct of a trade or business within the United States. A non-U.S. Holder that
is a corporation for U.S. federal income tax purposes may also be subject to a branch profits tax
with respect to such Non-U.S. Holder’s effectively connected earnings and profits that are
attributable to the dividends at a rate of 30 percent (unless a reduced rate or exemption applies
under an applicable income tax treaty).


                                                 123
ACTIVE 52312155v1
            Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 133 of 136




                4.     Sale, Redemption, or Repurchase of Reorganized AAC Equity
                       Interests

        In general, a non-U.S. Holder of Reorganized AAC Equity Interests will not be subject to
U.S. federal income tax or U.S. federal withholding tax with respect to the Reorganized AAC
Equity Interests unless (a) in the case of gain only, such non -U.S. Holder is a nonresident alien
individual present in the United States for 183 days or more during the taxable year of the
disposition, and certain other requirements are met; (b) any gain is effectively connected with such
non-U.S. Holder’s conduct of a trade or business in the U.S. (and, if required by any applicable
tax treaty, is attributable to a permanent establishment maintained by the non-U.S. Holder in the
United States) or (c) the Reorganized AAC Equity Interests constitute U.S. real property interests
(USRPI) by reason of the Reorganized Debtor being treated as a U.S. real property holding
corporation (“USRPHC”)for U.S. federal income tax purposes. If the first exception applies, to the
extent that any gain is taxable, the non-U.S. Holder generally will be subject to U.S. federal income
tax at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income
tax treaty) on the amount by which such non-U.S. Holder’s capital gains allocable to U.S. sources
exceed capital losses allocable to U.S. sources during the taxable year of the exchange. If the
second exception applies, the non-U.S. Holder generally will be subject to U.S. federal income tax
with respect to any gain realized on the exchange in the same manner as a U.S. Holder. In addition,
a non-U.S. Holder that is a corporation also may be subject to a branch profits tax equal to 30
percent (or such lower rate specified by an applicable tax treaty) of its effectively connected
earnings and profits for the taxable year, as adjusted for certain taxes. Non-U.S. Holders are urged
to consult their tax advisors regarding any applicable tax treaties that may provide for different
rules.

        If the third exception applies, the non-U.S. Holder generally will be subject to U.S. federal
income tax on any gain recognized on the disposition of all or a portion of its Reorganized AAC
Equity Interests, as applicable, and will be required to file U.S. federal income tax returns. Under
provisions commonly referred to as “FIRPTA,” taxable gain from the disposition of a U.S. real
property interest (generally equal to the difference between the amount realized and such non -U.S.
Holder’s adjusted tax basis in such interest) will constitute effectively connected income. Further,
the buyer of the Reorganized AAC Equity Interests will be required to withhold a tax equal to 15
percent of the amount realized on the sale of such Reorganized AAC Equity Interests (“FIRPTA
Withholding”). The amount of any such FIRPTA Withholding would be allowed as a credit
against the non-U.S. Holder’s federal income tax liability and may entitle the non-U.S. Holder to
a refund, provided that the non-U.S. Holder properly and timely files a tax return with the IRS.
Although it is not certain, it appears that the Reorganized Debtor will be treated as a USRPHC.
Generally, a corporation is a USRPHC if the fair market value of its U.S. real property interests
equals or exceeds 50% of the sum of the fair market value of its worldwide real property interests
and its other assets used or held for use in a trade or business. The determination whether the
Reorganized Debtor will be a USRPHC is currently under review.

                5.     FATCA

        Under the Foreign Account Tax Compliance Act (“FATCA”), foreign financial institutions
(“FFI”) and certain other non-financial foreign entities (“NFFE”) must report certain information
with respect to their U.S. account holders and investors or be subject to withholding at a rate of 30
                                                124
ACTIVE 52312155v1
             Case 20-11648-JTD        Doc 524     Filed 09/01/20      Page 134 of 136




percent on the receipt of “withholdable payments.” For this purpose, “withholdable payments”
are generally U.S. source payments of fixed or determinable, annual or periodical income
(including dividends, if any, on shares of Reorganized AAC Equity Interests). FATCA
withholding will apply even if the applicable payment would not otherwise be subject to U.S.
federal nonresident withholding.

        Previously, withholding with respect to gross proceeds from the disposition of certain
property that produces U.S. source interest or dividends, like the Reorganized AAC Equity
Interests, was scheduled to begin on January 1, 2019, however, such withholding has been
eliminated under proposed U.S. Treasury regulations (the “Proposed Regulations”), which can be
relied on until final regulations become effective, which may adopt or alter the provisions of the
Proposed Regulations. A Holder can avoid FATCA withholding if it adheres to certain procedures
and requirements imposed by the Code and applicable IRS rules and certifies such compliance to
payers of pass-through payments. These rules vary dramatically depending upon whether the non-
U.S. person is characterized as an FFI or a non-financial foreign entity. In addition, certain non-
U.S. persons are “deemed compliant” with FATCA if they meet certain criteria and certify certain
facts to the IRS.

       FATCA obligations may vary depending on whether the non -U.S. person subject to
FATCA regulations is a resident of a country with which the U.S. has signed a bilateral
intergovernmental agreement. Each non-U.S. Holder is urged to consult its own tax advisor
regarding the possible impact of these rules on such non-U.S. Holder.

        F.      U.S. Information Reporting and Back-Up Withholding

        The Debtors will withhold all amounts required by law to be wi thheld from payments of
interest, dividends and other amounts payable under the Plan or in connection with payments made
on account of consideration received pursuant to the Plan. The Debtors will comply with all
applicable reporting requirements of the Tax Code. In general, information reporting requirements
may apply to distributions or payments made to a holder of a Claim under the Plan. In addition,
backup withholding of taxes will generally apply to payments in respect of an Allowed Claim
under the Plan unless, in the case of a U.S. Holder, such U.S. Holder provides a properly executed
IRS Form W-9 and, in the case of non-U.S. Holder, such non-U.S. Holder provides a properly
executed applicable IRS Form W-8 (or otherwise establishes such Non-U.S. Holder’s eligibility
for an exemption).

       Backup withholding is not an additional tax. Amounts withheld under the backup
withholding rules may be credited against a holder’s U.S. federal income tax liability, and a holder
may obtain a refund of any excess amounts withheld under the backup withholding rules by filing
an appropriate claim for refund with the IRS (generally, a federal income tax return).

        In addition, from an information reporting perspective, the Treasury Regulations generally
require disclosure by a taxpayer on its U.S. federal income tax return of certain types of
transactions in which the taxpayer participated, including, among other types of transactions,
certain transactions that result in the taxpayer’s claiming a loss in excess of specified thresholds.
Holders are urged to consult their tax advisors regarding these regulations and whether the


                                                125
ACTIVE 52312155v1
            Case 20-11648-JTD         Doc 524     Filed 09/01/20      Page 135 of 136




transactions contemplated by the Plan would be subject to these regulations and require disclosure
on the Holders’ tax returns.

        Under certain Tax-Information Exchange Agreements or bilateral income tax treaty that
the United States has with certain other countries, the United States Treasury can upon request
disclose to revenue authorities of the country in which the Non -U.S. Holder is a resident a
consideration received in an exchange transaction without notice to or consent of the non -U.S.
Holder.

     THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX. THE FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF
FEDERAL INCOME TAXATION THAT MAY BE RELEVANT TO A PARTICULAR
HOLDER IN LIGHT OF SUCH HOLDER’S CIRCUMSTANCES AND INCOME TAX
SITUATION. ALL HOLDERS OF CLAIMS OR INTERESTS SHOULD CONSULT
WITH THEIR TAX ADVISORS AS TO THE PARTICULAR TAX CONSEQUENCES TO
THEM OF THE TRANSACTIONS CONTEMPLATED BY THE PLAN, INCLUDING
THE APPLICABILITY AND EFFECT OF ANY STATE, LOCAL, OR FOREIGN TAX
LAWS, AND OF ANY CHANGE IN APPLICABLE TAX LAWS.

XII.    RECOMMENDATION

        The Debtors believe that the Plan is preferable to all other available alternatives and
provides for a larger distribution to the Debtors’ creditors than would otherwise result in any other
scenario. Accordingly, the Debtors recommend that holders of Claims entitled to vote on the Plan
vote to accept the Plan and support Confirmation of the Plan.



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                                                126
ACTIVE 52312155v1
Case 20-11648-JTD   Doc 524   Filed 09/01/20   Page 136 of 136
